Case 2:18-cV-02044-PD Document 57-5 Filed 09/24/18 Page 1 of 73

EXHIBIT D

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Case 2:18-cV-02044-PD Document 57-5 Filed 09/24/18 Page 2 of 73
CONFIDENTIAL

Page 1

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JOHN DOE
P1aintiff,

SAINT JOSEPH'S UNIVERSITY:
and
JANE ROE .
Defendants : NO. 18-2044

Thursday, July 19, 2018

C O N F I D E N T I A L

Oral deposition of KIERSTEN WHITE,
Ed.D., was taken at Montgomery McCracken
Walker & Rhoads, LLP, 1735 Market Street,
Philadelphia, Pennsylvania, commencing at 8:10
a.m., before Debra J. Veneziale, Professional
Court Reporter and Notary Public; in and for
the Commonwealth of Pennsylvania.

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Case 2:18-cV-02044-PD Document57-5 Filed 09/24/18

1 APPEARANCES:

2

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Page 3 of 73

CONFIDENTIAL
Page 2 ' Page 4

1 I N D E X
2 _ _ _
3 WITNESS
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5 KIERSTEN WHITE, Ed.D.
6 !
7 EXAMINATION PAGE
8 BY MR. MIRABELLA 5
9

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12 E X H I B I T S

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14

15 NUMBER DESCRIPTION PAGE MARKED

16 White-l Break the Silence Document 77

17 White-Z Article from The Hawk 117

l 18 White-3 List of Respondents in Sexual

19 Misconduct 124

20 White-4 Dear Colleague Letter and Q&A 139

21 White-5 Appeal Packet 183

22

23

24

Page 3 Page 5

1 _ _ _
2 KIERSTEN WHITE, Ed.D., after
3 having been first duly sworn, was
4 examined and testified as follows:
5 - _ _
6 THE COURT REPORTER: Usual
7 stipulations?
8 MR. PICCERILLI: Usual

9 stipulations; all objections except to the
10 form of the question are reserved until the
11 time of trial. We do not Waive certification,
12 and the witness reserves the right to read and
13 sign.
14 - - -
15 EXAMINATION
16 - - -
17 BY MR. MIRABELLA:
18 Q. Dr. White, we were just
19 introduced. My name is John Mirabella, l
20 represent John Doe in this action against
21 Saint Joseph's University, along with my
22 Co-Counsel, Ed Schwabenland, who is not here
23 with me today.

24 I'm going to be conducting your

2 (Pages 2 - 5)

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Case 2:18-cV-02044-PD Document 57-5 Filed 09/24/18 Page 4 of 73

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CONFIDENTIAL
Page 6 i Page 8
deposition. I asked for your deposition in 1 MR. PICCERILLI: Let me just
connection with your role in formulating the 2 let the witness know exactly what we're doing.
Sexual Misconduct Policy at Saint Joe's 3 - - -
University that came to effect in 2015 and in 4 (Whereupon, a discussion was held off
connection with your role with respect to a 5 the record.)
grant application submitted by Saint Joe's to 6 - - -
the Office of Violence Against Women, the 7 BY MR. MIRABELLA:
Justice Department, and some related issues. 8 Q. A deposition is a series of
I also asked for your 9 questions and answers taken under oath. My
deposition in connection with your role in 10 questions are transcribed, your answers are
policies and procedures as to the 11 transcribed Anything you saw now may be used
investigation and adjudication of sexual 12 in the trial of the case, they may be read to
misconduct claims against students and _ 13 the Jury, whole or in part. As such, don't
nonstudents. Finally, I'm sure I'1l cover 14 answer my questions if you're not clear of the
some other areas that come up with some other 15 question or you're not sure what I'm asking.
testimony and also with respect to your role 16 Well, you should not guess in
in John Doe's appeal. 17 response to questions, you should, when
For purposes of the deposition, 18 possible, point to a reference material or
are you aware of who John Doe actually is? 19 estimate an answer, just state that on the
A. Yes. 20 record.
Q. So the use of John Doe will 21 1 will f`requently, if the
not -- you will be able to answer the 22 answer is I don't know or I don't remember,
questions. Same with respect to the 23 ask you to follow up with your best
Complainant, Jane Roe? 24 recollection or your best estimate or
Page 7 Page 9
A. Correct. 1 something of that nature.
Q. All right. The practice has 2 Also, I'm going to be asking
been if anybody slips up, witness or 3 you questions in areas that have already been
questioner, even though the transcript is 4 COvered by Other WitneSSeS. It'S part Of the
confidential, we'll try to stop and point it 5 discovery process. And I don't want to
out and correct it to get it off the 6 belabor your deposition, but there are some
transcript 7 areas where there's overlapping
Same with respect to the 8 responsibilities and supervisory roles. So I
investigation of other cases, if any of the 9 may, you knOW, get back into it in Some Way.

questions ca11 for discussions of other 10
investigations, cases and what not, please 11
know in advance 1 don't want you to identify a 12
student. And if 1 do want a student's 13
identity your Counsel will let you know if 14
it's appropriate and I'll specifically ask. 15
There may come up some 16
questions about a sports team in which there 17
were allegations of misconduct that were 18
handled through the Community Standards Office 19
and under the Sexual Misconduct Policy, if 1 20
refer to as the sports team rather than 21
anything more than that, do you know generally 22
what I'm referring to? 23
A. Yes. 24

Have you ever given a
deposition before?

A. No.

Q. Okay. In preparation for this
deposition, other than communications with
Counsel, did you have an opportunity to review
any of the paper records in this case?

By paper records 1 mean other
depositions, the complaint filed by John Doe
or any aspects of the Community Standards and
the outside investigator's investigation?

A. No.

Q. Have you looked at any
documents or done any research in connection
with your preparation for this deposition?

3 (Pages 6 - 9)

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Case 2:18-cV-02044-PD Document 57-5 Filed 09/24/18 Page 5 of 73

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CONFIDENTIAL
Page 10 Page 12
1 MR. PICCERILLI: Other than 1 campus safety.
2 with Counsel. 2 Q. Do you know how long it's been
3 THE WITNESS: No. 3 in effect?
4 MR. MIRABELLA: And that's with 4 A. There's been several iterations
5 the Federal Court Work Product Privilege? 5 of it. 1 don't recall offhand the specific
6 MR. PICCERILLI: Yes. 6 date that it was enacted. 1t started with
7 BY MR. MIRABELLA: 7 global efforts by the Clery family and moved
8 Q. A11 right. Dr. White, 1 don't 8 from local to state to federal.
9 believe I've seen your Resume or C.V. 1 would 9 Q. 1n addition to your formal
like to ask you some general questions about 10 educational background, do you have any other
your education background and training. _ 11 degrees or certifications?
Can you tell me your 12 A. No.
undergraduate experience? 13 Q. Can you describe your
A. 1 attended Saint Joe's 14 employment experience since graduating from '
University from 1999 to 2003. Graduated with 15 Saint Joe's?
a degree in sociology. 16 A. Sure. I Worked at Temple
Q. And where did you receive 17 University from 2003 to 2004 in Student
additional degrees or education? 18 Activities. And then in 2004 l returned to
A. 1 attended Saint Joseph's 19 Saint Joseph's University as the
University for a Master's in Science, 20 Administrative Assistant in, at the time 1
organizational development, training in 21 believe it was called the Student Judicial
organizational development from 2004 to 2006. 22 Office. A few months later 1 moved on to -- 1
1 then 1 attended Saint 23 Was promoted to the Coordinator of Student
Joseph's University for my Doctorate in 24 Discipline within that same office, and I
Page 11 Page 13
1 educational leadership from 2009 to 2013. 1 served in that role from about 2004 to 2007,
2 Q. And did you obtain a Doctor of 2 In 2007 1 changed roles within
3 philosophy? 3 Saint Joseph's to the Assistant to the Vice
4 A. No, a Doctor of Education, Ed.d 4 President for Student Life and was also the
5 Q. And What was the focus of your 5 NASPA Journal Editorial Assistant. I held
6 study for your Ph.D.? 6 that role for two years.
7 A. My dissertation focus for my 7 And then in 2007 to 2009 1
8 Ed.D was the Clery Act, ethical commitment to 8 served as an Assistant to the Vice President
9 campus safety. 9 for Student Life still, and the Director of
Q. Twice 1 referred to it as a 10 Community Standards, which is our student
Ph.D. There is no higher educational degree 11 conduct office.
than a Ed.D.; am 1 correct? 12 And then in 2009 I was promoted
A. Correct. 13 to the Assistant Vice President for Student
Q. A11 right. And while 1 was 14 Life. That's the position that I'm currently
thinking about how to rephrase my question 1 15 serving.
didn‘t get your last answer. The focus of 16 Q. Initia11y1 wrote down
your dissertation? 17 Assistant to Vice President of Student Life in
A. My focus was campus safety in 18 2007?
the Clery Act. 19 A. t Right.
Q. For someone who is not involved 20 Q. 1t's 2009; correct?
in university life, what is the Clery Act or 21 A. Yes, I'm sorry, my timing is
how would you describe it? 22 off. 2007, 1 apologize for this, 2007 -- I've
A. Clery Act is a Federal law that 23 held several roles at Saint Joseph's, I'm
provides guidance and regulations related to 24 sorry. So let me just have a moment to think

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4 (Pages 10 - 13)

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Case 2:18-cV-02044-PD Document 57-5 Filed 09/24/18 Page 6 of 73

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CONFIDENTIAL
Page 14 Page 16
about this. 1 A. Can you just clarify? Are you
In 2013 is when I was the 2 talking specifically about all student conduct
Assistant Vice President for Student Life. So 3 processes?
1 served in that role since 2013 upon 4 Q. Yes.
completion of my Doctoral degree 5 A. So generally it remained the
Does the timeline make sense 6 same. The sexual misconduct process, there
now? Did that fill in the gaps? 7 was a change there from the time that 1 was
Q. A little bit. Let me go back. 8 Coordinator of Student Discipline to what you
A. 1'm so sorry. 9 asked in terms of my current role.
Q. No worries. So in 2004 you 10 Q. 1'11 clarify.
were the Administrator of the Office of ' 11 MR. PICCERILLI: Yes, 1 think
Student Judicial Discipline? . 12 you have the dates a little mixed up.
A. 1 believe it was called 13 BY MR. MIRABELLA:
Judicial Affairs or Student Discipline, yes. 14 Q. 2015 Saint Joe's adopted the
Q. And then you state in 2004 to 15 interim Sexual Misconduct Policy; correct?
2007 you were the Coordinator of Student 16 A. Yes.
Discipline? 17 Q. And we'll treat that as January
A. Yes, correct. 18 of 2015. And before, as of December of 2014,
Q. Is that office, the Office of 19 was the process in place, not identical, but
Student Discipline, functionally analogous to l 20 similar to the process that you were working
the Office of Community Standards? 21 with when you were the Director of Student --
A. Yes. 22 Coordinator of Student Discipline from 2004 to
Q. And as the Coordinator of 23 2007?
Student Discipline from 2004 to 2007, what 24 A. Specifically what process are
Page 15 Page 17
were your responsibilities? l you speaking of`?
A. My main responsibility was 2 Q. Oh7 for Community Standards
overseeing what is called our Peer Review 3 violations, misconduct
Board, which is a group of students who hear 4 A. Yes.
cases, our low-level cases, 1 also from time 5 Q. 1ncluding claims of sexual
to time would serve as a hearing officer. ` 6 misconduct?
Q. So during the 2004 to 2007 7 A. Yes, 1 believe so.
period, the Office of Student -- Coordinator 8 Q. So there's a big change in
of Student Discipline, did that office oversee 9 2015?
the investigation and adjudication of claims 10 A. Correct.
of sexual misconduct? 11 Q. But from 2004 to the end of
A. Yes. 12 2014, while there might have been changes, the
Q. And you mentioned that you both 13 process was for the most part the same process
oversaw the Peer Review Board and also sat as 14 that was in place?
a hearing officer; correct? 15 A. Yes.
A. Correct. 16 Q. Okay. Can you describe for me
Q. Before 1 spend a lot of time 17 generally then what the process was like, and

on, too much time, a reasonable amount of time 18
on your role as to how that office functioned, 19
did that process change in terms of 20
adjudication of student misconduct or was that 21
pretty much the same process that was in place 22
until you became the Assistant to the Vice 23
President in 2009? 24

you don't have to go back to 2004 and 2005
when we talk the process that was in place in
2014, if a student or staff member was accused
of sexual misconduct?

A. There would be a report, and
that could come from multiple sources and
could be reported to many entities and

5 (Pages 14 - 17)

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Case 2:18-cV-02044-PD Document 57-5 Filed 09/24/18 Page 7 of 73

 

CONFIDENTIAL
Page 18 Page 20
l institutions. Really it's whoever Complainant 1 investigation of student's misconduct that was
2 would report to or a reporter would report 2 not set forth in the student handbook?
3 to. 1t could be Public Safety. It could be a 3 A. Any written polices that Were
4 Resident Assistant to whom that report is 4 not in the handbook, no.
5 made. 5 Q. Did you stay involved in, I
6 At that point there would be an 6 couldn't tell if you did or didn't, in student
7 investigation through our Public Safety 7 discipline after you -- you were the
8 Office. A Public Safety investigator in most 8 Coordinator of Student Discipline from 2004 to
9 cases would question the parties involved, 9 2007?
10 gather information. The information would be 10 A. Correct.
11 shared with the Office of Community 11 Q. And then you became the
12 Standards. Community Standards would then 12 Assistant Vice President -- Assistant to the
13 initiate the process. 13 Vice President in 2009; correct?
14 1f there were any alleged 14 A. 2007 to 2009 I was the
15 violations of the policy by a student 15 Assistant to the Vice President and the NASPA
16 respondent there would then be some sort of 16 Journal Editorial Assistant. 2009 to 2013 1
17 prehearing meeting We would review items 17 was the Assistant to the Vice President for
18 pertinent to the process, answer any questions 18 Student Life and Director of Community
19 about the process. There would then be a 19 Standards. And then 2013 is when I pick up as l
20 hearing with the Community Standards Office, 20 the Assistant Vice President for Student Life.
21 could be an individual hearing officer, could 21 Q. And the role of the Director of
22 be a panel. 22 Community Standards that you previously held
23 Q. What were the factors that 23 up to through 2013 is now held by Mr. Bordak?
24 influenced whether it was an individual 24 A. Correct.
Page 19 Page 21 n
1 hearing officer or a panel? 1 Q. All right. What's the journal
2 A. 1f it was internal 2 you refer to again?
3 administrative decision we would look to 3 A. The NASPA Journal.
4 availability of the panel. 4 Q. What's that?
5 Q. Was there a preference that the 5 A. The acronym stands for National
6 more serious matters were handled by a panel 6 Association of Student Personnel
7 or it just depended? 7 Administrators.
8 A. No preference. 8 Q. And tell me a little bit about
9 Q. All right. Going to the policy 9 the journal and your responsibilities
10 that was in place, where was it memorialized, 10 A. Dr. Cary Anderson was the
11 in the student handbook? 11 editor during that two-year term, and so with
12 MR. PICCERILLI: I'm sorry, 12 the editor position came an Editorial
13 during What time frame? 13 Assistant position. So 1 facilitated the
14 MR. MIRABELLA: During the 2014 14 blind peer review process for the articles
15 calendar year. l 15 published in the journal.
16 THE WITNESS: Yes. 16 Q. And what types of articles
17 BY MR. MIRABELLA: 17 would be typical for the journal?
18 Q. And was there any written 18 A. Anything within the realm of
19 policies about the investigation and 19 student affairs. Student affairs is the field
20 adjudication of misconduct in 2014 that was 20 in which 1 work. So anything from counseling
21 not in the handbook? 21 to student health, student activities, et
22 A. Can you rephrase that, please. 22 cetera.
23 Q. Did the University have any 23 Q. 1s somebody currently at the
24 written policies about the adjudication and 24 school involved with the journal directly?

6 (Pages 18 - 21)

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Case 2:18-cV-02044-PD Document 57-5 Filed 09/24/18 Page 8 of 73

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CONFIDENTIAL
Page 22 n Page 24

A. Not to my knowledge 1 Within that subject matter?

Q. ls Dr. Anderson still a member 2 A. Within that journal?
of the Editorial Board? 3 Q. Correct.

A. Not to my knowledge 4 A. 1 don't recall specifically.

Q. So he was -- was he one of many 5 Q. Fair enough. Would pieces of
editors during that time frame when you were 6 that, is that Subject matter Something that
Assistant? 7 might be within the scope of that journal?

A. He was the head editor. 8 A. Yes.

Q. And if you could, was that 9 Q. Are you published?
something that was expected to be two years in 10 A. No.
length or that was just Dr. Anderson's 1 1 Q. ls your dissertation
decision as to how long he wanted to be the 12 published?
editor, or something else? 13 A. Can 1 correct that? 1

A. No, I believe that was the term 14 co-authored a chapter in a book.
length. 15 Q. Sure. What's the book and what

Q. Does the school still receive 16 Was the ehapter?
editions of the joumal? l 17 A. 1 don't recall the name of the

A. 1 believe so through l 18 book, I'm sorry.
membership, through the NASPA membership that 19 Q. So tell me What you remember
institutions may have Saint Joseph's has a 20 about it.
membership 21 A. lt WaS -- my part in

Q. And while Dr. Anderson was the 22 co-authoring the chapter was from my
editor of the joumal, he didn't publish any 23 dissertation. So it Was revolving around
pieces in the journal? 24 ethical commitment to campus safety.

Page 23 Page 25
A. 1 don't recall. 1 Q. And can you flush that out for
Q. Have you ever published in the 2 me a little more?
journal? 3 A. Sure. So 1 looked at
A. No. 4 institutions and participants who participated
Q. And while you were the 5 in -- attendees who participated in the Clery
Assistant Editor, do you know if there were 6 Act training and institutions that had
any pieces published about sexual misconduct 7 participants engaged in a particular training
on campus? 8 and what their level of commitment to campus
A. 1 don't recall. 9 safety in regards to the Clery Act was through '
Q. Same question as to the 10 the lens of ethic of caring as my theoretical
implication of Title 1X and sexual misconduct 11 framework
on campus, do you recall anything like that? 12 Q. I'm not going to spend a lot of
MR. PICCERILLI: In the 13 time on that, but can you just explain that a
journal? 14 little further.
MR. MIRABELLA: Yes, in the 15 A. Sure. So 1 was really
journal. Not only in the journal, in the 16 evaluating and studying people's perception of
journal while she was Assistant Editor, 17 campus safety and their approach to compliance
MR. PICCERILLI: Okay, thank 18 with the Clery Act. So were people looking to
you. 19 comply in a technical sense, meaning check the
THE WITNESS: 1 don't recall. 20 boxes and ensure that they are compliant with
BY MR. MIRABELLA: 21 the Federal law, or is there a deeper moral
Q. 1f not during the time period 22 commitment to campus safety beyond the law,
when you were Assistant Editor, do you recall 23 the spirit of the law.
24 Q.

any pieces -- coming across any articles

And what Was your conclusion?

7 (Pages 22 - 25)

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Case 2:18-cV-O2O44-PD Document 57-5 Filed 09/24/18 Page 9 of 73

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CONFIDENTIAL
Page 26 Page 28

A. People have a desire to do What 1 connected to your dissertation.
is right, and sometimes it is difficult to go 2 If not any formal publications,
beyond What is just Sheer compliance With the 3 have you produced any writings that you use in
law because ofthe complexity Ofthe laW. 4 training or that have been utilized by SJU or

Q. Did the dissertation touch on 5 other institutions in connection with the
anything about Title IX? 6 Clery Act?

A. 1 don't recall specifically. 7 A. No, just my dissertation and,
1t's over a 300-page dissertation. 8 like 1 said, the chapter that 1 co-authored

Q. Was it broken down into 9 based on my dissertation. Otherwise, no,
sections, subparts, chapters? How did you 10 nothing formal in terms of what's been
organize it? l 11 published or used.

A. SiX chapters. 12 Q. What about things currently in

Q. IS it fair to Say than no 13 use at SJU, for example, the slideshow they
single chapter Was dedicated or committed to 14 show freshmen on campus on sexual misconduct,
Title IX; correct? 15 did you have any role in that?

A. Correct. 16 A. 1 facilitated a session. 1 was

Q. And it's possible that these 17 one of the presenters.
issues came up, but the Clery Act was the 18 Q. Did you have any role in
focus ofthe paper? 19 creating the slideshow?

A. Correct. 20 A. 1 don't believe so.

Q. What do you mean by Clery Act 21 Q. When were you a facilitator?
training? 22 A. For the last several years. l

A. The Clery Center is a national 23 believe as long as it's been a part of the New
nonprofit founded by the Clerys and that 24 Student Orientation.

Page 27 Page 29
organization facilitates national trainings. 1 Q. The Clear Training Act that you
So 1 worked with that Center to identify 2 did periodically, do you keep a list of
participants of the various Clery Center 3 webinars you participated in? 1s there any
trainings in terms of the participants in my 4 way to sort of memorialize that? Do you get
study. 5 credit for that as some type of continuing

Q. Have you had Clery Center 6 education?
training? 7 MR. PICCERILLI: Can 1 hear

A. 1 have 8 that back.

Q. When? 9 ~ » ~

A. Many times over the years. 1 10 (Whereupon, the court reporter read
don't know that 1 can recall specific dates. 11 back the pertinent information.)

Q. Over two years or how is 12 - - -
it -- 13 MR. PICCERILLI: Do you

A. There are ongoing webinars. 14 understand the question?
There are multi-day conferences. 1t's been a 15 THE WITNESS: I do. I have
variety of different modes. 16 some lists. 1 don't know that it's

Q. Do you do any teaching in the 17 comprehensive, but 1 have some record of
Clery Center training? 18 various webinars that 1 participated in.

A. 1 have done some consulting 19 BY MR. MIRABELLA:
with the Clery Center. 1 have facilitated 20 Q. Does the record include
some trainings as well. 21 webinars that outside of the Clery Act?

Q. 1 asked you about 22 A. Yes. Again, it wouldn't be
publications. You mentioned a paper you 23 comprehensive, but 1 do have some record of
co-authored which is really part of or 24 various trainings that 1 participated in.

8 (Pages 26 - 29)

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Case 2:18-cV-O2O44-PD Document 57-5 Filed 09/24/18 Page 10 of 73

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CONFIDENTIAL

Page 30

Q. Are you currently the member of
any professional organizations?

A. Yes.

Q. Can you tell me what they are?

A. Sure, the NASPA Association

that 1 just shared, the Association of Student
Conduct Administrators, ASCA. We have an
institutional membership, it's not a personal
membership, it's an institutional membership
with the Clery Center. That's all 1 can
recall.

Q. Have you ever taken any
webinars or participated in any seminars with
ATIXA?

A. 1 may have 1 don't recall
specifically.

Q. Have you ever been a member of
ATIXA?

A. Personally, no, 1 have not.

Q. Have you ever been, while at

Saint Joe's, been aware that SJU was an
institutional member of ATIXA?

A. 1 don't know that 1 knew that
specific detail, no.

Page 31

Q. And I'm not saying they were or
they weren't. l'm just asking you if have
ever been?

A. No, I'm not personally a member
of ATIXA.

Q. If you have ever taken any
webinars through ATIXA, would they be possibly
on the list that you keep?

A. Possibly.

Q. l'm trailing off at the end of l
my questions and then you're finishing my l
questions with your answer before 1 finish the
question, correctly 1 might add, but we're
talking over each other a little bit for the
court reporter. So if 1 interrupt your answer
tell me Just give me a second. l do
sometimes start to pause, but 1'11 try to keep
my questions forward.

MR. PICCERILLI: Let him ask
his full question before you answer, and he'll
let you give your full answer before he asks
the next question.
MR. MIRABELLA: That's a

standard instruction that 1 didn't give at the

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Page 32 l
start.
BY MR. MIRABELLA:

Q. In any event, and up 'til now 1

think the questions have been clear.

Back to ATIXA for a second,
have you ever been asked by ATIXA to speak ate
any of their events? l

A. No, 1 don't think so.

Q. Do you have any ATIXA material
that you ever used for reference?

A. 1 don't believe so.

Q. Do you know if you've ever used
ATIXA materials for reference?

A. I don't recall.

Q. Have you ever been asked to --
tell me a little bit about the role -- tell me
about the consulting you've done for the Clery
Center.

A. 1 worked with them on
consulting on their curriculum for one of
their trainings. 1 believe they were moving l
either to an extended training or they were
looking for ways to integrate more adult
learning in the training, and so 1 provided

Page 33
some of that framework
I've also consulted on other
Clery Center trainings that they were
facilitating again to specifically incorporate
adult learning techniques as part of my
Master's in education.

Q. Back to the ASCA, does that
organization also produce any professional
publications or journals?

A. 1 don't know.

Q. Do you know if you ever
consulted any in connection with your work as
in student discipline?

A. Can you repeat that again?

Q. Sure. Do you know if you ever
used any of materials in connection with your
work in student discipline?

A. The ASCA?

Q. Yes.

A. 1 can't recall specifically.

Q. Do they produce like a monthly

journal or anything like that?
A. No, not that 1'm aware of.
Q. Just for context I'm going to

9 (Pages 30 - 33)

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Case 2:18-cV-O2O44-PD Document 57-5 Filed 09/24/18 Page 11 of 73

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applications that Were recently done at Saint
Joe's to the Office of Violence Against Women
for a $300,000 Federal Grant and a $30,000
grant?

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MR. PICCERILLI: 1 think you
misspoke in terms of the second. The second
one is a State Grant.

MR. MIRABELLA: I'm confident
that Dr. White will correct me

THE WITNESS: Yes, that's

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Page 35

correct. There's one OVW Grant and there's
one Pennsylvania State Grant.
BY MR. MIRABELLA:
Q. With respect to those grant
applications, were you involved in either?
A. Yes, 1 was.
Q. And Were you principally
responsible for the OVW Grant application?

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9 A. 1 was, 1 was the lead author.
10 Q. And who was the lead author on
11 the State Grant?
12 A. Dr. Perry.
13 Q. Who do you report to at SJU?
14 A. Dr. Perry and Cary Anderson.
15 Q. And who reports directly to
16 you?
17 A. Bill Bordak, Dr. Greg Nicholas,
18 who is the Counseling Center Director, Ms.
19 Marci Berney who is the Director of Student
20 Outreach and Support, Laura Hertz who is the
21 Director of the Student Health Center, and
22 Carla Castro who is our Infonnation System
23 Manager.
24 Q. Carla Castro, who is the

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Page 34 Page 36
1 ask you some very general questions about 1 Information System Manager, does the StarRez
2 certain areas of your responsibilities and 2 system fall under that umbrella?
3 then get back to question you in more detail 3 A. Information systems is any of
4 later in the deposition, but I Want to make 4 the information technology related to the
5 sure 1 allocate the correct amount of time to 5 division, and so 1 guess 1 would ask for
6 some of these things. 6 clarification with what you mean to fall under
7 Were you directly involved in 7 that umbrella.
8 the formulation of the Sexual Misconduct 8 Q. Does she have any role in data
9 Policy, both the interim and the policy that's 9 entry or use of the StarRez system?
10 in place now at Saint Joseph's University? 10 A. No. She oversees projects at a
1 l A. The policy that is in place 1 1 high level -- information technology projects
12 now, yes, 1 served on the committee 12 at a high level.
13 Q. Dr. White, were you directly 13 Q. The appeal process that's in
14 involved in either of the two grant 14 place now, when there's findings 1 guess in

claims of sexual misconduct, did you have any
role in the formulation of that policy?
A. The current policy that's in
place, yes, 1 served on the committee
Q. 1 want to go back to 2014 and
the process that was in place. As of 2014,
what was your -- how directly or indirectly
were you involved in Community Standards and-
student discipline?
A. 1n 2014 1 was the Assistant

Page 37

 

Vice President for Student Life and so 1
supervised the Director of Community
Standards.

Q. And as the supervisor of the
Director of Community Standards what role, if
any, did you have to play with respect to
student misconduct cases?

A. Specifically 1 facilitated the
appeal process, and by way of my supervisory
role to Community Standards would oversee the
Community Standards Office and its
involvement.

Q. As 1 understand it from
testimony from Mr. Bordak, the StarRez system
came into effect around 2011?

A. 1 can't recall the specific
dates.
Q. Do you have any recollection of

it being in place earlier than that?
A. 1 don't remember.
Q. What's your interface, if any,
with the Title 1X Coordinator?
MR. PICCERILLI: Objection to
form.

10 (Pages 34 - 37)

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Case 2:18-cV-O2O44-PD Document 57-5 Filed 09/24/18 Page 12 of 73

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CONFIDENTIAL
Page 38 Page 40 l

BY MR. MIRABELLA: 1 individual students, supporting them while

Q. You can still answer. 2 they're students, sometimes while they're away

A. Regarding the process, the 3 in terms of re-entry or time away from the
sexual misconduct process? 1f you could 4 institution if it's for a mental health
provide a little bit more detail to what 5 concern or something like that. Then we have
you're asking me. 6 Wellness, Alcohol and Drug Education Program.

Q. Yes, sure Do you periodically 7 And then there's also this Sexual Misconduct
work with the Title IX Coordinator in any 8 Prevention Specialist that was recently hired
aspect of your role? 9 as part of the OVW Grant.

A. Periodically, yes. 10 Q. And the Sexual Misconduct

Q. But the Title 1X Coordinator ll Specialist, who is that?
does not report to you? 12 A. Chris Morrin.

A. No. 13 MS. ENGLE: Can we go off the

Q. Have you ever been a Title IX 14 record.
Coordinator? 15 - - -

A. No. 16 (Whereupon, a short break was taken at

Q. What's the Behavioral 17 this time)
Intervention Team? 18 - - -

A. 1t's a team that comes together 19 (Mr. Chesney entered)
when there are potential incidents that 20 BY MR. MIRABELLA:
someone from the University community feels 21 Q. What do you know generally of
there may be a concern, that needs to be 22 Mr. Morrin's background? l
inter -- When there needs to be an 23 A. 1 know that he previously held l
intervention. 24 a similar position, grant position years ago,

Page 39 Page 41

Q. So it could include claims of l and 1 believe it was at St. Lawrence
misconduct? _ 2 University,

A. It could. 3 Q. Were you involved in his

Q. Could it include claims of 4 retention?
substance abuse? 5 A. 1 was.

A. 1t could. 6 Q. Do you know if he has any

Q. And could it include concerns 7 certifications with respect to Title IX or to
over mental health? 8 student misconduct education?

A. Yes. 9 A. 1 don't recall.

Q. How is the process triggered? 10 Q. How did the school go about

A. Again, there may be a report 11 finding somebody for that role?
from someone at the University formally or 12 A. There was an open search.
informally. Someone at the University may 13 Q. And did -- 1 assume there were
learn of something that sounds concerning 14 other candidates?
1t's organic in that way. And typically, 15 A. Yes.
Marci Bernie, who is Director of Student 16 Q. And you were involved in the
Outreach and Support would convene the group 17 selection process as well then?
if deemed necessary based on the information 18 A. Yes.
that's provided. 19 Q. And at some point you saw his

Q. And the Office of Student 20 Resume or C.V.?
Outreach and Support, generally what's the 21 A. Yes.
focus for student life from that office? 22 Q. Is that role going to stay in

A. 1t's a three-prong office 23 place after the grant money is expended?
There's case management, so working with 24 A. 1 don't have specific

 

11(Pages 38 - 41)

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Case 2:18-cV-O2O44-PD Document 57-5 Filed 09/24/18 Page 13 of 73

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Page 42 z Page 44

information about that. 1 MR. MIRABELLA: No, it was a

Q. Was Mr. Morrin retained for a 2 bad question. Let me ask it a different
period of time, like for a year, or do you 3 away.
know anything about that? 4 THE WITNESS: Thank you.

A. 1t's a grant-funded position 5 BY MR. MIRABELLA:
currently. So the grant funding is for three 6 Q. You were involved in student
yearS. l 7 discipline basically from 2004 until the

Q. It'S for three years? 8 present time at one level or another; correct?

A. Yes. 9 A. Yes.

Q. And What are Mr. Morrin'S 10 Q. From 2004 until 2014, are you
day-to-day responsibilities? 11 aware of the school being criticized for its

A. Overseeing the requirements Of 12 manner of investigating claims of sexual
the grant. 13 misconduct?

Q. Am 1 correct you were the 14 A. I don't believe so.
person responsible for reporting on behalf of 15 Q. But there came a point in time
the OVW grant? 16 sometime in 2013 and 2014 when the school went

A. Can you clarify that?

Q. Sure. The school SJU has to
submit biannual reports to the Office of
Violence Against Women; correct?

A. 1 believe so, yes.

Q. Are you the person at the
school responsible for -- ultimately

responsible for SJU providing those reports?
Page 43

A. No, I'm not.

Q. Have you ever been?

A. No.

Q. Who did the first report?

A. Marci Berney.

Q. And will Mr. Morrin be involved
in doing the report or would that be Marci
Berney?

A. 1 believe it will be Chris

Morrin moving forward. Chris reports to
Marci. So I'm not sure of the exact details
of their day-to-day responsibilities regarding
that.

Q. Are you familiar with any of
discussions or questions about problems or
concerns with the school method of
investigating claims of sexual misconduct
during the period before the change, 2011 to

2014?
A. Can you repeat that? '
Q. Sure. Let me try it a

different way.
MR. PICCERILLI: Do you want
her to read it back?

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through a process of examining its
investigative model for student misconduct

involving sexual misconduct?
A. Correct.
Q. Do you know what prompted that

interest, that reflection or that review?
A. l don't recall my specific
involvement with that change in particular

 

Page 45
from the model that we had in 2014 to the
interim policy.

Q. Correct. 1 was asking really
more do you recall what prompted or what were
the motivating factors and issues that
prompted the school to reexamine and then
change the policy?

A. Part of our ongoing work always
is learning and evaluating any new guidance or
policies that come out, best practices and
that kind of thing. And so that was 1 believe
around the time of one of the Dear Colleague
Letters.

Q. Do you have any recollection of
a finding of responsibility against a female
for sexual misconduct before 2015?

A. 1 don't recall.

Q. Am 1 correct that before the
new policy on sexual misconduct in 2015 that
the Complainant and the Respondent were
provided access to the evidentiary record,
evidence, prior to an administrative hearing
or a hearing board meeting?

MR. PICCERILLI: Objection to

12 (Pages 42 - 45)

Veritext Legal Solutions
215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830

Case 2:18-cV-O2O44-PD Document 57-5 Filed 09/24/18 Page 14 of 73

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CONFIDENTIAL
Page 46 Page 48
form. 1 A. Okay.
THE WITNESS: Yes. 2 Q. So before 2015 for serious
BY MR. MIRABELLA: 3 matters students were either at an

Q. And after the new Sexual 4 administrative hearing officer or a Board
Misconduct Policy was put in place, did that 5 heard their case; correct?
policy change? 6 A. Yes.

A. The entire policy was revised, 7 Q. And the hearing of the case was
yes, 8 generally referred to as a hearing; correct?

Q. Now, let's see, 1 don't want to 9 A. Correct.
get apples and oranges mixed up. As 1 10 Q. And the Complainant and the
understand it, and you can correct me if I'm 11 Respondent before 2015 were provided access to
Wrong, prior to 2015 the policy of providing 12 the evidence, proof and investigation prior to
the Complainant and the Respondent access to 13 the hearing?
the evidence prior to the hearing or 14 A. Yes.
administrative panel was not Written down 15 Q. Now, with the change in 2015
anywhere, but it was the practice of the 16 from having a traditional hearing to having an
University; is that correct? 17 investigator who did interviews and functioned

MR. PICCERILLI: Objection to 18 as a hearing, is that What you were referring
form. You can answer. 19 to earlier?

THE WITNESS: 1 don't recall. 20 A. Yes.
BY MR. MIRABELLA: 21 Q. So after the policy changed in

Q. So you don't recall if it was 22 2015, am 1 correct that students were no
written down or not? 23 longer provided access to the records,

A. Correct. 24 evidence and proof, Complainant and

Page 47 Page 49

Q. All right, After the new 1 Respondent, in advance of meeting with the
policy was put into place in 2015 with respect 2 investigator since -- for the quote, unquote
to providing access to the evidence or records 3 hearing that the investigator conducted?
to the Complainant and Respondent prior to a 4 MR. PICCERILLI: Objection to
hearing or meeting with an investigator the 5 form.
policy was changed? 6 THE WITNESS: Yes, because We

MR. PICCERILLI: Objection to 7 don't have all the information that we had in
form. 8 the previous model. And so in the previous

THE WITNESS: One more time 9 model there was an investigation through
BY MR. MIRABELLA: 10 Public Safety, information was collected.

Q. After the new interim SMP 11 Students involved in the process were not
policy came into effect, the practice of 12 privy to those documents during that Public
providing the Complainant and Respondent 13 Safety investigation, but prior to the
access to the evidence and records prior to a 14 hearing
hearing board or an interview with an 15 Whereas in the investigator
investigator changed as compared to the 16 model the information is being collected
practice before? 17 during the meeting and investigation with the

A. So just to clarify, 1 guess 18 investigator as well as involvement from the
from my perspective, with the language, so the 19 parties involved. So we don't have all the

investigation -- the word investigation is 20
used in both before and after. But the 21
meaning of it is different. 22

Q. Sure. So 1 think 1 can clarify 23
that. 24

information at the time of the investigation
to share with the students involved.
BY MR. MIRABELLA:

Q. And even if there's a report
generated, even if there are materials that

13 (Pages 46 - 49)

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Case 2:18-cV-O2O44-PD Document 57-5 Filed 09/24/18 Page 15 of 73

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CONFIDENTIAL
Page 50 Page 52

are available, the school's policy is not to l Q NO. 1 mean not during the
give the students, Respondent or Complainant, 2 investigation itself, but does the
access to those materials prior to the meeting 3 investigator present findings in Writing to
with the investigator? 4 the Complainant or Respondent giving them an

A. Correct, to preserve the 5 opportunity to respond?
integrity of the investigation 6 A. Does the investigator do that,

Q. And what's your definition 7 1 do not know exactly what she does.
of-- what do you mean by integrity of the 8 Q. Does the SMP require the
investigation? 9 investigator to do that?

A. At that point information is 10 A. No.
still being collected and so information is ll Q. Dr. White, have you ever
not shared, detailed information is not shared 12 personally been involved in issues With a
with the party involved prior to the 13 claim of misconduct either as an Administrator
collection of information 14 or as a student?

Q. And the only information that 15 MR. PICCERILLI: Objection to
is shared is that which is set forth in the 16 form.
Notice of Process Letter? 17 BY MR. MIRABELLA:

A. Yes. 18 Q. You can still answer.

MR. PICCERILLI: Excuse me, for 19 A. Can you ask it again?
clarification, you mean before the 20 Q. 1'd like to ask it generally
investigation? 21 because 1 don't want to get too specific.
MR. MIRABELLA: No. 1 mean 22 But ljust Want to knOW, aS a

before the Respondent or Complainant meet with 23 Student or a graduate Student or as an

the investigator

Page 51
MR. PICCERILLI: Right, that's
what 1 meant to say.
BY MR. MIRABELLA:

Q. Are either the Complainant or
Respondent entitled to see and to respond to
the findings of the investigator before
there's a formal finding or outcome?

A. Can you rephrase that?

Q. Sure. As the Complainant and
Respondent, so I'm referring to both of them,
are either or both entitled to see the
investigator's findings before there's a final

outcome?
A. See the findings before, no.
Q. Are either the Complainant or

Respondent entitled to respond to the
investigator's findings in writing before
there's an outcome?

A. I'm not sure of the details of
which the investigation, any response that is
allowed during the investigation. So if there
is opportunity to respond to allegations
within the investigation itself I'm not-- 1
don't have those details.

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Administrator at Saint Joe's University, have

Page 53
you ever been a Complainant or a Respondent?

MR. PICCERILLI: Objection to
that question, What's the relevance of that
question?

MR. MIRABELLA: The relevance
of the question, depending upon the witness'
personal experience, it may impact -- it may
go to bias.

MR. PICCERILLI: Well, basis as
to what? She was involved in the appeal.
Basis as to what?

MR. MIRABELLA: You asked me
for the relevance and 1 told you the
relevance 1 don't intend to go into
details. 1t's part of my standard questions.

MR. PICCERILLI: You don't have
to answer that question if you feel it's too
personal that you don't want to. If you want
to answer you may.

THE WITNESS: Are you speaking
specifically about sexual misconduct?

BY MR. MIRABELLA:
Q. 1 was speaking more generally,
but given the sensitive area, whatever is more

14 (Pages 50 - 53)

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Case 2:18-cV-O2O44-PD Document 57-5 Filed 09/24/18 Page 16 of 73

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CONFIDENTIAL
Page 54 Page 56

likely to provoke an answer. So 1'11 do it 1 issue of sexual misconduct or was it broader
generally or 1 can limit it to that. 2 than that?

A. 1 have never been involved as a 3 A. 1 believe the committee was
Complainant or Respondent in anything related 4 looking at the Sexual Misconduct Policy as
to sexual misconduct, 5 well as the Policy Prohibiting Discrimination,

Q. Currently what are your 6 harassment and retaliation, 1 believe 1
responsibilities on a day-to-day basis? 7 believe that the committee was looking at both

A. 1t depends on the day. 1 don't 8 of those
know that 1 could describe a typical day. As 9 Q. Was it looking at anything else
1 mentioned, 1 oversee five areas, In 10 that had been within the rubric of student
addition to overseeing those areas, 1 also 11 misconduct?
coordinate the strategy planning assessment 12 A. No.
efforts for the Division of Student Life as 13 Q. Did the committee circulate
well as serve as staff -- staffing the Student 14 drafts or hear speakers or have hearings?
Life Committee on the Board of Trustees. 15 What Was the work of the committee?

So it's hard to describe a 16 A. 1t was a working committee So
typical day, but many meetings about many 17 several meetings, 1 believe, 1 can't recall
different things. 1 serve on various 18 the specific amount of meetings, came together
University committees ranging from 19 for discussions. 1 do recall Liz Malloy, the
Commencement to Community Engagement to 20 lead investigator, came in to speak with the
Behavioral Intervention Team. 1t's quite 21 committee Yes, various -- not subcommittees,
varied depending on the day and time of year. 22 not as formal as subcommittees, but there was
1 don't know if that answers your question, 23 some delegation of tasks that happened, and
but... 24 that's all 1 can remember at the time

Page 55 Page 57
Q. Tell me a little bit more about 1 Q. Besides Liz Malloy, do you
your involvement on the committee in 2 remember any other individuals from outside
connection with the formulation of the Sexual 3 groups coming in and speaking?
Misconduct Policy, 4 A. 1 don't recall.
A. 1 served on the committee 5 Q. At that point in time, had
There was a committee that came together 6 Elizabeth Malloy done any work for the Office
Q. And do you know who else was on 7 of Community Standards before coming in to
the committee, how often they met and who was 8 Speak to the committee?
the lead, if there were, authors of the policy 9 A. 1 don't recall.
that is in place now? 10 Q. Do you recall having met her
A. The lead of the committee was 11 any other time before then?
Dr. Cary Anderson and Dr. Josephine Shih, who 12 A. 1nto the committee?
is a faculty member, a psychologist at Saint 13 Q. Before meeting her when she
Joe's University. Other members of the 14 spoke at the committee, do you recall Working
committee include, but 1 don't know that 1 can 15 With her before that?
recall them all, Dr. Perry, there was at least 16 A. 1 recall meeting her before
one student, a Sister, Dr. Betsy Lenaghan, Dr. 17 that. 1 don't recall if it was within the
Raquel Bergen. 1 believe Sharon Eisenmann who 18 Community Standards process Or not.
is our Vice President for Human Resources was 19 Q. Were there any issues of
on the committee, 1 don't know if there are 20 misconduct, student or otherwise, for which
others that I'm not thinking about, but those 21 Saint Joseph's University retained or utilized
are ones that 1 can recall being on the 22 outside investigators prior to January of
committee 23 2015?
Q. Was the committee solely on the 24 A. For Student misconduct, not

15 (Pages 54 - 57)

Veritext Legal Solutions
215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830

Case 2:18-cV-O2O44-PD Document 57-5 Filed 09/24/18 Page 17 of 73

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CONFIDENTIAL
Page 58 Page 60
that I'm aware of. 1 Q. All right. Let's go back to
Q. And what about for staff or 2 2013 and 2014 at Saint Joseph's University.
administrative misconduct? 3 At that point in time were you involved in any
A. 1 don't know that 1 would have 4 committee looking at, examining or changing
the answer to that. 5 the school's policy for the investigation of '
Q. Do you remember, other than Ms. 6 sexual misconduct?
Malloy, perhaps members of her -- other 7 A. This is what 1 mentioned
members of her firm coming to speak to the 8 earlier. 1 don't recall my specific
committee? 9 involvement from what was in place from 2013
A. 1 don't recall. 10 for 2014 to the interim in January of 2015.
Q. Do you remember what Ms. Malloy 11 Q. And when Ms. Malloy came and
spoke about? 12 spoke, was it during the time period the
A. 1 believe it was generally the 13 interim policy was in place?
practice of the investigation and what that 14 A. Yes.
looked liked in terms of informing the 15 Q. And had MS. Malloy already done
committee of that, but 1 can't recall the 16 investigations for the University when she
specifics. 17 came and spoke?
Q. And so there was talk of 18 A. 1 don't recall.
changing the investigative and adjudication 19 Q. Who at the University was
process for sexual misconduct; correct? 20 ultimately responsible for selecting Ms.
A. Can you repeat that? 21 Malloy or members of her firm to perform
Q. Sure. The committee was 22 outside investigations?
thinking about and considering and discussing 23 A. 1 don't know if 1 know that,
changing the practice for investigation and 24 I'm not responsible for that,
Page 59 Page 61 l
adjudication of sexual misconduct claims? 1 Q. Do you know if Dr. Anderson is?
MR. PICCERILLI: Objection. 2 A. 1 do not know.
THE WITNESS: 1 don't know that 3 Q. Do you know if not that, who
1 understand your question. 4 would be responsible for reviewing the quality
MR. PICCERILLI: It misstates 5 and thoroughness of her investigations?
her testimony. 6 MR. PICCERILLI: I'm sorry, may
BY MR. MIRABELLA: 7 1 hear that again. Can you read it back.
Q. Well, was the committee 8 - - -
considering changing the investigative process 9 (Whereupon, the court reporter read
for claims of sexual misconduct, looking at 10 back the pertinent information.)
it? 11 - - -
A. From what was in place with the 12 THE WITNESS: 1t's not my
interim model? 13 responsibility. 1 do not know.
Q. From what was in place in 2014? 14 BY MR. MIRABELLA:
A. So the committee that 1 am 15 Q. Do you know if that would fall
referring to is the committee that was in 16 within Dr. Anderson's purview?
place after the interim Sexual Misconduct 17 A. 1 can't say for sure
Policy was put in place So 1'm not sure if 1 18 Q. I'm going to ask you some more
understand. 19 questions about that. 1 just want to do it in
Q. So your question -- my 20 an efficient way.
questions, your answers were based on your 21 A. Okay.
belief that 1 was asking you about the 22 Q. As the Director of Community
committee in place after the interim policy? 23 Standards, or anyone else that reports to you,
A. Correct. responsible for reviewing the thoroughness and

24

16 (Pages 58 - 61)

Veritext Legal Solutions
215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830

Case 2:18-cV-O2O44-PD Document 57-5 Filed 09/24/18 Page 18 of 73

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CONFIDENTIAL
Page 62 Page 64
quality of the investigations performed by Ms. 1 A. l may have
Malloy? 2 Q. Are you -- and does that
A. 1 would imagine that, and she 3 refresh your recollection if you ever
does not report -- 4 presented an ATIXA event one way or the other?
MR. PICCERILLI: No guess. 5 A. Not specifically, no. There
Whatever you know. 6 are sometimes events that are cosponsored. 1
THE WITNESS: The Title IX 7 don't recall specific ATIXA events, but
Coordinator, Dr. Mary-Elaine Perry, is the one 8 sometimes there are trainings and other
who is in main contact with Liz Malloy in the 9 institutes that are cosponsored among
instances that I'm aware of. 10 different organizations
BY MR. MIRABELLA: ll Q. And if 1 forget to ask -- well,
Q. And when you -- all right. 12 can you make available to your attorney,
And is it your understanding 13 whether your attorney discloses it is a
that -- do you have an understanding Whether 14 different issue, the list of your professional
Dr. Perry communicates with MS. Malloy or the 15 webinars that you assembled, that 1 understand
other outside investigators during the course 16 is not complete?
of an investigation? 17 A. Yes.
A. 1 do not know that. 18 Q. What is the Jesuit Association
Q. And what are the instances in 19 for Student Personnel?
which you are aware in which Dr. Perry was in 20 A. That's another one that we're a
contact with or communicating with Ms. Malloy? 21 member of. 1 apologize for missing that
A. If there are -- 1 recall an 22 earlier, but that is the Jesuit Association of
instance there was checking in on the timeline 23 Student Personnel Administrators.
of an investigation, for example 24 Q. And what's your role there, if
Page 63 Page 65
Q. Are you familiar with the 1 any?
timeline? 2 A. So I'm a member, The
A. Yes, 1 am. 3 institution is one of 28 Jesuit institutions
Q. What's been your sort of 4 in the U.S. Saint Joseph's University 1
education or professional experience with 5 mean. So by way of that 1 am a member, 1
Title IX as it pertains to the student 6 served as a Program Committee Member for the
discipline? 7 JASPA five-year institute in 2015 at the
A. Any webinars, various 8 University of San Francisco. And1 am
trainings, meeting with colleagues, 9 currently serving as the Co-Chair of the
conversations with colleagues. 10 five-year summer institute for JASPA in 2020
Q. Oh, 1 wanted to ask you, go 11 at Loyola, Chicago.
back to another question. Did you present 12 Q. And what type of events will be
at -- 1 take it you do professional 13 at the summer institute?
presentations from time to time? 14 A. We're still in the planning
A. Correct. 15 phases of that,
Q. Do you do them on a regular 16 Q. Let me ask the question a
basis? 17 different way. Using your experience with the
A. How would you describe 18 2015 , what types of presentations and
regular? 19 education or seminars do you expect will be
Q. Couple times a year? 20 available?
A. Not necessarily. 21 A. Again, it is within the field
Q. Did you present at an ATIXA 22 of student affairs. So a pretty broad array
event called the "1ntersections in Compliance: 23 of topics to include the various functional
Exploring Title 1X and the Clery Act" in 2014? 24 affairs within student affairs embedded within

 

17 (Pages 62 - 65)

Veritext Legal Solutions
215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830

Case 2:18-cV-O2O44-PD Document 57-5 Filed 09/24/18 Page 19 of 73

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CONFIDENTIAL
Page 66 Page 68
the mission of Jesuit institutions 1 them for what they are, subregulatory
Q. In the 2015 summer institute, 2 guidance
was there any presentations or workshops on 3 Q. And what's your understanding
Title IX or student sexual misconduct? 4 or definition of subregulatory?
A. 1 don't recall specifically. - 5 A. 1t's not the law.
Q. Did you teach any? 6 Q. At Saint Joseph's has anyone
A. 1 don't believe so. 7 provided you training with respect to the
Q. Do you periodically review the 8 areas of student discipline when you first
Dear Colleague Letters and the Q&A that are 9 assumed your role back in 2003, 2004?
issued by the Office for Civil Rights of the 10 A. Can you repeat that again
Department of Education? ll Q. Sure. Did you get any training
A. Yes. 12 in-house at Saint Joe's in connection with
Q. Do you retain copies of those 13 your role as Student Discipline when you first
in your office? 14 came to Saint Joe's?
A. All of them? 1'm not sure that 15 A. Yes.
1 have all of them. 16 Q. And who was that from or how
Q. Sure. And 1 was just trying to 17 was that done or both?
get a sense for how closely you Work with 18 A. Dr. Nancy Komada, one of my
them. 19 supervisors at the time. Dr. Linda Lelii Was
Let me ask kind of a related 20 the Vice President of Student Life at the
question What reference materials do you 21 time There was another colleague, Dr. Lynn
keep in your office in terms of Title IX, 22 Ortale, who 1 believe was an Associate Vice
Clery Act or that type of subject matter? 23 President for Student Life at the time
MR. PICCERILLI: Can we break 24 Q. I'm jumping around a little
Page 67 Page 69
it down. 1 bit. Back to the interim policy on sexual
MR. MIRABELLA: Sure. The 2 misconduct and the committee
witness can describe any way she's comfortable 3 So tell me, that committee was
saying what reference materials she keeps 4 involved in transitioning from the interim
handy or from time to time refers to. 5 policy to what 1'll call the final policy that
THE WITNESS: 1t varies quite 6 was in place in 2015, non-interim policy?
honestly depending upon what 1 believe is 7 A. Can you repeat that?
probably readily available, publicly 8 Q. Sure. 1n January of 2015 there
available, and what 1 may need to retain my 9 was an interim SMP policy; correct?
own copy of for one reason or another. Many 10 A. For students only.
of the information -- much of the information 11 Q. And then there was a final SMP
that you just described is readily available, 12 policy that came into effect 1 believe in June
in my opinion. 13 of 2015 or sometime thereafter?
BY MR. MIRABELLA: 14 A. Yes, 1 believe so.
Q. Do you have any textbooks or 15 Q. And tell me what your
particular publications that you use more 16 committee's focus was on in connection with
often than others? 17 that transition
A. No. 18 A. 1t was to look at a university
Q. What's your understanding of 19 wide policy for sexual misconduct,
the significance of the Dear Colleague and Q&A 20 Q. So the interim SMP only applied
materials when they're issued for school 21 to students?
administrators? 22 A. Correct.
A. They are subregulatory 23 Q. And did same hold for the
guidance, so we review those items. We take 24 policy against discrimination?

18 (Pages 66 - 69)

Veritext Legal Solutions
215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830

Case 2:18-cV-O2O44-PD Document 57-5 Filed 09/24/18 Page 20 of 73

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CONFIDENTIAL
Page 70 Page 72

A. 1 don't recall Specifically. 1 Eisenmann

Q. During your time when you were 2 Q. Who currently is the Title IX
directly involved in student discipline, and 1 3 Coordinator at Saint Joseph's?
know that spans from 2004 to 2013? 4 A. Dr. Mary-Elaine Perry.

A. Currently. 5 Q. But she's the Interim

Q. All right. Let me try to 6 Coordinator?
bracket this a little differently. Have the 7 A. Correct.
number of claims of sexual misconduct been -- 8 Q. Why is she the Interim
that have been reported have they been 9 Coordinator and not the Coordinator, if you
relatively steady, have they changed, have you 10 know?
noticed any trends? 11 A. There were reductions, staff

A. 1 don't know that 1 can comment 12 reductions at the University, position
on that right now without reviewing 13 eliminations as of June 1, 2018. 1 don't know
information around that. 14 if 1 know the details of her specific

Q. You became the Assistant to the 15 situation regarding her interim role.
Vice President in 2013? 16 Q. Were there any other staff

A. To the Vice President in 2007, 17 reductions in that time frame in connection
Assistant Vice President in 2013. 18 with the people that report to you or your

Q. Since becoming Assistant Vice 19 office?
President in 2014 to the present time, have 20 A. So as of June 1, 2018 three of
you been aware of any changes in the frequency 21 the offices that 1 described reporting to me
of reporting of claims of sexual misconduct? 22 currently were not reporting to me. So

A. Again, without that information 23 Counseling, Student Health and Student
1 don't know that 1 can comment on that, 24 Outreach and Support did not report to me

Page 71 Page 73

Q. Who is responsible for the 1 prior to June lst.
investigation of claims of sexual misconduct 2 Q. And do you know to whom they
under the -- at the school if it involves a 3 reported?
Respondent that is not a student? 4 A. Dr. Mary-Elaine Perry.

A. 1 believe there's a difference 5 Q. And do you have an
between faculty and staff, depending upon the 6 understanding as to which office or in which
status of the Respondent, whether it's faculty 7 hierarchy of administration the next Title IX
or staff. 8 Coordinator will be placed and will function?

Q. And this is not an area you are 9 THE COURT REPORTER: Can you
directly involved in; correct? 10 repeat that.

A. Correct. 11 BY MR. MIRABELLA:

Q. So if the potential Respondent 12 Q. Do you know what the plan is
is either a staff member or faculty member, 13 going forward With respect to the next IX
that takes it outside of your purview; 14 Coordinator, are you aware in what office that
correct? 15 person will function?

A. That's correct. 16 A. 1 do not know that

Q. Okay. Do you know what 17 information
department would handle that? 18 Q. As it stood previously, did Dr.

A. Human Resources. 19 Perry, as the Title IX Coordinator title, fall

Q. And do you know currently who 20 underneath the office of Dr. Anderson?
is the Director of-- or who in Human 21 A. Yes.
Resources would be responsible for that? 22 Q. With respect to the SMP, and

A. 1 don't know specifically. The 23 you may have already answered this, what
Vice President for Human Resources is Sharon 24

particular areas would your committee discuss

19 (Pages 70 - 73)

Veritext Legal Solutions
215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830

Case 2:18-cV-O2O44-PD Document 57-5 Filed 09/24/18 Page 21 of 73

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CONFIDENTIAL
Page 74 Page 76

with respect to any changes, to the best of 1 the slideshow come from?
your recollection? 2 A. Marci Berney is directly

A. 1t was really looking at 3 responsible for the creation of the
creating and establishing the University wide 4 PowerPoint.
policy. So in terms of specific areas, 1 5 Q. Do you see the PowerPoint?
can't recall right now if there was a specific 6 A. Yes.
area. 7 Q. And you're the facilitator, but

Q. And the SMP was revised 1 8 are you in the room as it's played out for the
believe in 2017? 9 students?

A. 1 don't recall specifically. 10 A. Yes, I'm the one that is

Q. Have you had any involvement in 11 presenting and facilitating the session for a
the revisions or writing the revisions? 12 small group of students.

A. Typically, yes, 1 would be in 13 Q. In the slideshow -- strike
some way consulted. 1'm not responsible for 14 that, Let me try another way.
the actual revisions to the policy, but 1 15 1n "Break the Silence"
would be consulted on those. 16 slideshow it says that sexual assault occurs

Q. And sitting here today, you 17 when the act is intentional and committed by
have no recollection of any specific changes? 18 force, violence, threat or intimidation,

A. Specifically 1 cannot say for 19 ignoring the objection of another person
sure, no. 20 1 don't want to read the whole

Q. 1 would like to ask you some 21 thing since it's such a long definition
questions about the slideshow, "Breaking the 22 Do you agree with definition?
Silence" presentation 23 1'll finish it if you want.

A. Okay. 24 MR. PICCERILLI: I'm going to

Page 75 Page 77

Q. As understand it, you were the 1 just object to the extent that you're reading
facilitator of that program? 2 and not showing the witness the slide 1t's

A. Yes. 3 hard for her to remember 1 would think.

Q. What does that mean? 4 MR. MIRABELLA: Off the

A. 1 Was a presenter. 5 record.

Q. And you've been doing that for 6 - - -
a number of years? 7 (Whereupon, a discussion was held off

A. Yes. 8 the record.)

Q. How is it presented to the ' 9 - ~ -
students generally? 1 mean, they're put in a 10 (Whereupon, Exhibit White-1 was marked
room and a slideshow is turned on. 1s there a 11 for identification.)
moderator? What's the method for introducing 12 - - -
students to the information in the 13 BY MR. MIRABELLA:
presentation? 14 Q. Dr. White, I'm going to ask you

A. Small groups, so smaller 15 some questions about some of the definitions 1
groups. We have a couple hundred students 16 started on. My prior question 1 started
attend our orientation session So we break 17 reading was part of the definition 1 don't
those couple hundred students into smaller 18 know if that was the best way to go about it.
groups with their orientation leader, and 19 You're free to take a minute to review it.
there's one presenter who is, 1 like to use 20 For the record, this was
the word facilitate, the presentation because 21 produced as SJU 1019 through 1051. And when
it's interactive. But yes, there's a 22 you're ready let me know. I'm going to ask
slideshow. 23 you some questions about the definition,

Q. And where did the content for 24 particularly as pertaining to sexual assault.

20 (Pages 74 - 77)

Veritext Legal Solutions
215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830

Case 2:18-cV-O2O44-PD Document 57-5 Filed 09/24/18 Page 22 of 73

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CONFIDENTIAL
Page 78 Page 80

A. Okay. 1 follows the previous slide 1028 where there

Q. Do you have the Definition page 2 are scenarios that are posed to the group of
in front of you? 3 students and then they're asked to reflect on

A. 1 believe so. 4 whether or not they feel this is harassment

Q. Can you read the number into 5 So we move from harassment into
the record or can you tell me what the number 6 sexual assault as it being a form of sexual
is? 7 harassment.

A. Are you referring to the number 8 I'm sorry, can you repeat what
on the bottom right (indicating)? 9 your specific question was?

Q. Yes. 10 BY MR. MIRABELLA:

A. SJU001030. 11 Q. Sure. 1 was asking you what

Q. So just for context, this is a 12 was the intent as the facilitator of the
printout of the slideshow that's shown during 13 information to be conveyed to the students,
orientation; correct? 14 and 1 think that was what you just answered?

A. 1t appears to be, yes, 15 A. Yes.

Q. And this page is a printout 16 Q. Bear with me just a second. 1
from that slideshow. 1 don't know if it's one 17 want to ask you some questions about the slide
slide or not, but I'm assuming that's what is, 18 pertaining to consent. 1 have to find it.
and it starts with: Sexual Assault is Defined 19 And 1 take it there is a slide
As at the top of the page; correct? 20 that talks about the issue of consent;

A. Correct. ' 21 correct?

Q. And this is what is shown to 22 A. Yes.
the students at orientation; correct? 23 Q. Do you have that in front of

A. Correct. 24 you?

Page 79 Page 81

Q. And then it goes on and gives 1 A. I have 1035 as one. There's
definitions of sexual assault, which 1 started 2 also 1036, 1037, 1038.
reading and your Counsel objected, 1 agreed 3 Q. All right, 1036 1 think is
With the objection, so now We're looking at 4 blacked out. ls that like -- do you know
the definition on the slideshow. 5 what is normally there or how that's --

Have you had a chance to -- 6 A. Yes, 1 believe because of the
you've done this presentation you've seen 7 white box up top with the Consent, 1t's Simple
this definition before; correct? 8 as Tea, it's a video. So that may be why.

A. Yes. 9 Q. And what's Tea an acronym for?

Q. Do you agree that that's an 10 A. No, it's tea, like a cup of hot
accurate definition of sexual assault? 11 tea,

A. Yes. 12 Q. And can you explain how that's

Q. All right. I'm going to ask 13 used to teach students?
you some other questions about some of the 14 A. Yes, it's a simple version, 1
information in the slideshow. Some might be 15 can't recall how long the video is, a rather
would you agree with it, some might be other 16 short video, depicting stick figures and a cup
questions. 17 of tea and creating a humorous, but not too --

On Page 00129 there's a slide 18 not humorous in terms of being insensitive to
entitled Sexual Assault = Sexual Harassment, 19 the topic, but it's a humorous way to convey
and it's talking about a definition Can you 20 consent regarding somebody's desire,
explain What's meant to be conveyed there, if 21 willingness, consent to drink a cup of tea,
you know? 22 Q. And that's used as a metaphor

MR. PICCERILLI: SJU1029? 23 for consent involving romantic or sexual

THE WITNESS: Yes, this slide activity?

24

21 (Pages 78 - 81)

Veritext Legal Solutions
215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830

Case 2:18-cV-O2O44-PD Document 57-5 Filed 09/24/18 Page 23 of 73

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CONFIDENTIAL
Page 82 ` Page 84

A. Correct. l A. Yes.

Q. Is it your belief that, 2 Q. And can consent be withdrawn
generally speaking, claims of sexual 3 non-verbally?
misconduct are underreported by the victims? 4 A. Yes.

A. That's the national research. 5 Q. Can you describe how students

Q. Do you believe that is true? 6 are taught to withdraw non-verbally?

A. 1 believe that the national 7 A. 1'11 give the example of
research is sound, yes. 8 someone passes out.

Q. And do you believe that that 9 Q. And if you can just flesh that
also holds on SIU's campus at least during the 10 out a little more, although 1 think 1
current time frame? ll understand what you mean

A. 1 don't know what 1 don't know. 12 A. Sure. 1f there is a situation

Q. 1n the consent 1038 checklist, 13 where a student is intoxicated and they may
do you see Verbal and Non-Verbal? 14 verbally consent or non-verbally consent and

A. Yes. 15 then they pass out from intoxication, they are

Q. Briefly, tell me a little bit 16 not in the position to be able to consent at
about the non-verbal cues. I'm going to take 17 that point.
you through each one What's that mean to 18 Q. So the passing out serves as a
convey? 19 non-verbal withdrawal of consent?

A. So you would like to take me 20 A. Correct.
through each one? 21 Q. There's some other things

Q. Yes. So first off`, what is 22 described, mentioned, and these are obviously
meant by Non-verbal Cues? 23 in this slide by way of examples.

A. Lack of consent Without their 24 For the record it's 1038.

Page 83 Page 85

being a verbal indication of lack of consent. l Pushing away, what's meant by that?

Q. So there are situations in 2 A. 1 don't know that 1 can
which consent could be verbal and situations 3 describe exactly what each of these things
where it could be non-verbal; correct? 4 would mean. But What We share with students

A. Yes. 5 is that there's a definition of consent in our

Q. And if consent is non-verbal, 6 policy. This presentation is not to take away
it can be changed by either verbally or 7 any information within that policy regarding
non-verbally; correct? 8 the definition of consent. 1t's not to --

A. Can you repeat that, 9 Q. I'm just asking some questions

Q. Sure. 1f there's romantic or 10 about the non-verbal cues that are shown to
sexual activity and it was consensual, the 11 the students and discussed at orientation
consent was non-verbal, the person who gave 12 A. Right.
the non-verbal consent could withdraw it 13 Q. And 1 want to get into that in
either with a verbal or a non-verbal cue? 14 a little further detail. So some examples

A. Can you repeat that one more 15 listed here are, you already talked about
time? I'm sorry. 16 passing out; correct?

Q. Sure. 17 A. Yes, 1 did.

A. Or break it down for me if 18 Q. All right, And then one is
you're able to do that. 19 freezing sudden stop of participation ls

Q. Sure. Can consent once given 20 there any further discussion about that?
be withdrawn? 21 A. No.

A. Yes. 22 Q. And what is meant to convey

Q. And it can be withdrawn 23 here as an example of a non-verbal cue?
verbally; correct? 24 A. When an individual freezes.

22 (Pages 82 - 85)

Veritext Legal Solutions
215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830

Case 2:18-cV-O2O44-PD Document 57-5 Filed 09/24/18 Page 24 of 73

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CONFIDENTIAL
Page 86 Page 88

Q. And in that instance, if an 1 the absence of a cue there would be no
individual freezes, that should be something 2 indication?
that your partner looks at as a withdrawal of 3 MR. PICCERILLI: Objection to
consent? 4 form. You can answer the question

A. It may be 5 THE WITNESS: 1 present to the

Q. When there are non-verbal cues, 6 students that it is their responsibility to
is the partner supposed to read them -- strike 7 ensure that consent is present during all
that. 8 stages of intimacy.

What's the responsibility of
the partner as he's talking to students to
read non-verbal cues?
A. The responsibility of the party
is to know whether or not there is consent
present at all times

Q. And when there's a withdrawal
of consent to stop; correct?

A. Same, yes,

Q. 1f there's a withdrawal of

consent and the party stops in a reasonable
period of time, can that still be a violation
of sexual misconduct?

A. 1t would depend upon the
circumstances That's exactly what the
process is for, to determine that, 1t's a bit

Page 87

more hypothetical.

Q. They're all pretty hypothetical
to be fair.

A. Yes.

Q. But there's a subjective
element to it and I'm trying to probe what the
students are told during the orientation
program in terms of responsibility of the
person giving or withdrawing consent and the
responsibility of the person who needs to
determine if consent is present

So the non-verbal cues are

meant to sensitive the students that the
absence of a verbal cue does not mean that
there is consent, among other things?

A. Correct.

A. But there should be either a
verbal or non-verbal cue, that the Respondent
isn't expected to be a mind reader; correct?

A. I'm not sure what you mean by
mind reader.

Q. What does the term "cue" mean?

A. An indication

Q. And it's an indication that in

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BY MR. MIRABELLA:
Q. During the orientation are the
students -- strike that.

During the slideshow is the
presentation -- is the subject of whether the
people who complain of being victims of sexual
assault should be believed? 1s that
specifically addressed?

A. In the presentation you asked?

Q. Yes.

A. Can 1 take a moment to look at
it?

Q. We'll take a two-minute

A. Are we breaking?

Q. You're entitled to a break

whenever you want one. We can take a break so

Page 89

you can look through the slideshow.

(Whereupon, a short break was taken at
this time)
BY MR. MIRABELLA:

Q. We were talking about the slide
and 1 asked you some questions and we took a
break so you could look at the rest of the
slide Can you respond to that question more

directly?
A. Yes.
Q. So is there anything in the

slide about that issue?
A. Slide Number 1048.
MR. PICCERILLI: So the witness
was referring to S1U1048.
BY MR. MIRABELLA:

Q. And what is germane to my
question?
A. So the first bullet states:

Believe! The most important thing to do is to
believe a victim. The slide when 1 present
is -- well, first of all, it's presented to

23 (Pages 86 - 89)

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Case 2:18-cV-O2O44-PD Document 57-5 Filed 09/24/18 Page 25 of 73

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Page 90 Page 92

the students and a big part of the 1 that responsibility?
presentation is stressing the importance of 2 A. At Saint 1 oseph's University,
bystander intervention, effective bystander 3 yes, without -- with some exception in terms
intervention as well as how to help friends l 4 of confidentiality

And again, the entire 5 Q. 1 guess I'm trying to get a
presentation is focused on not just sexual 6 sense for this particular designation
assault, but also dating violence and stalking 7 Is it used then for every
as well. So we speak with students about how 8 employee of the school is a responsible

to help a friend who may be in need in one of
these situations

Q. The language that says:
Believe! The most important thing to do is
believe a victim, do you believe that's
accurate?

A. In terms of the context With
providing information to students with how to
help their friends, yes,

Q. Do you believe it's important
also as it pertains to school administrators
and faculty?

A. No.

Q. What's a mandatory reporter?

A. Under Title IX there's a

requirement that individuals on campus report

Page 91
incidents relating to Title IX. Actually, 1f
1 could just correct you, it's responsible
employee actually. 1t's different from
mandatory reporter. 1 believe there's a
different definition for mandatory reporter.
That's not we refer to on Saint Joseph
University's campus So I was referring
responsible employee

Q. You've heard the term mandatory
reporter?

A. 1 have

Q. Do you know how it fits in or

what's the definition of it?
A. 1 don't know specifically
relating to that specific definition portion

Q. Are you a responsible reporter?

A. 1 am, I'm a responsible
employee

Q. Can you tell me a little more

about that, what that means?

A. 1'm responsible for reporting
if there are -- if any information comes to my
attention regarding Title IX.

Q. Doesn't every employee have

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employee and should be considered a
responsible employee with some limited
exceptions?

A. Yes, and there's information
about that this 1 know for sure in the Annual
Security Report and the policy, So you can
refer to that.

Q. And what are the students told,
if anything, about what a responsible employee
is?

A. Are you referring to this
PowerPoint presentation?

Q. Sure. During the PowerPoint
presentation is that subject addressed?

 

A. Can 1 take a minute and look?
Q. Of course

Page 93
A. So on slide 1049.

MR. PICCERILLI: That's SJU
Number 1049.

THE WITNESS: So on slide 1049
there are -- there's information about Options
and Procedures, and responsible employee is
referred to in Items A, C and D.

BY MR. MIRABELLA:

Q. And is the term defined on that
slide or no?
A. 1t is not. 1t refers to

details for each reporting option and it
refers to a website.

Q. As a responsible employee, are
you provided any specific training, or do you
sign a document or a contract confirming that
you're familiar with the process of being a
responsible employee?

A. 1 recall a training, an online
training that 1 participated in as an employee
of the University, 1 can't recall the
specifics around the information related to
responsible employee or if 1 had any sort of
electronic signature associated with that

24 (Pages 90 - 93)

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Case 2:18-cV-O2O44-PD Document 57-5 Filed 09/24/18 Page 26 of 73

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Page 94 Page 96

online training 1 MR. MIRABELLA: Correct.

Q. Who is currently the Director, 2 THE WITNESS: Not to my
if there is one, of the Rape Education and 3 knowledge
Prevention Program? 4 BY MR. MIRABELLA:

A. 1 don't know if it would -- 1 5 Q. Does Ms Berney‘s office
don't know if the official title is Director, 6 tabulate the data they receive from the
but there is an advisor of the Rape Education 7 surveys, do you know?
and Prevention Program, and that's Dr. Raquel 8 A. 1 do not know. But as far as 1
Bergen. 9 am concerned and what 1 do know, 1

Q. 1t's my understanding that 10 participated in one as an employee a year or
Katie Bean works in the Office of Outreach and ll so ago, and that was not out of Student
Support? 12 Outreach and Support.

A. Outreach and Support, yes 13 Q. The link on slide 1051,

Q. And then does she work with or 14 that's -- 1 guess is that just for taking a
under Marci Berney? 15 test to determine how much content the

A. Yes, she reports to Marci 16 participant retained?
Berney. Yes. 17 A. Yes, you'll see on slide

Q. And 1 know it's not your 18 SJU001010 there's a pre test and a post test.
office, but are you familiar with the Campus 19 So as soon as the students come to the session
Climate Survey? 20 they're asked to open their phones, take a

A. I'm familiar with the survey, 21 quick pre test and upon conclusion of the
yes 22 session take out their phones again and take a

Q. What is it a survey about? 23 post test.

A. 1 engage in the survey as a 24 Q. One of the slides references a

Page 95 Page 97

respondent in the survey. 1 had nothing to do 1 false reporting rate of eight percent for
with the design of the survey or 2 claims of sexual misconduct,
implementation of the survey, 3 MR. PICCERILLI: Do you want to

Q. Correct, but what were the 4 find the slide?
types of questions asked about on the survey? 5 MR. MIRABELLA: Sure.

A. 1 believe questions about, 1 6 THE WITNESS: 1031.
want to say general climate questions 7 MR. PICCERILLI: SJU 1031.

Q. Since 1 haven't the slightest 8 BY MR. MIRABELLA:
idea what that refers to, if you can just tell 9 Q. Do you know any of the sources
me 10 of information for that statistic?

A. 1t's pretty broad. 1t's 11 A. I'm sorry, can you --
related to feelings about your involvement in 12 Q. Sure. Do you know where that
decision making at the University, parking at 13 comes from? There's a FBI reference here, but
the University, diversity issues, inclusion 14 do you know anything about the Uniform Crime
and diversity issues on campus 15 Report or anything like that?

Q. Did it also have questions, if 16 A. Nothing beyond What's presented
you recall, in areas involving physical 17 here, no.
security or safety? 18 Q. Do you have a belief or

A. 1 don't recall. 19 understanding as to the frequency of false

Q. When did do -- are they done 20 reporting consistent or inconsistent with the
every year? 21 eight percent referenced here?

A. Not to my knowledge 22 A. Again, 1 would answer similar

MR. PICCERILLI: You mean are 23 to how 1 answered the other question This is

the surveys conducted every year? 24 research that 1 Would believe is sound

25 (Pages 94 - 97)

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Case 2:18-cV-O2O44-PD Document 57-5 Filed 09/24/18 Page 27 of 73

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Page 98 Page 100

research. 1 Q. Tell me a little bit about the

Q. And do you know when that 2 2017 grant application for the grant directed
research was done? 3 to the Office of Violence against Women and

A. 1 do not. 4 your role in putting together the

Q. ls there any talk during the 5 application
slideshow or orientation about students 6 A. So 1 was the lead author. l
reporting misconduct other than issues 7 worked with a small team to apply for the
involving harassment or sexual misconduct? 8 grant early January or early 2017. We

A. Yes, as 1 mentioned, it's also
regarding dating violence and stalking within
sexual misconduct, yes

Q. To your knowledge, as the
Assistant Vice President of Student Life, are
there any presentations given to the students
that talk about the need to report substance
abuse or excessive alcohol use, things of that
nature, which 1 believe falls outside of this
selection, well, generally speaking, it
doesn't involve sexual misconduct, outside of
the slideshow?

A. There is another session during
New Student Orientation dedicated to alcohol
and drug.

 

 

 

Q. And how is that session
Page 99
conducted, just briefly?
A. 1 did not present that session

this year. 1 don't recall if 1 presented it
last year as well.

Q. ls it done for all freshmen?

A. During New Student Orientation,
yes

Q. Do they use a slideshow?

A. 1 don't know specifically. 1

was not involved With that.
Q. Who was involved with that?

A. Katie Bean facilitated that
session
Q. And do you know one way or the

other if there's anything talked about during
that session regarding the responsibility to
intervene or to report as it pertains to other

students?
A. l do not know. |
Q. SJU has on it website a "You

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Are Not Alone" platform or section or dropdown_ 21

box or link. Do you have any familiarity with
that?

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applied, we were awarded the grant. We
received notification late September of 2017.
Q. When did you start working on
the grant application?
A. 1 can't recall the specific
date, but the solicitation for it comes out
maybe about six weeks or so before the
deadline

Q. And what do you mean by
solicitation?
A. When the Office on Violence

Against Women actually published that there
was going to be a grant and was accepting
applications and what the requirements were

Q. And do you know how many grants
there were?
Page 101
A. 1 do not know that offhand.
Q. Did you know if SJU applied for

that grant or a similar grant from the Office
of Violence Against Women before?

A. Yes, 1 was the lead author the
previous year applying for the same grant,
and we were not awarded it.

Q. And had you applied for it any
other years?
A. 1 did not, no.

Q. When you were speaking to other
members of the SJU community, how would you
describe the purpose of applying for the
grant, the reasons behind it?

A. When you say -- what do you
mean by -- you mean people at the University?

Q. Oh, not someone on your team,
but somebody who wants to know the process,
how would you explain Why you were working on
the grant application?

MR. PICCERILLI: Objection to
form.

THE WITNESS: Looking for
funding to support our effort related to

26 (Pages 98 - 101)

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Case 2:18-cV-O2O44-PD Document 57-5 Filed 09/24/18 Page 28 of 73

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Page 102 Page 104
sexual misconduct 1 Q. Do you know what changed --
BY MR. MIRABELLA: 2 strike that,
Q. This application was in 2017. 3 What was the primary difference
You described one in 2016 that did not result 4 between the 2016 and the 2017 application?
in a grant, Had you done an application 5 When 1 say primary difference,
before then? 6 if not primary, what ways were the
MR. PICCERILLI: For this 7 applications handled differently?
particular grant? 8 A. 1 don't remember all the
MR. MIRABELLA: Yes. 9 specifics l recall there being interest in
THE WITNESS: No. 10 having, and this was feedback from OVW, 1
BY MR. MIRABELLA: 11 believe, to secure an MOU, a Memorandum of
Q. Do you know if this particular 12 Understanding, with our local DA, District
grant was even available before then? 13 Attorney's Office. Also some formatting,
A. 1 do not know. 14 quite honestly, forrnatting of the application
Q. Had you applied for other 15 itself, being a bit more organized They were
similar grants before 2016? 16 two substantive changes that 1 recall from
A. No. 17 2016 to the 2017 application
Q. And when say for our work, in 18 Q. Did the 2016 application
terms of the purpose of applying for the 19 include both external and internal l\/lernorandtnnl
grant, can you be more specific? 20 of Understanding?
A. Primarily looking at prevention 21 A. Yes, that was a requirement.
and education related to sexual misconduct 22 Q. And so the addition of the
Q. 1 asked you some questions 23 Memorandum of Understanding from the DA's
earlier, 1 want to circle back, we might have 24 Office Was just one additional external
Page 103 Page 105
been talking about apples or oranges 1 Memorandum of Understanding?
So there was a grant 2 A. Correct.
application done in 2016 for funding in 3 Q. Who did the leg work in
connection with the prevention and education 4 connection with putting together of the
pertaining to sexual misconduct on campus; 5 Memorandum of Understanding?
correct? 6 MR. PICCERILle Objection to
A. Correct. 7 form.
Q. And the purpose of the 8 THE WITNESS: What do you mean
application was to obtain funding to increase 9 by leg work?
prevention and education on the campus? 10 BY MR. MIRABELLA:
A. l did not say increase 11 Q. Sure. Those Memorandum seemed
Q. Okay, I'm sorry. The purpose 12 to have been the result of meetings between
of the application was to secure funding? 13 SJU and groups on the SJU campus or outside
A. Correct. 14 the SJU campus about goals and campus safety.
Q. And the funding was expected to 15 Did any one person have
be used for activities related to the 16 responsibility for going forward with creating
prevention and education as pertaining to 17 and executing on the Memorandum of
sexual misconduct? 18 Understanding that you had in the grant
A. Correct. 19 application?
Q. And 1 go back to had there been 20 Q. 1 spearheaded much of the
increase in the reports, for instance, of 21 effort There were not significant meetings
sexual misconduct in 2014 or 2015 that played 22 for the most part, if at all. We had really
into the decision to seek the grant? 23 good relationships in place already with the
A. Not that 1 can recall, no. individuals that were listed on the MOU.

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27 (Pages 102 - 105)

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Case 2:18-cV-O2O44-PD Document 57-5 Filed 09/24/18 Page 29 of 73

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Page 106

Q. And Were those relationships in
place even going back to 2016?

A. What specific relations? There
were many relationships through those MOUs.

Q. Sure. 1 assume many of the
internal and external MOUs were used in 2016
and 201 7?

A. Yes.

Q. And so they had to be renewed
or they had to be updated, but they weren't

created from scratch?

A. Correct.

Q. And you mentioned external
memorandum with the DA's office that was used
in 2017?

A. Correct.

Q. By the way, was that Philly or
Montgomery County?

A. Philly.

Q. And when you say you

spearheaded any of the Memorandums, can you
tell me how you went about doing that?

A. Sure. When 1 was saying that
we had relationships in place it was even

Page 107
prior to the 2016 application So in many
ways this was forrnalizing our already existing
relationships with many of our internal and
external partners
ln most instances there were

individuals that 1 knew and had maybe even
previously worked with in some capacity. So
calls were made and we had a discussion around
the objective of the grant and whether or not
they would be willing to be a partner on
our -- what would be a newly created
coordinated community response team if we were
to receive the grant

Q. Were you a signatory to any of

the Memoranda?
A. Yes.
Q. Some, all, which one?
A. Definitely the internal. l

can't recall if l was the signatory on the
external or not.

Q. I'm going to hand you, but not
mark as an exhibit, SJU 1089 through 1174.
The top sheet of the document says Grant
Application Package. I'm going to ask you

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Page 108
some questions about it.

A. Okay.

Q. Aml correct this is a grant
application for the grant applied for in
connection with the Office of Violence Against
women that SJU was awarded?

A. Yes.

Q. 1 want you to take a minute to
look through it and l'm going to ask you some
questions about it

A. (Witness reviews document.)

Q. Have you had a chance to review
that?

A. Briefly, yes,

Q. Dr. White, my first question

is: ls this what appears to be the grant
application we were discussing?

A. The 2017 grant application
yes.

Q. Where, if you were asked, would
you say best captures the purpose of seeking
the grant in the application? ls it in the
grant application itself, is it in the
Memorandum of Understanding or is it in a

Page 109

number of different places?

A. 1 think it's the collective
application as a whole

Q. So let me direct your attention
to one of the Memorandums of Understanding
SJU1151. Are you with me?

A. Yes, 1 am.

Q. 1n the first paragraph about
halfway down it says: The MOU formalizes?

A. Yes.

Q. Can you read that into the
record so 1 can ask you some questions Just
read it right to the end of the paragraph

A. Okay: The MOA forrnalizes the
commitment of a task force to work together to
enhance victim safety, provides services for
victims, support efforts to hold offenders
accountable, improve lines of communication
streamline efforts and increase awareness
related to sexual assault, domestic violence,
dating violence and stalking (sexual
violence). All the partners have agreed that
by joining this MOU they will work in
coordination as well as individually to affirm

28 (Pages 106 - 109)

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Case 2:18-cV-O2O44-PD Document 57-5 Filed 09/24/18 Page 30 of 73

 

CONFIDENTIAL
Page 110 Page 112
1 that, one, sexual violence is a group of 1 A. No.
2 serious offenses that will not be tolerated, 2 Q. Do you believe that -- well, in
3 and two, holistic professional and 3 what respect would the grant money as is set
4 individualized services are available to 4 forth here through your lens be used to help
5 victims through a comprehensive coordinated 5 hold -- to support efforts to hold offenders
6 community approach. 6 accountable?
7 Q All right. So in the beginning 7 A. Again, 1 would point to Lines
8 of the sentence where it says: The MOA 8 of Communication, .6 here.
9 formalizes the commitment of a task force to 9 Q. Anything else come to mind?
10 Work together to enhance victim safety, 1 10 A. I'm just looking through here.
ll assume the term victim safety refers to ll No, not at this time
12 somebody who has already been victimized? 12 Q. So this was one of multiple --
13 A. Correct, different than a 13 am 1 correct that that's one of the multiple
14 Complainant going through the process in terms 14 Memorandums of Understanding that were used to
15 of-- yes, 15 support the grant?
_ 16 Q. l'm sorry, say that again 16 A. There were two MOAs used.
17 A. Different than how 1 Would 17 Q. One is internal and one is
18 define Complainant in terms of somebody going 18 external?
19 through the process who has been reported to 19 A. Correct.
20 have been involved in a Situation. 1 See the 20 Q. l misunderstood your earlier
' 21 distinction between those two terms. 21 answer, but there was also an external
22 Q. And What Would be an example of 22 Memorandum of Understanding in 2016, but the
23 a somebody who is a victim, but not going 23 Philadelphia DA was not a signatory; is that
24 through the process? 24 correct?
Page lll Page 113
1 A. From my lens in terms of my 1 A. Correct.
2 work with student conduct, the Complainant -- 2 Q. Did you believe as part of the
3 or the Respondent and Complainant is used 3 application process that there was a growing
4 because there'S not yet been a decision On 4 need on the SJU Campus to respond effectively
5 whether or not the individual is responsible 5 to claims of sexual assault?
6 for the conduct that's being alleged. 6 A. Can you repeat that
7 Q. Understood. The next clause is 7 Q. Sure. Did you believe as part
8 provides services for victims; correct? 8 of your application and part of preparing the
9 A. Yes. 9 MOUs that there was a growing need to respond
10 Q. And generally speaking, What is ' 10 effectively to claims of sexual assault on the
11 meant by that? 11 SJU campus?
12 A. Support services Yes, 1 would 12 A. No, l would not say that there
13 say support services. 13 was necessarily a growing need to do so.
14 Q. And then the next section: 14 Q. Were there monthly meetings
15 Support efforts to hold offenders 15 mandated under the Memorandum of Understanding
16 accountable Do you see that? 16 to respond effectively to claims of sexual
17 A. Yes. 17 assault?
18 Q. What is meant by that? 18 A. Are you referring to what was
19 A. So training in terms of the 19 submitted as part of the application or what
20 proCeSs, that kind of thing. 20 is in practice currently?
21 Q. As of February 23, 2017, do you 21 Q. Was part ofthe application 1
l 22 believe that the plan current plan in place 22 believe it's 1074. Well, actually it starts
23 to hold offenders accountable was inadequate 23 at 1089. Bear with me. 1 don't believe you
24 or was not functioning well? 24 have 1074 in front of you. 1t wasn't a trick

29 (Pages 110 -113)

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Case 2:18-cV-O2O44-PD Document 57-5 Filed 09/24/18 Page 31 of 73

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Page 114 Page 116

question 1 the purpose, one of the purposes of the grant

A. Oh, no, sorry, 1 was looking at 2 Was to form this.
1174. No, 1 do not. 3 So if 1 may just offer that the

Q. So I asked you a question and 4 application projected and assumed that certain
you asked me it clarify about existing policy 5 things may be part Of What the grant funding
for the grant application So 1'll give you 6 would go to, and then there was another
what's been marked as SJU 1074. You'll 7 process that took place in terms of finalizing
welcome to see what's before it or what's 8 that, finalizing a budget and that type of

alter it, and it talks about the Campus 9
Anti Violence Coalition and the Campus Anti 10
violence Task Force. 11

A. Thank you, 12
Q. And my question was about 13
monthly meetings and this was part of the 14
Memorandum of Understanding that was submitted 15

with the grant application 16

MR. PICCERILLI: Take a minute 17

to read it. 18

THE WITNESS: And this is not a 19

part of this? 20

BY MR. MIRABELLA: 21

Q. No, it is. lt is not part of 22

the pages that 1 handed you, but 1 believe 23

it's a Memorandum of Understanding that was 24
Page 115

part of the grant application 1

Doctor, what page do you have, 2

the separate page pulled out? 3

A. That's where 1 looking for this 4

context. lt seems like it is 1139. 5

Q. My first question is: Was that 6

something that was intended as information as 7

to what Saint Joe's was going to do with the 8

grant application funds or something that was 9

already in place, or neither? 10
A. Can 1 have a moment to look at 11
this? l 12
Q. Oh, yes 1 3
A. (Witness reviews document.) 14
Can you repeat the question 15

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Q. Oh, sure The monthly
meetings, was that already taking place or is
that something that SJU was making part of its
application as a new feature if it received

the grant? 20
A. So 1 think -- so the monthly 21
meetings were not taking place because the 22

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Campus Anti Violence Coalition was not
formulated yet in a formal capacity. That was

thing
So looking at this now from

where we are on this end of things l Will say
that some of this is different even including
the name of what we proposed as a coalition

Q. And as part of the grant
application has SJU affirmed that it Will
comply with certain Federal statutes including
Title IX and others?

A. Correct.

Q. Was it ever your expectation
that if SJU received the grant and implemented
the measures it described in the grant
application that there would be an increase in
the amount of reports of sexual misconduct?

A. 1 don't recall.

Q. 1 want to ask you some
questions about something that was published
in The Hawk attributed to Dr. Perry, not to
you. We'll mark this as Exhibit 2.

Page l 17

(Whereupon, Exhibit White-2 was marked
for identification.)
BY MR. MIRABELLA:

Q. Dr. White, what's The Hawk
Newspaper?

A. 1t's the student newspaper on
campus

Q. Andl apologize, the copying is
getting -- the Xerox is getting a little
thin Can you read the article written or see
the article written by Charley Rekstis
beginning on what's marked as page 2 of 9?

A. Yes, 1 cannot read the words
within the picture

Q. Neither can l. I'm not going
to ask you about the words in the picture

1t's an article talking about

the OVW grant we are discussing now; is that

30 (Pages 114 -117)

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Case 2:18-cV-O2O44-PD Document 57-5 Filed 09/24/18 Page 32 of 73

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CONFIDENTIAL
Page l 18 Page 120
correct? : l work is to prevent sexual misconduct from
A. Yes. 2 occurring at the campus
Q. ls the individual you 3 Do you agree with that?
identified earlier the Prevention Specialist 4 A. l don't know what she's
referred to by Dr. Perry in the last 5 referring to in terms of all of this work.
paragraph, first sentence? 6 Q. The talk is about the grant
MR. PICCERILLI: Are you on 7 funds and about how they will be utilized, l
Page 2 of 9? 8 believe
MR. MIRABELLA: Yes. 9 But do you agree that the goal
THE WITNESS: Yes. 10 of obtaining the grant funds was to enhance

BY MR. MIRABELLA:

Q. Who was that again?

A. Christopher Morrin.

Q. All right, I'm going to turn
your attention to the next page and ask you
some questions about the information reported
in the article

The first paragraph: The
university applied unsuccessfully for this
grant last year, that's correct?

A. Correct.

Q. lt says: However, on this
attempt they tried a different approach,
directly addressing issues of sexual assault

Page 119
on Saint Joe's campus
Do you know, number one, what's
meant by that and, number two, if that's
accurate?
A.
that,
Q. That deletes the question to
number two, okay.
Do you agree Dr. Perry quoted,
at least in the article: We applied for this
grant to support our efforts to keep our
students safe and to educate our community.
Do you agree with that as

l do not know what's meant by

motivation for applying for the grant?
A. Yes.
Q. And the article goes on to say

without quotes: The grant will be used to
educate students so they have a deeper
understanding and better opportunities for
raising awareness of sexual assault,

Do you agree with that as well?
A. That's part of it.
Q. Okay. And then Dr. Perry is

quoted again: The ultimate goal of all this

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the work of preventing sexual misconduct?
A. lt was to support our efforts,

as 1 mentioned before
Q. You have to finish the

sentence, support our efforts in?

A. Toward the work of sexual
misconduct, prevention and education on
campus

Q. And then Dr. Perry is quoted as

saying: Our expectation is that initially we
will have more reports of sexual misconduct
because students will be aware of what it is
and options they have for reporting

Do you agree with that?

Page 121
A. Where are you at? l'm sorry,
Q. Sure. l would say the fourth
paragraph, the last sentence
A. Okay.
Q. The last sentence of a quote
from -- another quote from Dr. Perry.

1 guess -- l'll read you the
whole quote: The more students understand
what it is, how it happens and how each of us
can play a part to prevent it, the safer our
campus will be

Do you agree with that?

A. Again, this is hard, this is
difficult for me because there are pronouns in
here, what it is, how it happens

Q. Sexual misconduct,

MR. PICCERILLI: Well, you're
asking her to assume what you have just
indicated what "it" was So l object to the
form of the question

MR. MIRABELLA: Sure.

BY MR. MIRABELLA:
Q. Reading from the paragraph
above it and the next paragraph starting

31 (Pages 118 -121)

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Case 2:18-cV-O2O44-PD Document 57-5 Filed 09/24/18 Page 33 of 73

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CONFIDENTIAL

Page 122
with: The ultimate goal, 1 can ask you the
same question and put it into context

A. And 1 question the first
sentence as well, to be honest, in terms of
all of this work. So it's hard to read into
somebody's quote when there's not very
descriptive language being used.

Q. Did you have any reason to
believe that there would be an increase in
reports of sexual misconduct after the grant
funds were obtained and efforts and measures
and education was put into place as described
in the grant?

A. Specifically because of the
grant, no, not necessarily.

Q. And then Dr. Perry is quoted

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again as saying: That approximately 700 women 17

at Saint Joe's will have been sexually
assaulted during their college career. She
only gets 10 to 15 reports a year.
ls that consistent with the
numbers you've seen with your involvement in
student discipline?
A. l don't feel like l could

Page 123
comment on that right now without having
information in front of me.

Q. And this article apparently was
done following a panel event involving l guess
Dr. Bergen who was at the time the Rape
Education and Prevention Program person and
Dr. Perry, and there are students listed as
well who 1 won't name

Were you involved in that
panel?
A. l don't believe so.
Q. And then there's reference to
something said by a student, who 1 won't name,

1'm going to ask you, she's quoted --

MR. PICCERILle What page are
you on?

MR. MIRABELLA: I'm sorry, Page
4 of 9, toward the top of the page
BY MR. MIRABELLA:

Q. The quote is: 1 think that a

lot of us think that sexual assault has to be
this really violent brutal crime to be called
sexual assault or to be called rape, but in
reality it's really just an unwanted sexual

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Page 124

act, it's not consensual.
Do you believe that's an
accurate description of sexual assault?
MR. PICCERILle Objection to
form.
THE WITNESS: Not in its
entirety, no.
BY MR. MIRABELLA:

Q. And what is it that's omitted
that it's not in its entirety?

A. 1 would refer to the policy
definition that we have that l don't have in
front of me right now.

Q. Do you know or do you recall,
did you have any part in the drafting of the
definition of sexual assault in the interim
policy or the SMP?

A. l don't recall.

(Whereupon, Exhibit White-3 was marked
for identification.)

BY MR. MIRABELLA:
Q. Dr. White, this is a

Page 125
compilation of some printouts that were
provided in discovery. There's 1331, 1332 and
then 1 guess flipped upside down is 1333 and
1334 and then 1361, l'm assuming 1362.
They're not stapled together with any
particular method in mind or order.

l'm going to ask some questions
about one of the printouts, and l guess that
would be the 1361 and 1362. That happens to
have been the most recent

1f you look on the second to
the next page, Doctor, on the side you can see
the Bates label number?

A. Yes, l have the right pages

Q. Are you familiar with this type
a report?

A. With this exact form, l do not
recall, no.

Q. Are you familiar enough to say
this appears to be something from the StarRez
system?

A. Yes.

Q. And it's difficult to read, but

on the first page at the bottom of the list it
32 (Pages 122 - 125)

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Case 2:18-cV-02044-PD Document 57-5 Filed 09/24/18 Page 34 of 73

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CONFIDENTIAL
Page 126 Page 128
Says Printed Saturday July 7, 2018, 7200 p.m. 1 are shared with the Title IX Coordinator and
by W Bordak? 2 for one reason or another are not shared with
A. Correct. 3 the Community Standards Office.
Q. Do you knOW if that means the 4 Q. Do you know what any of those
user ID to get into the system or the person 5 one reasons or another is?
who printed it was W Bordak? 6 A. There could be a non-student
A. 1 Can't Say that for Sure. 7 Respondent, for example.
Q. Have you ever printed a report 8 Q. Are there any other examples
Out? 9 that come to mind?
A. Yes. 10 A. Non -- well, similarly, I'm
Q. Does it show up -- does it have 11 thinking non-SJU affiliated Respondent and
any identifier 011 it to ShOW you're the One 12 faculty or staff member Respondent
that printed it? 13 Q. If` it's a SJU student
A. I don't know. : 14 Respondent, but occurs off campus, is that
Q. Do you have an understanding 15 always shared with Community Standards?
whether this constitutes all of the claims of 16 A. Yes.
sexual misconduct that were investigated 17 Q. Are all claims of sexual
and/or reported to the Office of Community 18 misconduct reported to the Office of Community
Standards? 19 Standards communicated to the Office of` Campus
MR. PICCERILLI: Objection to 20 Safety?
form. 21 A. Can you repeat that again?
THE WITNESS: l do not know, I 22 Q. Sure. Are all claims of sexual
don't know what went into the design of this 23 misconduct reported to the Office of Community
report 24 Standards reported to the Office of Campus
Page 127 Page 129
BY MR. MIRABELLA: 1 Safet --
Q. Does the Office of community 2 A. Public Safety.
Standards maintain records on claims of sexual 3 Q. Public Safety as well?
misconduct? 4 A. 1 believe so.
A. Yes. 5 Q. Are all claims of sexual
Q. Does any other office maintain 6 misconduct reported to the Office of Community
records on claims of sexual misconduct? 7 Standards that occurred on campus affiliated
A. I believe so. 8 events reported under the Clery Act?
Q. And the other office is the 9 A. Can you repeat that one more
Title IX Coordinator? 10 time?
A. That's the one that I'm 11 Q. Sure. Are a11 claims of sexual
thinking of, yes. 12 misconduct that are reported to the Office of
Q. Are you aware of any other 13 Community Standards reported under the Clery
office? 14 Act?
A. I'm not aware. 15 A. No.
Q. And what's your understanding 16 Q. Under what circumstances are
as to whether -- what records are kept in the 17 sexual misconduct claims not reported under
Title IX Office verses what records are kept 18 the Clery Act?
in the Community Standards Office or are they 19 A. So this is, you know, by
duplicative? 20 definition of the Clery Act, how the law is
A. I don't know that I know 21 defined. There are geographic locations, for
everything because I don't know what I don't 22 example, for which one would not be ,
know in terms of at least the Title IX. So I 23 reported -- would not be Clery reportable.
do understand that there may be reports that 24 Q. Are there any other

33 (Pages 126 - 129)

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Case 2:18-cV-02044-PD Document 57-5 Filed 09/24/18 Page 35 of 73

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CONFIDENTIAL
Page 130 Page 132

distinguishable factors other than the claim 1 misconduct occurs on campus, is it reportable
of sexual misconduct? 2 under the Clery Act?

A. Definition, the crime 3 A. If it occurs on campus you
definition. 4 said?

Q. And what do you mean by that? l 5 Q. Yes.

A. There are Clery crime 6 A. Yes, as defined by the Clery
definitions So the Clery Act defines which 7 Act definition on campus There are very
crime category under which definition and 8 specific Clery geography definitions

which locations are Clery reportable,

Q. And are the Clery crime
definitions of sexual assault different than
the Sexual Misconduct Policy definitions?

A. I would have to look at that to
see. I don't know if 1 know that offhand.

Q. What are the general categories

under Clery?
A. In terms of what?
Q. Claims for sexual misconduct.
A. Can you repeat that?
Q. Sure. I was going back to

something 1 thought you said in your answer,
which is Clery has its own definitions and
categories of sexual assault or sexual
misconduct; correct?

 

Page 131

A. 1 don't know if it's their own
definitions but they are defined under the
Clery Act. There are crimes defined within
the Clery Act, and so by virtue of them being
defined and by the location is what
constitutes something being Clery reportable
or not.

Q. Who at the University is :
responsible for determining whether something -
is reportable or not?

A. The Office of Public Safety.

Q. Do you ever get involved in
consulting or discussing when something is
reportable under the Clery Act with that
office?

A. No, I'm not a part of those
conversations

Q. Given the description that was
provided as to what's reportable, what are the
geographical limitations or considerations for
the Clery Act as pertaining to the school?

A. As it pertains to the school
specifically?

Q. Sure. So if a claim of sexual

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Q. And if it occurs off campus it
would depend on a particular definition of
that location as applied to the Clery Act?

A. Correct.

Q. ls it reasonable to conclude
that most years there's less Clery Act
reported sexual misconduct cases than there
are reported to the Office of Community
Standards?

A. Can you say that again?

Q. Sure. It seems to me that not
every case that's reported to Community
Standards is going to be reported under the
Clery Act; correct?

A. Correct, depending upon the
geography, the location, yes, in the category.

Page 133

Q. Are there any cases that are
reported under the Clery Act that would not be
reported to the Office of Community Standards
or the Title IX Coordinator Office?

A. I cannot speak for the Title IX
Coordinator's Office, but for the Office of
Community Standards it's the same as I just
mentioned, that we do not see all reports
related to Title IX. So Clery is bigger than
students

Q. Correct. But as to students,
anything that's reported under Clery should
either by part of the inventory of reports in
the Community Standards Office or the Title IX
Coordinator's Office?

A. I believe so.

MR. MIRABELLA: Let's take a
short break.

(Whereupon, a short break was taken at
this time.)

BY MR. MIRABELLA:
Q. Are you involved in the, if

34 (Pages 130 - 133)

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Case 2:18-cV-02044-PD Document 57-5 Filed 09/24/18 Page 36 of 73

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CONFIDENTIAL
Page 134 n Page 136
there is one, search for a new Title IX 1 Q. And what was the IT solution
Coordinator? 2 proposed?
A. Not that I'm aware of, no. 3 A. lt was an additional module
Q. Have you had any other 4 added to StarRez.
interactions With Elizabeth Malloy other than 5 Q. And the module would enable the
what you already described? 6 school to provide -- input additional
A. No. 7 information or track additional information or
Q. How often are the grant 8 something else?
payments made? 9 A. l can't say exactly what it
A. What do you mean? 10 would do different than what is being done now
Q. Sure. lt's a $300,000 grant; 11 because l don't manage those records
correct? 12 currently.
A. Yes. 13 Q. And do you know what the school
Q. And l believe it's for three 14 is required to do to show whether it's making
years? 15 progress on either grant or with the grant
A. Yes. 16 fund?
Q. Does that SJU receive money 17 A. I don't know specifically.
annually, biannually or something else? 18 Q. And would that be Ms. Berney?
A. l do not know, We work with 19 A. Yes.
our Office of Research Services and they 20 Q. You're not a Deputy Title IX
manage, I believe, most of the physical end of 21 Coordinator, are you?
the budget. 22 A. I am not.
Q. As l asked you earlier, you 23 Q. Are there any penalties if the
don't prepare the progress reports for the 24 school fails -- are you aware of any
Page 135 Page 137
grant, that's done by Ms. Berney? 1 penalties, not just at SJU, anywhere, if an
A. Yes. 2 institution does not report under Clery?
Q. Have you reviewed progress 3 A. Of any institution, yes. The
reports that she submitted? 4 Department of Ed enforces the Clery Act.
A. l was asked to secure it 5 Q. And do you know what its
yesterday. That's the first time l saw it. 6 enforcement tools are?
Q. Since receiving the grant, are 7 A. I do not know specifically.
you aware of any changes at SJU in terms of 8 Q. Who, if anyone, was involved in
the Sexual Misconduct Policy in terms of its 9 familiarizing Ms. Malloy about the school's
education, orientation programs or anything 10 Sexual Misconduct Policy?
done that's been a departure from what the 11 A. l don't know ifl have that
practice has been in the past? 12 information
A. No. 13 Q. Did you do it?
Q. What was the purpose of the 14 A. l can't recall if there were
$30,000 State grant? 15 any conversations that l was a part of for
A. I was not the lead author on 16 that,
that, although l did work with Dr. Perry on 17 Q. Your recollection when she
it. We, again, looked to secure funding to 18 spoke about the investigation, was it about
support our efforts around education, 19 the investigator model, at a committee
prevention, education and an lT solution. 20 meeting?
Q. And does that pertain to claims 21 MR. PICCERILLI: Objection to
of sexual misconduct or campus safety or 22 forrn.
something else? 23 THE WITNESS: The committee
A. Sexual misconduct, yes, 24 meeting pertaining to the policy?

35 (Pages 134 - 137)

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Case 2:18-cV-02044-PD Document 57-5 Filed 09/24/18 Page 37 of 73

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CONFIDENTIAL
Page 138 Page 140
BY MIRABELLA: 1 Colleague. Do you know that Dear Colleague is;
Q. Yes. 2 meant to refer to educators?
A. I'm sorry, can you repeat? 3 A. No, l do not know that.
What's your question again? 4 Q. Did you receive a copy of the
Q. Sure. What did Ms. Malloy 5 letter?
speak about? 6 A. I don't know how l received it,
A. l can't recall specifically 7 but I recall reading it.
what it was about. 8 Q. Somehow it got to your desk?
Q. Did Ms. Malloy provide any 9 A. Yes.
handouts or literature? 10 Q. So you may have been one of the
A. I don't recall. 11 colleagues or it may have sent to somebody
Q. l asked some questions earlier 12 else, but it was a letter published by the
about the Q&A and the Dear Colleague Letters 13 Department of Education; correct?
You're familiar with those as l believe you 14 A. Yes.
referred to them as subregulatory; is that 15 Q. And it's the Office for Civil
correct? 16 Rights; correct?
A. Yes. 17 A. Yes.
Q. Okay. Did you have -- 18 Q. And it starts with talking
MR. PICCERILLI: l think her 19 about prior letters and guidance that were
testimony was subregulatory guidance 20 being withdrawn Do you see that?
THE WITNESS: Yes. 21 A. Yes.
MR. MIRABELLA: Okay. I'm sure 22 Q. So I'm going to ask you some
that's correct. 23 questions If you need to read the particular
Can we mark the Dear Colleague 24 passage just let me know.
Page 139 Page 141
Letter and the Q&A of September 2017 1 A. Okay.
collectively as 4. 2 Q. At the beginning of the letter
- - - 3 it talks about Dear Colleague Letters
(Whereupon, Exhibit White-4 was marked 4 previously issued in 201 l and the Q&A issued
for identification.) 5 in 2014,
- - - 6 Am l arn correct early on you
BY MR. MIRABELLA: 7 testified that some of those things, these
Q. Have you had a chance to take a 8 documents, or those referred to, were
quick look at them? 9 something the school looked at and considered
A. Quick look. 10 as part of the process of changing its policy
Q. Have you seen them before? 11 for the investigation and adjudication of
A. Yes. 12 sexual misconduct?
Q. For somebody not involved in 13 A. In 2015? Published in 2015,
higher education, can you describe what is a 14 yes.
Dear Colleague Letter from the Department of 15 Q. And this letter of September
Education, Office for Civil Rights? 16 22, 2017 was sent out from the Department of
A. l don't know if I can describe 17 Education specifically advising schools that
that exactly. l don't know that l know the 18 those particular pieces of guidance were being
best way to define that, lt's a governmental 19 withdrawn; correct?
document. 20 A. That's what it states, yes.
Q. Sure. lt's a letter from the 21 Q. Did you understand it to mean
Department of Education; correct? 22 anything different than that?
A. Yes. 23 A. l read it for what it is at
Q. And it's addressed Dear 24 face value. I'm reading what you're reading

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36 (Pages 138 -141)

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Case 2:18-cV-02044-PD Document 57-5 Filed 09/24/18 Page 38 of 73

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Page 142
in terms of what it says the purpose is, yes,

Q. And the letter goes on to
describe, at least in part, the thinking or
reasoning behind why those two pieces of
guidance were withdrawn; correct?

MR. PICCERILLI: You can take a
moment.

THE WITNESS: I may want to
read that, (Witness reviews document.)
Repeat the question, please.

BY MR. MIRABELLA:

Q. Does the letter address the
reason for withdrawing the guidance?

A. l read that it's stating what
the 2011 Dear Colleague Letter did --

Q. So if you want l can ask it
another way. Do you want me to rephrase the
question?

A. Please.

Q. All right. At the bottom of
the letter the Department of Education states
that: The 2011 and 2014 guidance documents
may have been well-intentioned, but those

Page 143

rights for many students, both accused
students denied fair process and victims
denied an adequate resolution
Do you see where l read that?
A. Yes.
Q. Do you agree with that?
A. My lens is coming out from

Saint Joseph's University's policy and process
that we instituted, and l do believe that
process is fair.

Q. And the process that you
instituted that we talked about earlier are
which the Respondent is not provided access or
an opportunity to review the evidence or
records in an investigation against him until
after there's been a finding; am l correct?

MR. PICCERILLI: Objection to
form.

THE WITNESS: So this is an
ongoing collection and iterative process of
the investigation
BY MR. MIRABELLA:

Q. Well, to your knowledge, is the
outside investigator required by policy or

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Page 144
practice to provide to the Respondent the
evidence, the statements in the investigation
of an alleged misconduct against him prior to
her interviewing or him interviewing the
Respondent?

A. lt's my understanding that the
information is thorough in what is provided to
the parties involved during that
investigation That's the expectation of my
understanding that that is happening during
the investigation

Q. What do you define as thorough?

A. The investigator is the one who
has that information and is evaluating,
synthesizing, collecting that information

Q. And what's your understanding
in this case of what information was provided
to the Respondent prior to meeting with the
investigator?

A. Prior to meeting with the |
investigator was the Letter.

Q. The Notice of Process Letter?

A. The Notice Letter as well as a
pre-investigation meeting.

 

 

Page 145

Q. Correct. Those are the two
documents provided in writing to the
Respondent prior to meeting the investigator;
correct?

A. Yes.

Q. And the Notice of Process
Letter has the date, time and the identity of l
the Complainant; correct? l

A. I would have to see that.

Q. Can you accept my
representation that that information is in the
Notice of Process Letter?

A. l believe that it is

Q. And it also indicates that
there's an alleged violation of the Sexual
Misconduct Policy and it lists all six
categories?

A. Again, l would need to see the
letter to be able to answer that.

Q. So those two letters, the
Notice of Process and Pre-investigation
Checklist, have been produced, identified.

Are there any other documents

or any other information provided in writing

37 (Pages 142 - 145)

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Case 2:18-cV-02044-PD Document 57-5 Filed 09/24/18 Page 39 of 73

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CONFIDENTIAL
Page 146 Page 148

to the Respondent prior to meeting with the 1 Letter. lt's also the investigation itself.
investigator? 2 Q. So l want to isolate that, l

A. Are you talking about in 3 want to talk about what information is
general or in this particular case? 4 provided either directly to the Respondent or

Q. That the school expects as part 5 that the Respondent is provided access to
of its disciplinary program for a fair and 6 prior to the first meeting with the
equitable investigation? 7 investigator.

A. Typically there is some sort of 8 A. Right.
communication in terms of resources and 9 MR. PICCERILLI: Objection;

support made available to the students
involved in the process as well.

Q. Anything else about the actual
allegations against the Respondent?

A. Not to my knowledge, no.

Q. And is it your expectation that
at the time of the meeting with the
investigator the Respondent is shown either
the Incident Report or the written complaint
as asserted against them?

A. No. It's my expectation that
the investigator is proceeding in a thorough
way throughout that investigation,

Q. Thorough for who, the school or
the Respondent?

Page 147

A. Thorough in terms of the
process and the expectation set forth.

Q. Does thorough include
disclosing the actual allegation against the
Respondent prior to the interview by your
definition?

A. That is the information that is
included in the Notice Letter.

Q. And that, in your opinion, is
adequate for an equitable investigation;
correct?

A. I did not say that.

Q. Well, is it or is it not?

A. Can you repeat the question?

Q. Sure. ln your opinion, is the
information provided to the Respondent in the
Notice Letter adequate for an equitable
investigation if that's all that's provided to
him or her prior to meeting with the
investigator?

A. There's more to the
investigation than just that Notice Letter.
So in terms of what's an equitable
investigation is it's more than the Notice

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asked and answered.
BY MR. MIRABELLA:

Q. So is there any other written
information that's provided other than the
Checklist and the Notice Letter?

A. As I said, there may be some
communication lt could be in the form of
various support and resources as well.

Q. But nothing further in writing
about the allegations against the Respondent?

A. Correct.

Q. Not a copy of the Incident
Report; correct?

A. Correct.

Q. Not a copy of the

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Page 149
investigator's report; correct?

MR. PICCERILLI: Objection. Go
ahead, you can answer.

THE WITNESS: Some of that
didn't exist yet.
BY MR. MIRABELLA:

Q. Not a copy of the report taken
by the Title lX Coordinator, first report;
correct?

A. Correct.

Q. And the identification of the
violations refers to the entire section of the
Sexual Misconduct Policy, not the specific
provisions in question; correct?

A. l'd like to see the letter to
be able to answer.

Q. All right, Dr. White, it might
be easier I think for some of these questions,
l'm going to give you SJU 331, the last page
is 730. The reason I'm doing it in this
fashion is the top of it has an lndex prepared
l believe by Mr. Bordak of the Incident
documents I think it will allow you to get
in and out of some of these.

38 (Pages 146 - 149)

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Case 2:18-cV-02044-PD Document 57-5 Filed 09/24/18 Page 40 of 73

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CONFIDENTIAL
Page 150 Page 152
A. Thank you, 1 Sexual Misconduct Policy it identifies the

MR. PICCERILLI: So those 2 entire policy; correct?
numbers were 331 to 730, John? 3 A. Correct.

MR. MIRABELLA: Correct. The 4 Q. lt doesn't say it's retaliation
entire rubberbanded set of records is 331 to l 5 or discrimination or harassment, it just says
741. l don't think we're going to get 6 the whole policy?
much -- well, we'll see. But in any event, 7 A. Correct.
the cover sheet is the documents Re: 8 Q. All right, The other piece of
Incident Occurrence February 23rd. 9 information that's provided to the Respondent
BY MR. MIRABELLA: 10 is the Checklist that's given to the

Q. We're talking about the
information -- about the allegations of
misconduct that's provided in the Notice of
Process Letter to the Respondent, what is or
isn't included in that letter.

Dr. White, l believe there's a
hand numbering system at the bottom as well

that follows the Cover Sheet.
A. Yes, thank you,
Q. Okay, I have it.
Q. So take a moment to review

that, but also state on the record what page
you're looking at.
A. 000439.

Page 151
MR. PICCERILLI: SJU.
THE WITNESS: Yes.

BY MR. MIRABELLA:

Q. All right, Do you have in
front of you what I've been referring to as
the Notice of Process Letter?

A. Yes.

Q. l was asking you some questions
about what information is set forth in the
letter; correct?

A. Yes.

Q. Okay. As to the allegations
against the Respondent, am I correct that the
only factual information is the name of the
Complainant, the date of the event and the
location of the event?

A. Yes, that information is
contained within the letter. Yes.

Q. And there are no further
details as to the specific facts or
allegations against the Respondent other than
it implicates the Sexual Misconduct Policy?

A. Correct.

Q. And as to the provisions of the

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Respondent either prior to or at the
pre-investigation meeting; correct?

A. Yes, that's correct.

Q. And you're welcome to review
it, but would you agree with me that there's
no additional information set forth on the
Checklist as to the specific provisions of the
Sexual Misconduct Policy that may or may not
have been violated and as to the factual
allegations of the complaint?

A. Correct.

Q. And is it the policy of Saint
Joseph's University that that is adequate
information about the complaint to be provided

Page 153
to the Respondent prior to meeting with the
investigator?

A. Yes, because at that time we
may not have all the information which is the
investigation is for.

Q. ls the policy of Saint Joe's
University that the investigator will show to
the Respondent the actual allegations that
were provided in writing as part of the
investigation file when she meets with the
Respondent?

A. I'm not aware of the mode of
sharing information, but the expectation is
that it is thorough in terms of information
that is shared.

Q. Okay. And to be thorough, that
would be adequate information to inform the
Respondent as to the actual -- as to the
allegations of misconduct asserted against

them?

MR. PICCERILLI: Objection to
form.

THE WITNESS: Can you repeat
that?

39 (Pages 150 - 153)

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Case 2:18-cV-02044-PD Document 57-5 Filed 09/24/18 Page 41 of 73

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investigator to share about the allegations at
any point in the process before finding
responsibility?

A. I don't know that l can speak
to the specifics of that for this instance,

Q. Well, what you would have
expected or what the investigator actually
shared? Strike that.

I'm trying to get a better
understanding of your answer that you would
expect the investigator to be thorough in
sharing information about the allegations with
the Respondent, is what that means, right?

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22 A. Right.
23 Q. All right. ls the appeal part
24 of that document set that Mr. Bordak put

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CONFIDENTIAL
Page 154 Page 156
1 BY MR. MIRABELLA: 1 together? Let me just find it.
2 Q. What do you mean by thorough in 2 l direct your attention to the
3 terms of what's shared with the Respondent? 3 Appeal Packet.
4 A. I shared already, collection of 4 MR. PICCERILLI: Do you have a
5 inforrnation, synthesizing that inforrnation, 5 page number for us, John?
6 evaluating that information in terms of-- now 6 MR. MIRABELLA: Yes, I think
7 you're asking for my definition of thorough. 7 it's 5 89.
8 Q. Only as it pertains to what the 8 THE WITNESS: Okay, thank you.
9 school expects the investigator to disclose to 9 BY MR. MIRABELLA:
10 the Respondent prior to conducting the 10 Q. This is the appeal submitted by
11 interview. 11 Elizabeth Malloy; correct?
12 A. Again, the interview and 12 A. Yes.
13 investigation is an ongoing process where that 13 Q. And what we're trying to drill
14 information is still being collected. 14 down to the bottom of is what constitutes a
15 Q. l understand that, but there is 15 thorough sharing of information with the
16 an Incident Report by the time of the meeting 16 Respondent. And l asked to direct your
17 with the investigator; correct? 17 attention to this letter.
18 A. There's usually some report. l 18 Does Ms. Malloy address in this
19 don't know exactly if it's called an Incident 19 letter the extent of the information she
20 Report, depending on what the source of the 20 shared with the Respondent?
21 information is 21 A. The second paragraph mentions
22 Q. At minimum there's an initial 22 what Ms. Malloy informed the Complainant and
23 complaint; correct? 23 Respondent of,
24 A. Yes. 24 Q. Can you read that into the
Page 155 Page 157
1 Q. ln that event, those documents 1 record,
2 are not shared, they're not expected by the 2 A. Sure: I clearly informed Mr.
3 school to be shared with the Respondent prior 3 Redacted and MS. Redacted, allegation was that
4 to meeting with the investigator? 4 he squeezed her neck and that she did not
5 A. Correct, to preserve the 5 consent to that, although she consented to the
6 integrity of that investigation 6 kissing.
7 Q. And in this instance, what 7 Q. And my question to you is: ls
8 information would you have expected the 8 that a thorough sharing of the information

with the Respondent based on your definition
of thorough?
A. l would not assume that this
was the only information that Ms. Malloy
shared is one sentence.
Q. What would you assume?
MR. PICCERILLI: Objection.
You're asking for a guess
MR. MIRABELLA: She can still
answer.
MR. PICCERILLI: No, she can't
answer. You're asking for a guess
MR. MIRABELLA: 1t's not a
guess, actually. She's very familiar with the
process She reads these documents all the
time.

40 (Pages 154 - 157)

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Case 2:18-cV-02044-PD Document 57-5 Filed 09/24/18 Page 42 of 73

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CONFIDENTIAL
Page 158 Page 160
BY MR. MIRABELLA: l Respondent not understanding the allegations
Q. Would it be your assumption 2 against him?

that more information than that was shared 3 A. l did not say that.
with the Respondent? 4 Q. But is that a possibility?

MR. MIRABELLA: Objection to 5 MR. PICCERILle Objection.
form. You can still answer. 6 BY MR. MIRABELLA:

THE WITNESS: That's the 7 Q. Either this case -- what's the
investigator process I'm not familiar with 8 benefit? Why is the integrity of the

what Liz did with the students throughout the
investigation
BY MR. MIRABELLA:

Q. My question to you is: lf
that's the only information supplied, would
that be adequate to be a thorough
investigation?

A. I don't know the circumstances
all the circumstances of the incident to
determine -- to be the one to determine if
that was thorough or not.

Q. When you handled the appeal,

did you read through the appeal replies?

A. What do you mean by appeal
replies?

Q. The documents collected in

Page 159

response to the appeal filed by the
Respondent?

A. Yes.

Q. So at some point in time you

read through all these?

A. All of these what?

Q. All of these replies to the
appeal filed by the Respondent?

A. Yes.

Q. So your answer today is you
still don't know if that's a thorough sharing
of the information to Respondent?

MR. PICCERILLI: Objection.
She didn't testify about that.

THE WITNESS: l was not
involved -- l do not have particulars of the
incident in terms of what was happening
throughout the investigation or what was being
shared throughout the investigation

Additionally, the preservation
of the integrity of that investigation is
something that is also important
BY MR. MIRABELLA:

Q. At the expense of the

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investigation so important?

A. We realize that we may not
institutionally have all the information on
the onset of the complaint.

Q. lsn't the integrity of the
investigation supposed to be to ensure or help
improve the chances that the investigation
will result in accurate findings and outcomes?

A. And fair process l would add.

Q. So in this case, do you believe l
the process that was afforded was fair and l
equitable? l

A. l do.

Q. So Roe made the complaint to

the Title IX Officer, so she knew what the
allegations were in her Complaint; correct?

Page 161

A. I'm sorry, can you repeat that?

Q. Row gave a statement to the
Title IX Officer, so Roe knew what the
allegations were that she stated to the Title
lX Officer; correct?

A. l don't know what she stated to
the Title lX Officer.

Q. Can you agree with me that if
she gave a statement to the Title IX Officer
she knows what she said in the statement?

A. Who is she?

Q. Roe. If Roe gives a complaint
to the Title IX Officer about an incident, she
at least knows what she told the Title IX
Officer about the incident; correct?

A. l would have to assume that.

Q. And Doe is never shared that
information prior to the outcome?

MR. PICCERILLI: Objection.
BY MR. MIRABELLA:

Q. ln this case and generally;
correct?

MR. PICCERILLI: Objection.
That was not her testimony.

41 (Pages 158 -161)

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Case 2:18-cV-02044-PD Document 57-5 Filed 09/24/18 Page 43 of 73

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CONFIDENTIAL
Page 162 Page 164
BY MR. MIRABELLA: 1 photographs to the investigator, are those
Q. I'll tell you that in this case 2 shown to the Respondent prior to the meeting?

Doe was not shared access to or shown that - 3 A. Again, l answered what is shown
statement So Roe knew what she said, Doe did 4 to the Respondent prior to the investigation
not know what she said. Can you agree with me 5 Q. So the statement of the
about that aspect of it? 6 Complainant and any evidence provided by the

MR. PICCERILLI: Objection. 7 Complainant is not provided to the Respondent
You're asking her to accept your assumption or 8 prior to meeting with the investigator;

your representation, which she does not have
to at this deposition
MR. MIRABELLA: Actually, she
can answer the question, agree or disagree.
Strike the question and answer.
BY MR. MIRABELLA:
Q. I'm trying to go through what's
an equitable investigation And we're
starting with the initial complaint which is
provided by the Complainant and not given to
the Respondent Would you agree with that?
MR. PICCERILLI: What's the
question?
BY MR. PICCERILLI:
Q. Can we agree that the initial
complaint as a general -- as the practice, as

Page 163

a general matter is provided by the Respondent
is not disclosed to the Complainant prior to
the meeting with the investigator?

A. l think you have that backward,
the Respondent and the Complainant

Q. I'm sorry, The Complainant
gives the initial complaint, she is then known
to the complaint, but it's not shared With the
Respondent prior to the meeting with the
investigator. Can you agree with that?

A. The information that is shared
with the Respondent would have been enclosed
within the Notice Letter as well as the
Pre-investigation Checklist prior to meeting
with the investigator. That is the
information that was shared,

Q. The only information So that
he doesn't have access to the complaint;
correct?

MR. PICCERILLI: Objection to

the form of the question Objection; asked
and answered a thousand times at this point.
BY MR. MIRABELLA:

Q. lf the Complainant provides

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correct?

MR. PICCERILLI: Objection;
asked and answered.
BY MR. MIRABELLA:

Q. Am l correct?

MR. PICCERILLI: You can
answer.

THE WITNESS: Yes, the same as
what l said. Yes.
BY MR. MIMBELLA:

Q. And it's your position that
constitutes -- as part of that process
constitutes an equitable investigation?

A. As I mentioned before,
equitable in terms of the entire --

equitability to me is considered within the

Page 165
entire process
Q. All right, So let's turn to
the Q&A, September of 2017, specifically What
constitutes an "equitable" investigation?
lt's in the Q&A and it's part of Exhibit 4.
l direct your attention to Page
3, Question 6. Do you see the question?
A. l do, yes
Q. So it's framed -- this is a
Q&A, lt's framed as part of the guidance
issued by the Department of Education; Quote,
What constitutes an "equitable"
investigation? And then the answer starts on
Page 4. This is the Page 4 to Question number
6. Are you with me so far?
A. Yes, I am.
Q. Okay. Paragraph 4, and your
attorney is free to ask you questions about
any other part of this, but I'm trying to save
time and talk about the issues in this case,
ln the beginning, the first
sentence in Paragraph 4, it talks about What a
school should provide to a responding party.
Do you see that, the first

42 (Pages 162 - 165)

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Case 2:18-cV-02044-PD Document 57-5 Filed 09/24/18 Page 44 of 73

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CONFIDENTIAL
Page 166 ' Page 168
sentence? 1 that.
MR. PICCERILLI: The first 2 Q. But it's called a policy, not a
sentence of which paragraph? I'm sorry. 3 code?
MR. MIRABELLA: Paragraph 4, 4 A. Correct.
Page 4, Answer to Question. 5 MR. PICCERILLI: Objection;
THE WITNESS: Paragraph 4, Page 6 you're argumentative
4, okay. 7 BY MR. MIRABELLA:
BY MR. MIRABELLA: 8 Q. So the policy covers six
Q. lt says: Once it decides to 9 different types of sexual misconduct, doesn't
open an investigation that may lead to l 10 it?
disciplinary action against the responding _ 11 A. l would have to look at it
party, a school should provide written notice ' 12 offhand to know the specific number.
to the responding party of the allegations 13 Q. 1t's 53 pages roughly in
constituting a potential violation of the 14 length.
school's Sexual Misconduct Policy, including 15 MR. MIRABELLA: For the record,
sufficient details and with sufficient time to 16 that's 1175 through 1226.
prepare a response before any initial 17 MR. PICCERILLI: SJU as the
interview. Sufficient details include the 18 prefix.
identities of parties involved, the specific 19 BY MR. MIRABELLA:
section of the code of conduct allegedly 20 Q. So is that the Sexual
violated, the precise conduct allegedly 21 Misconduct Policy?
constituting the potential violation, and the 22 A. Yes.
date and location of the incident, 23 Q. And that's what's provided in
My question to you is: ln this l 24 the Notice of Process Letter to the
Page 167 Page 169
case was Doe provided the details, sufficient l Respondent?
details of the specific section of the code, 2 A. I believe so, yes
the precise conduct allegedly constituting the 3 Q. Does that include the six
potential violation? 4 different categories of sexual misconduct?
A. The specific section of the 5 A. Yes.
code, yes, we have an entire Community 6 Q. All right, But the Respondent
Standards code of conduct So the specific 7 is not told which category is at issue or
section of the code. 8 categories, simply told the policy at issue?
Q. My question was -- 9 A. When are you talking about?
MR. PICCERILLI: She's not 10 Q. In the Notice of Process
finished her answer. ll Letter.
MR. MIRABELLA: Oh, sure. 12 A. Correct.
MR. PICCERILLI: Go ahead, 13 Q. And is it your opinion that
finish your answer. 14 that is sufficient, that is the specific
THE WITNESS: The identities of 15 section of the code of conduct allegedly
the parties involved, yes The date and 16 violated such as to comply with the guidance
location of the alleged incident, yes as well. 17 issued by the Office for Civil Rights of the
BY MR. MIRABELLA: 18 Department of Education in 2017?
Q. You said the specific section 19 MR. PICCERILLI: Objection to
of the code. The code is referred to as a 20 form. You can answer.
Sexual Misconduct Policy, isn't it? 21 THE WITNESS: It's much more
A. Correct, but we have a much 22 precise than just general violation of the
larger student code of conduct in which the 23 Community Standards of the University.
24 BY MR. MIRABELLA:

Sexual Misconduct Policy is embedded within

43 (Pages 166 - 169)

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Case 2:18-cV-02044-PD Document 57-5 Filed 09/24/18 Page 45 of 73

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CONFIDENTIAL

Q. Well, l mean, it's much more l
precise than saying it's a general violation
than saying it's a violation of sexual
misconduct; correct?

A. Correct.

Q. lt doesn't say what kind of
sexual misconduct?

A. Correct.

Q. The section of the code or the
policy, however you want to describe it, is
over 54 pages in length; correct?

A. Yes. |

Q. And the specific factual
allegations of the alleged conduct which
constitutes the violation are not set forth in
the Notice Letter. So how is the student to |
determine what section applies to him in the
Sexual Misconduct Policy as a Respondent?

MR. PICCERILLI: Can l hear the

question back.

(Whereupon, the court reporter back the
pertinent information.)

Page 171
THE WITNESS: Again, this is a

part of the investigation and the conversation
that happens within the investigation
BY MR. MIRABELLA:

Q. l don't understand that answer.

A. That inforrnation, more
specificity is provided throughout the

investigation
Q. By who? '
A. The investigator. .

Q. ls it supposed to be provided
by anyone else or is it just the investigator?

A. Again, we wouldn't share that
information up front to preserve the integrity
of the investigation

Q. We being SJU. So SJU relies on
the investigator to disclose the information
as to the specific allegations?

A. So let me clarify, we being the
Office of Community Standards

Q. So he or she does not share the
information with the Respondent before he or
she meets with an investigator?

A. For the student process, for

Page l 70

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Page 172
the student responding process, no.

Q. Going on in the same paragraph
in the Q&A: Each party should receive written
notice in advance of any interview or hearing
with sufficient time to prepare for meaningful
participation

We've already identified what
is written in the Notice. Did that happen in
this case?
MR. PICCERILLI: Objection to

forrn.
BY MR. MIRABELLA:

Q. You can answer.

A. I'm just reading above where it
references written notice.

Q. Sure.

A. Again, I believe I just
answered this The written notice is our
Notice Letter that we refer to.

Q. And you believe that that's
adequate information for the Respondent for an
equitable investigation; correct?

A. l did not say that. Again, l
think there's more to equitable than just this

Page 173
notice piece. lt's the entire process, and
the investigation is another opportunity
because it is an ongoing process, that some of
that information may be shared during the
investigation

Q. Now, that sentence goes on to
state: The written notice should be shared in
advance of any interview or hearing with
sufficient time to prepare for meaningful
participation

ln this case nothing was shared
about specific factual allegations prior to
meeting with the investigator; correct?
MR. PICCERILLI: Objection.
That's not her testimony.
BY MR. MIRABELLA:

Q. What's your understanding of
what that means? ls it your position that SJU
complies with it?

A. Yes, l shared that the written
notice does provide information Our Notice
Letter provides information regarding the
violation of the policy, the specific
violation of student code of conduct, date and

44 (Pages 170 - 173)

Veritext Legal Solutions
215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830

Case 2:18-cV-02044-PD Document 57-5 Filed 09/24/18 Page 46 of 73

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CONFIDENTIAL

Page 174

location and name of the Complainant

Q. Okay. The last sentence of the
paragraph talks about, quote: The reporting
and responding parties and appropriate
officials must have timely and equal access to
any information and equal access to any
information that will be used during informal
and formal disciplinary meetings and hearings

ln this case do you believe
that the Respondent and the complaining party
had timely and equal access to the information
that was used in formal and informal
disciplinary meetings and hearings?

A. l can speak to what l was
directly involved with with the appeal
process, and yes, l can confirm that that is
true.

Q. l didn't understand as part of
the appeal is concemed.

A. That's where l had direct
involvement with the process, so in terms of
having timely and equal access to information

Q. And we've been through, and we
can go back through it, the Complainant knows

 

Page 175

what the Complainant said to the Title IX
Officer when the complaint was made, so she
has access to that inforrnation, but the
Respondent does not?
MR. PICCERILLI: Objection;

asked and answered
BY MR. MIRABELLA:

Q. Am l correct?

A. l do not know specifically the

mode of relaying information that is happening
throughout the investigation So I cannot say
the Respondent did not have information that
the Complainant had.

Q. Do any --

MS. SCHIMELFENIG: l would like

to take a break, please, to talk with Al.

(Whereupon, a discussion was held off
the record.)
MR. MIRABELLA:

Q. The next page of the Q&A,
Question, What procedures should a school
follow to adjudicate a finding of

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Page 176
responsibility for sexual misconduct?
Do you see the question?
Yes.
The second paragraph --
MR. PICCERILLI: The second
paragraph under Answer or --
MR. MIRABELLA: Yes, second
paragraph under Answer.
BY MR. MIRABELLA:
Q. We already kind of covered the
first sentence.
ln this case, Dr. White, Who is
the decision-maker being referred to in the
first sentence?

A.
Q.

A. Can l have a moment to read it,
please.

Q. Sure.

A. The decision-maker in this

sentence for us would be the investigator.

Q. Do you agree that the
investigator must offer each party the same
meaningful access to any information that will
be used during formal and informal
disciplinary meetings and hearings, including

 

Page 177
the investigative report?
A. Yes.
Q. The next sentence says that:
The parties should have the opportunity to
respond to the report in writing in advance of
the decision of responsibility and/or at a
live hearing to decide responsibility.
Did that happen here?
A. l believe so, yes
Q. Can you explain what you're
referring to?
A. The parties having an
opportunity to respond to information during
what it's calling a live hearing is the
investigation So the parties' invitation to
participate in that investigation
Q. No, it says: To respond to the
report in writing in advance of the decision
of responsibility.
Was either the Complainant or
the Respondent provided the opportunity to
respond to the report in writing in advance of
the investigator's report?
MR. PICCERILLI: Objection. lt

45 (Pages 174 - 177)

Veritext Legal Solutions
215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830

Case 2:18-cV-02044-PD Document 57-5 Filed 09/24/18 Page 47 of 73

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CONFIDENTIAL
Page 178 Page 180

doesn't say investigator's report 1 before there's a finding of responsibility or

MR. MIRABELLA: Decision, I'm 2 not responsibility?
sorry, Thank you. l agree it doesn't say l 3 A. l think that there would be
that, 4 meaningful access to information

THE WITNESS: Again, I'm 5 Q. That wasn't my question Only
reading this as the parties should have the 6 whether you believe that the school has a
opportunity to respond to the report in 7 process in which the Complainant and
writing in advance of the decision of 8 Respondent can respond to the report of the

responsibility or at a live hearing. l
believe that they had an opportunity at the
live hearing.

BY MR. MIRABELLA:

Q. l don't understand, there was '
no hearing in this case,

MR. PICCERILLI: Objection.
That's your conclusion
BY MR. MIRABELLA:

Q. Hold it, your testimony is that
meeting with the investigator serves the
purpose of the hearing; correct?

A. Correct, and l tried to explain
this earlier. lt is an ongoing process of
collecting information and hearing from the
parties involved, So the same --

 

Page 179
Q. When --

MR. PICCERILLI: Hold on, she's

not finished her answer.
BY MR. MIRABELLA:

Q. Go ahead.

Q. So the same terminology that
was used in the previous model is different in
definition from what is being used currently
in terms of investigation and hearing.

The investigation is an ongoing
collection of information as well as an
opportunity for the individuals to be heard.

Q. But the report that the parties
are responding to, when was that provided to
the Complainant or the Respondent to give them.
an opportunity to respond in writing prior to
the decision of the responsibility?
A. That would be -- that's not a
question l can answer.
Q. So you don't know if it
occurred in this place or not?
A. You asked me when it occurred
l do not know when it occurred.
Q. Would you expect it to occur

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investigator, to a report in advance in
writing before there's a decision of
responsibility?

A. So I am reading the rest of
that sentence: The parties should have the
opportunity to respond to the report in
writing in advance of the decision of
responsibility and/or a live hearing to decide
responsibility.

Q. The report didn't exist at the
time the investigator met with the Complainant
or Respondent, would you agree with that?

A. Can you repeat that?

Q. No report existed as to a
finding when the investigator met with the
Complainant or the Respondent?

Page 181
A. This does not-- I'm not
reading that --
MR. PICCERILle Are you asking
about this particular case?
THE WITNESS: That's not how
I'm reading the definition of report
BY MR. MIRABELLA:

Q. How are you defining report,
Doctor?
A. Any report There's not a

definition on what report is.

Q. And what's your understanding
of what it refers to? Does it have to be
something in writing?

A. No.

Q. lt does not; correct?

A. Correct.

Q. Okay. Was there ever a time

when the Sexual Misconduct Policy provided a

party to respond in writing to the written

report of the investigator before there was an

outcome?
A.

Q.

Ever a time?
During the institution of the

46 (Pages 178 -181)

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Case 2:18-cV-02044-PD Document 57-5 Filed 09/24/18 Page 48 of 73

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CONFIDENTIAL
Page 182 : Page 184

SMP, 1 call it investigation, but there's an initial

A. Could you repeat that? 2 review if it involves a student Respondent,

Q. Sure. From the interim SMP to 3 Q. And whose responsibility is it
the present time, was there ever a policy or 4 to do the review?
process where the Complainant and the 5 A. Dr. Mary-Elaine Perry in
Respondent were given an opportunity to 6 consultation with Bill Bordak.
respond to the Written report of the l 7 Q. And what is supposed to be
investigator prior to an outcome of 8 reviewed during the initial review?
responsibility or not responsibility? 9 A. I'd have to look at the policy

MR. PICCERILLI: Objection to 10 to be able to speak directly to that, I'm not

form.

THE WITNESS: Can you repeat
that one more time? l'm sorry.
BY MR. MIRABELLA:

Q. Under any iteration of the SMP
or interim SMP, are the Respondent or the
Complainant ever provided an opportunity to
respond to the written report of the
investigator in writing prior to a finding or
an outcome meeting?

A. l don't believe so, no.

Q. Okay. Let's talk a little
about the appeal process

A. Okay.

Page 183 y
MR. MIRABELLA: Let's mark this
as 5.

(Whereupon, Exhibit White-5 was marked
for identification.)

BY MR. MIRABELLA:

Q. Who is responsible for the
investigation for the initial report of sexual
misconduct made by students, either to the
Title IX Coordinator or to the Office of

Community Standards or to the Office of Public
Safety?

A. Can you repeat that?

Q. Sure. Who is responsible for,
if there is any, an initial investigation of
the report?

A. What do you mean by who is
responsible?

Q. Sure. The student reports

sexual misconduct to anyone. ls anyone at the
University charged with doing a preliminary
investigation?

A. Yes. l don't know if I would

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involved in that review.

Q. All right, And that policy you
believe is memorialized in the Sexual
Misconduct Policy?

A. l don't know if the details
are. That's why I would l need to see the
Sexual Misconduct Policy if there is
information about that initial review.

Q. All right If it exists and
it's written down, would you expect it to be
in the Sexual Misconduct Policy?

A. Yes.
Q. l have it, you can take a quick
peek.
Page 185
A. Sure. Okay.
Q. Does anything in the policy

that speaks to that question?

A. Yes.

Q. Can you give me the page
citation at the bottom?

A. SJU001203.

Q. And can you tell me, can you
read into the record the section of the policy
you're referring to?

A. Yes: The initial review will
consider the nature of the report, the safety
of all parties and of the campus community,
and the Complainant's expressed preference for
resolution

Q. And what part of that goes to
the issue of-- does any part of that go to
issue of a preliminary investigation?

A. l don't know what you mean by
preliminary investigation

Q. Sure. Deterrnining that it
actually happened, where it happened, who was
involved, whether or not the Complainant
appears to be credible?

47 (Pages 182 - 185)

Veritext Legal Solutions
215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830

Case 2:18-cV-02044-PD Document 57-5 Filed 09/24/18 Page 49 of 73

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CONFIDENTIAL
Page 186 Page 188
A. No. This is -- if l can just 1 Q. Well, what was your
cite the policy, it just states that: F or 2 understanding of how Public Safety went about
every report of an alleged violation that will 3 investigating claims of misconduct?
be considered for investigation they will make 4 A. Sometimes students would
an initial review. They being, I'm l 5 actually walk into the Public Safety Office,
paraphrasing: The Title IX Coordinator or . 6 and that could happen outside of any role of
Deputy Title IX Coordinator will make an ' 7 the Title IX Coordinator on the onset
initial review in consultation with the office 8 Q. ls the Complainant's background
and/or individual named below. Where the 9 or own history of disciplinary record
Respondent is a university student the Office 10 something that's considered or looked into
of Community Standards will consult on the 1 11 when they're making an official complaint?
initial review. 12 A. Again, l may not be the one
Q. And as Assistant Vice 13 receiving that official complaint, That may
President, do you expect that that initial 14 be something that the Title IX Coordinator is
review include a preliminary investigation as 15 involved with, but l can't speak to that
to the accuracy of the complaint? 16 Q. Since you've been Assistant
MR. PICCERILLI: Objection; ' 17 Vice President, are you aware of any
asked and answered. 18 circumstances after that date, 2013 to the
BY MR. MIRABELLA: 19 present, where any female respondents have
Q. You were just referring to the 20 been responsible for sexual misconduct?
policy; correct? 21 A. l don't know offhand.
A. Right, l would state that: The 22 Q. We talked earlier about the
initial review should consider the nature of 23 school's expectation that the investigator do
the report, the safety of all parties and of 24 a thorough investigation; correct?
Page 187 Page 189
the campus community and the Complainant's 1 A. Correct.
expressed preference for resolution 2 Q. l think l touched on this in
Q. What does it mean consider the 3 the earlier questions and answers Who at the
nature of the report? 4 school, if anyone, is responsible for '
A. l am not the one who is 5 reviewing to make certain that the
involved in this process 6 investigations that are being performed by the
Q. ls there anyone else who is 7 investigator are thorough?
responsible for doing the preliminary l 8 A. Right, l did answer this
investigation to determine the validity or ' 9 question earlier. I'm not -- it's not my
accuracy of any of the complaint, date, time, 10 responsibility
alleged Respondent or anything like that? 11 Q. You didn't know?
A. l don't believe so. 12 A. It's not my responsibility,
Q. Before the system changed in 13 right
2015, if a complaint came in to Dr. Perry for 14 Q. And you don't know who that
allegation of sexual misconduct, how was the 15 is?
investigation triggered through the Office of 16 A. l mentioned before that
Public Safety? Like what was the process? 17 Mary-Elaine is the main contact with the Title
Would she call Public Safety and say she had a 18 IX Coordinator,
complaint? 19 Q. Correct, that was your answer.
A. I don't know. 20 A. Yes.
Q. Were you ever involved in that? 21 Q. ls there any policy at the
A. Between what happened between 22 school as to the consideration as to which
Mary-Elaine and Public Safety, I don't believe 23 disciplinary track or section a matter should
so. be investigated under, sort of in between

48 (Pages 186 - 189)

Veritext Legal Solutions
215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830

Case 2:18-cV-02044-PD Document 57-5 Filed 09/24/18 Page 50 of 73

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CONFIDENTIAL

Page 190
either sexual misconduct, perhaps something
else or something outside of sexual
misconduct?

MR. PICCERILLI: Object to the
form of the question

THE WITNESS: Can you repeat
that again
BY MR. MIRABELLA:

Q. Sure. ls there any policy at

the school or preference with respect to how
cases are investigated when they involve
student violations if they may or may not
implicate sexual conduct?

MR. PICCERILLI: Objection to
the form of the question

THE WITNESS: Can you break it
down a little bit.
BY MR. MIRABELLA:

Q. He's going to object, but I'll

try it this way: If it's a close call, is
there any policy at the school as to whether a
matter, an alleged misconduct would be
investigated under the SMP or the Community l
Standards process?

Page 191

MR. PICCERILLI: You're right,
I'm going to object to the form of the
question lf you understand the question you
can answer.

THE WITNESS: l don't know ifi
fully understand What I'm inclined to speak
to is the initial review that would happen if
there's an alleged violation under sexual
misconduct l don't know if that answers your
question
BY MR. MIRABELLA:

Q. And that determination is made
during the initial review as to whether the

case is investigated under the Sexual
Misconduct Policy Versus through the Community
Standards process?

A. Yes, for every report of
alleged violation that will be considered for
investigation under this policy, being the
Sexual Misconduct Policy.

Q. At the outset who determines
whether it falls under that policy or not?

A. So when there is an alleged
report or when there's a report that comes in

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Page 192
with allegations that's part of the review,
that's part of the initial review, if there
are potential allegations that may fall within
the Sexual Misconduct Policy,

Q. Back to the appeal process So
first, generally speaking, tell me about how
the appeal process works for Community
Standards violations including typical
Community Standards violations and including
findings of responsibility under sexual
misconduct

MR. PICCERILLI: You're going
to have to break it up.
BY MR. MIRABELLA:

Q. Actually, Dr. White, is the
process the same for the appeal for a student
found responsible under the Community
Standards violation as it is for a student
found responsible for a Sexual Misconduct
Policy violation?

A. Yes, with the exception of
advisors

Q. Can you explain?

A.

Within the Sexual Misconduct

Page 193
Policy there's an opportunity to have an
advisor of choice, which is not the case in
the regular Community Standards process the
non-SMP process Through the Community
Standards process students are still entitled
to have an advisor, but it must be somebody
frorn the University community.
Q. What's the policy with respect

to a support person or advisor serving as a
witness in reporting misconduct?

MR. PICCERILle Objection to
form.

THE WITNESS: Can l refer to
the Advisor section here?
BY MR. MIRABELLA:

Q. Yes.

MR. PICCERILLI: l think you
said support person, so l don't know if you're
relating that to advisor.

MR. MIRABELLA: lwill
clarify.

MR. PICCERILLI: Okay. Why
don't you ask your question so she can review
what paragraph it is.

49 (Pages 190 - 193)

Veritext Legal Solutions
215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830

Case 2:18-cV-02044-PD Document 57-5 Filed 09/24/18 Page 51 of 73

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CONFIDENTIAL
Page 194 Page 196
BY MR. MIRABELLA: l refer back to that person may not abide by the
Q. To your knowledge, can a 2 restrictions on their participation, So they
student advisor serve as a witness in the 3 may be removed or dismissed
investigation? 4 Q. So I'm not -- my question
A. Per the policy an advisor 5 wasn't going to whether an advisor exceeded
cannot serve in a different role during the 6 the scope of their accepted responsibility to
disciplinary process for example, witness is 7 serve as an advisor to the Complainant,
in parentheses here. 8 I'm trying to understand what
Q. So if a student selects a ' 9 that does to their -- whether they can still
individual who is another student who may have 10 be a witness and the investigator would want
been a witness to the information to serve as ll to talk to them?
an advisor at the pre-investigation meeting 12 MR. PICCERILLI: Objection to
that student is then eliminated as a personal 13 forrn; asked and answered
witness? 14 BY MR. MIRABELLA:
MR. PICCERILLI: Objection to 15 Q. And if your answer is I don't
form. 16 know, l don't have that situation come up or
THE WITNESS: Right. So the 17 I'm not sure how that would play out, can the
University -- again, from the policy, the 18 University dismiss them as an advisor so the
University may remove or dismiss an advisor 19 investigator can interview them?
who becomes disruptive or who does not abide 20 A. l would say the same thing l've
by the restrictions upon their participation 21 been saying. l do think it answers the
as determined by the person conducting the 22 question in terms of that if a person does not
meeting 23 abide by the restrictions on their
BY MR. MIMBELLA: 24 participation the University may remove or
Page 195 Page 197
Q. No, my question went back to 1 dismiss them.
the original: lf a student selects another 2 Q. I'm not talking about the
student to be an advisor and they're also a 3 advisor's conduct I'm talking about the
witness to some part of the event, they can no 4 advisor's role as to whether they're eligible
longer serve as a witness with respect to the 5 to be a witness if they do not -- if they stay
complaint? 6 their role as advisor, do what they're
A. This is Where l would, again, 7 supposed to do as an advisor, have they been
say that they would not abide by their 8 eliminated as a potential witness?
restrictions on their participation So that 9 A. l think you and l have
the University may remove or dismiss an 10 different interpretations of this phrase in
advisor. 11 terms of l'm not seeing that strictly as an
Q. l guess l didn't ask it the 12 advisor's conduct lt's their restrictions on
right way. 13 participation
MR. PICCERILLI: l think you 14 Q. What's the restrictions on
got the answer that you were looking for. l 15 participation?
MR. MIRABELLA: l just don't 16 A. An advisor cannot serve in a
understand it, so l want to try to get back to 17 different role during the disciplinary
it. 18 process for example, witness
BY MR. MIRABELLA: 19 Q. Have you ever been in
Q. What do you understand that to 20 situations where a Complainant identified an
mean in the context of advisor who is a 21 advisor as someone who was also a witness to
student and they also have been a witness to 22 the event?
part or some of the event? 23 A. Ever in my history outside of
A. sexual misconduct?

Right. So l would, again,

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50 (Pages 194 - 197)

Veritext Legal Solutions
215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830

Case 2:18-cV-02044-PD Document 57-5 Filed 09/24/18 Page 52 of 73

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CONFIDENTIAL
Page 198 Page 200

Q. Ever. 1 sanctions?

A. Yes. 2 A. No.

Q. How Was it handled? 3 Q. Did you participate in any

A. lf they were already 4 decisions regarding the manner -- excuse me,
participating as a witness and then opted to 5 which provisions of misconduct the individuals
be an advisor they were not permitted to do ' 6 of the team were investigated?
so. 7 MR. PICCERILle I'm sorry, can

Q. Not permitted to be an advisor? 8 you read that back. I'm having difficulty

A. Correct. 9 hearing you.

Q. Was the Complainant told about | 10 - - -
the eligibility of an advisor other than what 11 (Whereupon, the court reporter read
you repeated in the policy? 12 back the pertinent information.)

A. What is the -- l'm sorry? 13 - - -

Q. When a Complainant makes a 14 THE WITNESS: Can you rephrase
report, are they advised or are they informed 15 it?
that certain individuals can be an advisor, 16 MR. MIRABELLA: Sure.
but they can't be witnesses? 17 BY MR. MIRABELLA:

A. So they receive the same 18 Q. Did you have anything to do
information as the Respondent, which would 19 with determining whether the team or players
include not only a version of the policy, a 20 were investigated under the Sexual Misconduct
copy of the policy, but also the 21 Policy and/or the Community Standards code or
Pre-investigation Meeting Checklist. So I 22 both?
would like to refer to that to see if there's 23 A. l don't recall.
information on there, but they are referred to 24 Q. Did you have any role in

Page 199 Page 201
the policy, So they have the information that 1 determining who would be -- who was identified
I just shared. 2 as the Respondent individually in that case?

Q. Did you have any involvement in 3 A. I don't recall.
the investigation of the allegations of 4 Q. lf a third party reports
misconduct directed against the sports team 5 misconduct to the Title lX Coordinator
that we referenced early in the deposition? 6 involving multiple students whose

A. Did l have any involvement, was 7 responsibility is it to determine who, if any,
that your question? 8 is investigated as a Respondent?

Q. Yes. 9 MR. PICCERILLI: Objection to

A. Did l have any involvement? l 10 form.
can't recall specific involvement, but I'm 11 THE WITNESS: l would refer
familiar with it, yes And l was again, in 12 back to that initial review. lf you would
the position in some capacity of overseeing 13 like me to repeat that l would
the process 14 BY MR. MIRABELLA:

Q. Did you sit as a hearing 15 Q. No. ls it possible -- or in
examiner? 16 your experience, can the Office of Community

A. No. 17 Standards undertake an investigation with no

Q. And do you recall what part of 18 one identified as a Respondent that involves
the process you oversaw? 19 multiple students?

A. I can't recall the date of that 20 MR. PICCERILLI: Did you say no
to know what my position was at the time in 21 one is identified as a Respondent?
terms of the capacity that l was in. 22 BY MR. MIRABELLA:

Q. Did you participate in any 23 Q. No one individual or body of
decisions regarding responsibility or 24 students is specifically identified as

51 (Pages 198 - 201)

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Case 2:18-cV-O2O44-PD Document 57-5 Filed 09/24/18 Page 53 of 73

24

CONFIDENTIAL
Page 202 Page 204
1 Respondent, can the Office of Community 1 A. l would actually -- reversal is
2 Standards still undertake an investigation? 2 not a word that we would use. l would have to
3 A. No student or body of students 3 further understand what you mean by that,
4 is identified? 4 Q. Sure. A Respondent appeals the
5 Q. Not because they're -- strike 5 findings against him or her and the Appeal
6 that 6 Panel agrees with the Respondent's objection
7 l guess in every investigation 7 in the appeal, can be the matter be reversed
8 somebody is always a Respondent with the 8 and set aside the findings of not
9 exception of a collective body like a team? 9 responsibility?
10 A. For the student conduct 10 A. No, that is not the outcome of
ll process -- again, this is everything in terms 11 the Appeal Panel.
12 of Title lX, but when there's a student 12 Q. Can the matter be set aside and
13 conduct process yes, we are participating in 13 re-investigated?
14 that process when there is a student 14 A. Yes.
15 Respondent or students or a group. 15 Q. Have there been any cases in
16 Q. Back to the appeal questions 16 the past calendar year in which the Appeal
17 generally, Other than the identification of 17 Panel has set aside a finding and had the
18 advisors there is no difference in the appeal 18 matter re-investigated?
19 process of the SMP or the Office of Community 19 A. l don't recall.
20 Standards violation findings; correct? 20 Q. Do you know if it's happened
21 A. Another aspect that's different 21 since you've been Vice President?
22 is the equal rights of the Complainant and the 22 A. My title is not Vice President
23 Respondent in the sexual misconduct process 23 Q. Assistant Vice President I
24 that is not always present within the 24 was using that bookmark 2013.
Page 203 Page 205
1 Community Standards process 1 A. That's okay. I'm sorry, has
2 Q. And is that the opportunity for 2 that ever happened?
3 the Complainant and the Respondent to appeal 3 Q. Yes, are you aware of that
4 the finding of responsibility? 4 finding of responsibility set aside for
5 THE COURT REPORTER: I'm sorry, 5 re-investigation for the Sexual Misconduct
6 can you repeat that. 6 Policy since you've been Assistant Vice
7 BY MR. MIRABELLA: 7 President 2013 to the present?
8 Q. Sure. What do you mean by 8 A. Again, l would not -- l don't
9 that? 9 have that offhand l don't have that
10 A. 1t's the same rights for both. 10 information offhand There's a lot of nuances
11 So it's more than what you just described 11 to what you were just describing
12 1t's actually the right to appeal and 12 Q. Has a Sexual misconduct finding
13 participate throughout that appeal process 13 responsibility been set aside for
14 just as the Cross-Appellant would, The 14 re-investigation this year?
15 Complainant and Respondent have the same exact 15 A. l can't recall. And again, l
16 rights 1 16 also wouldn't call it re-investigation.
17 Q. Have any findings of sexual 17 Q. What would you call it?
18 misconduct been reversed on appeal since 18 A. lt can be remanded to the
19 you've been moderating? 19 investigator or to a new investigator or the
20 A. 1 can't recall. 20 outcome could be affirmed
21 Q. Were any reversed this year? 21 Q. Right. l'm talking about
22 A. l can't recall . 22 situations -- are you aware of any situation
23 Q. For reversal does it have to be 23 this year where the outcome is not affirrned?
three to zero or it could two to one? 24 A. l can't recall offhand.

52 (Pages 202 - 205)

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Case 2:18-cV-O2O44-PD Document 57-5 Filed 09/24/18 Page 54 of 73

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Page 206 1
Q. Would you agree with me it's
rare?
A.
rare.
Q. There's 29 findings of some
responsible, some not responsible cases of
sexual misconduct Do you believe there's
been more than one or two situations where the
Appeal Panel has remanded it back to the
investigator for a new investigation?
MR. PICCERILLI: Objection;
asked and answered
THE WITNESS: l also don't -- l
can't even comment on Whether all 29 that you

l would need you to describe

15 just referenced were appealed

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BY MR. MIRABELLA:

Q. lf an appeal is remanded either
for the investigation back to the
investigator, is that information set forth in
the StarRez system?

A. Yes.

Q. ls there any way to tell from
looking at the list that l gave you, the
StarRez cases, whether those cases were

Page 207
remanded either to a new investigator or back
to the original investigator and then
affirrned?

A. No, l wouldn't be able to look
at that offhand and know that.

Q. What are the appeal rights of
the Respondent?

A. Can l refer to that?
Q. Yes.
MR. PICCERILLI: You're
referring -- l

THE WITNESS: To the policy, '
that's correct

MR. PICCERILLI: The Sexual
Misconduct Policy?

THE WITNESS: The Sexual
Misconduct Policy, yes l'll tell you the
page number when l get there. So I'm looking
at SJU001209.

BY MR. MIRABELLA:

Q. Can you give me the citation
again?

A. 001209.

MR. PICCERILLI: That's SJU.

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Page 208
THE WITNESS: Yes, SJU.
BY MR. MIRABELLA:
Q. All right I was asking
generally what are the appeal rights of a
Respondent ls that information set forth
anywhere in here?

A. They have the right to appeal.
Q. ls that Section 8?
A Yes.

Q. What are the rights -- what's
the Respondent's rights with respect to the
process or manner of an appeal?

A. Can you break that down for
me? Would you like --

Q. Sure. ls the Respondent
entitled to see the investigative file prior
to appealing?

A. Yes.

Q. And is the Respondent entitled
to see the response of the Complainant, if
any, to his or her appeal?

A. Yes.

Q. So during the appeal process if
there's a finding of responsibility, l would

Page 209
assume that the Respondent -- strike that.
lf there's a finding of
responsibility and the Complainant does not
appeal it, l would assume that the Respondent,
that person he or she is appealing, would file
the first response, would file their appeal
first?
MR. PICCERILle The question
is if the Respondent filed first --
BY MR. MIRABELLA:
Q. lf there's a finding of
responsibility the Complainant can also appeal
that?
A. Correct.
Q. lf the Complainant is not
appealing it, the Respondent would then file a
response to the -- they have to file their
appeal paper?
A. They have the right to do so
within five business days of receiving the
outcome.
MR. PICCERILLI: We can take a
quick break?
MR. MIRABELLA: Yes.

53 (Pages 206 - 209)

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Case 2:18-cV-O2O44-PD Document 57-5 Filed 09/24/18 Page 55 of 73

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(Whereupon, a short break was taken at
this time.)
BY MR. MIRABELLA:

Q. l got to go back to the Dear
Colleague Letter. There were some questions
earlier about the Dear Colleague Letter and

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9 the guidance issued in 2017; correct?
10 A. l'm sorry?
11 Q. Do you remember we talked about
12 that?
1 3 A. Yes.
14 Q. Did you participate in a review
15 of the school's policy as it then existed to
16 determine if it was in compliance?
17 A. l recall being invited to a
18 meeting by our General Counsel.
19 Q. Any other involvement or review
20 other than that meeting?
21 A. To be perfectly honest, l had a
22 two-week old at that point and was on
23 maternity leave So l don't recall
24 specifically having any conversations l was
Page 21 l
l out of the office for three months
2 Q. At that meeting was there a
3 handful of people, a lot of people?
4 A. l called in.
5 Q. Oh, you weren't physically
6 present in the meeting?
7 A. No.
8 Q. Correct?
9 A. Correct, l was at home.
10 Q. And was a decision made at that

11 meeting as to whether or not the school's

12 policy was in compliance?

13 MR. PICCERILle We're going to
14 stand on our objection on the basis of the

15 attorney-client privilege because it was a

Page 210

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16 meeting that was conducted by Counsel, General 16

17 Counsel.

18 MR. MIRABELLA: l got to ask a

19 bunch of more questions but you can object as
20 you see appropriate, but l want to try to get

21 the parameters as to whether or not there was
22 compliance or not. Some of these, l think,

23 could be answered generally without waiving
24 the privilege

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Page 212
BY MR. MIRABELLA:

Q. At that meeting, which included
General Counsel, did General Counsel speak?

A. Yes.

Q. And was a decision made as a
result of that meeting as to whether or not --
by the school that the existing policy was or
was not in compliance?

MR. PICCERILLI: Objection to
attorney-client privilege
BY MR. MIRABELLA:

Q. To your knowledge, I'm not
asking what the answer was, did General
Counsel provide a legal opinion to the members
of SJU who were participating as to whether or
not the policy was or was not in compliance?

MR. PICCERILle Object to the
attorney-client privilege
BY MR. MIRABELLA:

Q. Do you know, you were on the
telephone, so you don't have a sense of how
many people were at the meeting?

A. l don't recall.

Q. Do you know if the meeting was

 

Page 213
memorialized?
A. l do not know.
MR. PICCERILle You mean in a
writing of some sort?
MR. MIRABELLA: Correct.
MS. SCHIMELFENIG: Off the
record
(Whereupon, a discussion was held off
the record.)

THE WITNESS: l do not remember

or l do not know,
BY MR. MIRABELLA:

Q. Did you know if anyone other
than General Counsel made a decision about
whether or not the existing policy complied or
didn't comply?

MR. PICCERILLI: Objection.
Regarding the content of the meeting,
regarding during the meeting?

MR. MIRABELLA: Yes.

MR. PICCERILle Objection;
attorney-client privilege

54 (Pages 210 - 213)

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Case 2:18-cV-O2O44-PD Document 57-5 Filed 09/24/18 Page 56 of 73

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Page214 Page 216 n
BY MR. PICCERILle l A. lt's a typical process for us
Q. Was there anything done -- did 2 l believe that -- could l refer to the policy
you ask any questions of Counsel or Counsel's 3 in terms of the review piece?
legal opinion as to the new policy? 4 Q. Sure.
MR. PICCERILle You can answer 5 A. l didn't want to misspeak. So
that question 6 SJU001215: Title lX Coordinator will initiate
THE WITNESS: l don't recall. 7 the annual review of the policy, Additional
BY MR. MIRABELLA: 8 review of revisions will be conducted as
Q. Did you hear anyone else ask 9 needed to comply with legal requirements
questions as to Counsel's opinion as to l 10 l didn't want to misspeak about
whether or not the SJU policy complied with 11 that
the new guidance? 12 Q. ls that annual review done by
MR. PICCERILLI: Objection; 13 Dr. Perry?
attorney-client privilege Actually -- 14 A. Yes.
MR. MIRABELLA: No, not the 15 Q. When is that done, if you
question, the answer is privileged 16 know?
MR. PICCERILLI: No, no, no. 17 A. l don't know if there's regular
Going both ways are privileged 18 timelines of when that is done
MR. MIRABELLA: I don't agree 19 Q. Are you aware of participating
I'm trying to do this in a way to eliminate 20 in that annual review since the time of the
further discovery. 21 Dear Colleague to the present?
BY MR. MIRABELLA: 22 A. Yes.
Q. Did anything change about the 23 Q. And what issues were under
school's implementation or use of its 24 review?
Page215 Page 217
existing -- to your knowledge, did SJU change 1 A. I'm trying to think of any
the investigation or adjudication of sexual 2 specifics I can't recall specifics right
misconduct claims following that meeting? 3 now.
A. l can't say definitively. I 4 Q. Were there any
was out for three months at that time, so l 5 considerations --
don't know that l knew definitively. 6 MR. PICCERILLI: Hold on, let
Q. Were there any written changes 7 her --
to the policy following that meeting? 8 MR. MIRABELLA: Oh, sure l
A. l don't recall. 9 thought she was done
Q. lf they were, how could they be 10 MR. PICCERILLI: Are you
discerned? So there was some updates in 11 finished your answer?
September of 2017. l'm not saying it was or 12 THE WITNESS: I'm thinking if l
wasn't in response to the meeting. 13 can remember anything, and l don't know if l
ls there someone who tracks the 14 can, but give me a moment to see if l can
policy itself, the writing of the policy? 15 recall. l can't recall specifics at this
A. The review of the policy is 16 time, l'm sorry,
facilitated by Dr. Mary-Elaine Perry. 17 BY MR. MIRABELLA:
Q. And did you participate in any 18 Q. And was that at a meeting with
further review with Dr. Perry after that 19 Dr. Perry and others?
meeting? l know you were out on matemity, l 20 A. Yes, l recall a meeting.
still have to ask. 21 Q. Who was at the meeting?
A. After September of 201.7, yes 22 A. Bill Bordak was at the
There's a -- yes 23 meeting. l believe Marci Berney was at the
Q. Can you describe that process? 24

meeting. Chris Morrin was at the meeting. l

55 (Pages 214 - 217)

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Case 2:18-cV-O2O44-PD Document 57-5 Filed 09/24/18 Page 57 of 73

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Page 218 Page 220 1
can't recall if there were others or not. l responsibility?
Q. Given that Chris Morrin was at 2 A. What do you mean by involved?
the meeting, can you estimate when the meeting 3 Q. Are you consulted about the
took place? It had to be after he was 4 nature of the sanctions posed by the Sanctions
retained, l take it? 5 Officer?
A. Yes, yes I don't recall a 6 A. l may be consulted, yes
specific date of the meeting 7 Q. ln what circumstances have you
Q. So it had to be after October 8 been consulted and why?
of 2017? 9 A. lt's been in a supervisory
A. l can't remember when Chris was 10 relationship with the Office of Community
hired He wasn't hired in October. It was 11 Standards
the Spring. 12 Q. Who is the Sanctions Officer in
Q. My question was it had to be 13 most of the Community Standards cases?
after October 2017? 14 A. l don't know if l can say most,
A. Yes, yes 15 but it's typically split between one -- it's
Q. And when you said the Spring 16 either the Assistant Director or Manager and
you're thinking the Spring of 201 8? 17 the Director, There's two professional staff
A. Spring or Summer, yes 18 members in the office, which is typically
Q. So that was after the events in 19 between the two of them.
this case with John Doe? 20 Q. And at the time that was either
A. l don't recall the specific 21 Bordak or Ms. Forte?
date 22 A. Correct.
Q. Was there any consideration or 23 Q. Who is there now instead of Ms.
24 discussion at that meeting as to changing the 24 Forte?
Page 219 Page 221
investigative process or adjudicatory process l A. Courtney LaGanke
in connection with the SMP? 2 Q. And is the practice generally
A. I can't recall specifically. 3 that whoever handles that pre-investigation
MR. PICCERILLI: Which policy 4 meeting is not the Sanctions Officer?
were you referring to? 5 A. Yes.
MR. MIRABELLA: The SMP, the 6 Q. And why is that?
only one we've been talking about, 7 A. Sometimes it's scheduling
BY MR. MIRABELLA: 8 lt's the availability of the particular staff
Q. Was there any consideration in 9 member during different points in the
revisiting guidance on the Dear Colleague 10 process There may be incidents when one of
Letter in the Fall of 2017 at that meeting? 11 the two may have served in some sort of
A. l can't recall the specifics 12 on-call capacity too at the time of the l
Q. Did anyone write down what was 13 incident, and so to eliminate any sort of
talked about at that meeting? Would anyone be 14 perception of bias and also really a
writing down what was talked about? 15 segregation of duties at that point in terms
A. l did not. 16 of workload, distribution of workload
Q. Do you get involved in the 17 Q. Does Cary Anderson do the
review of sanctions when there's an outcome of 18 initial appeal review?
responsibility? 19 A. l work with him as more or less
MR. PICCERILLI: Did you hear 20 the designee But yes so l work closely with
that? 21 Dr. Anderson in terms of the initial review.
BY MR. MIRABELLA: 22 Q. l'm paraphrasing, but Dr.
Q. Sure. Are you involved in the 23 Anderson testified that he gives the go-ahead
sanctions for when there's an outcome of 24 after an appeal is filed, after he reviews it?

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56 (Pages 218 - 221)

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Case 2:18-cV-O2O44-PD Document 57-5 Filed 09/24/18 Page 58 of 73

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Page 222 Page 224

A. Yes. 1 the -- what's the process the student is

Q. But in terms of the situation7 2 informed that they're not going to be heard?
what factors go in to whether he gives the 3 A. Yes.
go-ahead or not the appeal? 4 Q. And the student is informed

A. I'm happy to refer to the 5 that the reason is that there are no grounds
policy. 6 articulated that warrant an appeal?

Q. What's your understanding? l 7 A. Yes.
was present for Dr. Anderson's deposition and 8 Q. What are the percentages of

l still don't understand it.

A. Sure. So typically it's one of
two things; either not within the time frame
of the appeal deadline or there are not
articulated grounds for an appeal, at least
one ground for an appeal.

Q. So if it's late Dr. Anderson
might nix the appeal?

A. Yes.

Q. Does he always or does he use
his discretion?

A. Does he always do what?

Q. lf the appeal is late, can it
still be considered or is it a matter of
discretion of Dr. Anderson?

A. lt's hard to even recall an

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Page 223
instance in that situation to be able to
answer that
Q. Again, l don't know is an
appropriate response
MR. PICCERILLI: l'm sorry,
what was that?
BY MR. MIRABELLA:
Q. lf an appeal is filed late,
does Dr. Anderson always dismiss the appeal or
does he use discretion on occasion as to how
to go forward?
MR. PICCERILLI: And l think
the witness testified that she can't recall a
situation where that occurred
Am l right?
THE WITNESS: l'll say l don't
know, yes,
BY MR. MIRABELLA:
Q. And do you recall a situation
where Dr. Anderson determined that there were
not articulated grounds for filing the appeal

and dismissed it?
A. Yes.
Q. And in that situation how is

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students who are found as responsible party
under the Sexual Misconduct Policy for filing
an appeal?

A. l do not know offhand

Q. What are the rules with respect
to the preparation of an appeal by a
Respondent?

A. Can you explain what you mean
by rules?
Q. Sure. What guidance and what

instructions are the Respondents given in
conenction with who can prepare the appeal?

A. Can l refer to the policy?
Q. Sure.
A. So, again, SJU001209, and it

states that the Complainant and/or the

Page 225
Respondent may appeal the outcome

Q. Can the Respondent get
assistance frorn an advisor?

A. The advisor as referenced
earlier in the policy as someone who can
support the Complainant or Respondent
throughout the process

Q. ls there any section in the
policy that says that the Respondent can
prepare the appeal by him or herself‘?

A. lt's What l just mentioned in
terms of the first line: The Complainant
and/or the Respondent may appeal. We're
naming the parties involved there,

Q. ls the appeal decision held
until the Appellant is provided an opportunity
to inspect the other party's response?

A. No.

Q. What's the document collection
period refer to?

A. Can you point to where you're
at, please?
Q. l thought -- you're the

moderator of the appeals in the Community

57 (Pages 222 - 225)

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Case 2:18-cV-O2O44-PD Document 57-5 Filed 09/24/18 Page 59 of 73

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CONFIDENTIAL
Page 226 Page 228

Standards; correct? 1 panel may also determine if they, on the next

A. Correct. 2 page, that they can resolve the appeal without

Q. You're not familiar with the l 3 a meeting or additional fact-finding and
document collection period? 4 whether to have such meeting or fact-finding

A. l thought you were referring to 5 or not is within their sole discretion
something specific there 6 Q. Does the Sexual Misconduct

Q. ls there a specific time frame 7 Policy identify what the appropriate paperwork
for the collection of documents for the appeal 8 is that the moderator provides to the Appeal

from the Respondent? 9
A. From the Respondent? 10

Q. Correct. 11

A. So for the Appellant or 12
Cross-Appellant or Non-Appellant, they both 13
have the right to appeal within five business 14
dates of the outcome From that point there 15
are then five additional business days for l 16
which the office would schedule a meeting for . 17
the Cross-Appellant or Non-Appellant to come ' 18
and inspect the appeal request if they desire 19
to do so. Then they have 24 hours from that 20
point to respond to the appeal request in 21
writing if they choose to do so. At that ' 22
time, after that 24 hours has expired, that is 23
the end of the appeal document collection 24

Page 227

period 1
Q. Where is that stated in the 2
policy itself‘? 3
A. l'll find it for you. At the 4

top of SJU00121 l. At the top of that page 5
it's referencing initially as number five -- 6
l'm sorry, five business days to respond and 7
then the 24 hours to inspect and respond And 8
then following, just above letter E: The l 9
Appellant shall be provided an opportunity to 10
inspect the other party's response, but no 11
additional responses are accepted as appeal 12
documentation at that point frorn either party. 13
Q. ls there anything in that 14
section about additional documentation from 15
anyone at the University? 16
A. Under letter E on the last ' 17
paragraph on that same page: The moderator 18
designee shall advise the panel on matters 19
such as the appeal process The moderator 20
designee shall also facilitate the appropriate 21
paperwork. And it continues to the 22
appropriate paperwork there 23
lt goes on to say that: The 24

Panel?

A. No.

Q. Does the moderator in any way
inform the Complainant or Respondent of the
paperwork that's going to be provided to the
Appeal Panel?

A. No, not detailed

Q. Does the moderator or anyone at
SJU inform the Complainant or the Respondent
that additional responses were solicited from
those involved in the disciplinary process?

A. No.

Q. Why is that done ex parte
without informing the parties?

MR. PICCERILLI: Objection to
form; argumentative

Page 229
BY MR. MIRABELLA:

Q. Why is that done without --

A. They're informed that any
documentation relevant to the incident is
provided to the Appeal Panel. So they do know
that the Appeal Panel -- and in the policy it l
states that appropriate paperwork will be sent
to the Appeal Panel.

Q. There's very clear and explicit
provisions as to what the Complainant and
Respondent can submit Do you agree there's
nothing in here about additional submissions?
Do you agree with me?

MR. PICCERILLI: Objection.

THE WITNESS: l would mention
again what l shared about facilitating
appropriate paperwork.

BY MR. MIRABELLA:

Q. Is the definition of
appropriate paperwork set forth in the SMP?

A. lt is not.

Q. And is the practice -- are the
parties informed of this process if not in
writing, orally, about what additional

58 (Pages 226 - 229)

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Case 2:18-cV-O2O44-PD Document 57-5 Filed 09/24/18 Page 60 of 73

 

 

CONFIDENTIAL
Page 230 Page 232
1 paperwork can be submitted? ' 1 SJU001212. There's a time frame for the
2 MR. PICCERILLI: Objection to 2 Complainant and Respondent, in the second
3 form; asked and answered 3 paragraph: Having an opportunity to object to
4 THE WITNESS: Again, not 4 a member of the panel in writing, and that
5 explicitly. lt's outlined that they will -- 5 deadline is for them to object to that at
6 that the Appeal Panel receives appropriate 6 least one business day, but no less than 24
7 paperwork. So it is known to the parties that 7 hours before the panel meeting
8 they receive paperwork. 8 So we Wait until that timeline
9 BY MR. MIRABELLA: 9 to then produce the records for the Appeal
10 Q. Are appeal responses usually 10 Panel to review. So if it's during the Week
ll solicited frorn those involved in the ll then it's about 24 hours lf it just so
12 disciplinary process during the appeal 12 happens to be on a Monday it's a Friday. Or
13 process? 13 if for some reason the University is closed,
14 A. Yes. 14 then it's not counted as a business day.
15 Q. ls it usually the Sanction 15 Q. ls it the school's expectation
16 Officer, investigator and the 16 that the panel is drawn from the Community
17 pre-investigation meeting with a Community 17 Board, Community Service Board?
18 Standards representative? 18 A. Community Standards Board
19 A. Usually, yes 19 Q. That they will have an
20 Q. ls it ever other individuals? 20 opportunity to review all the documents?
21 A. I can't recall specifically. 21 A. Correct.
22 lt may be 22 Q. Are they given files in writing
23 Q. So we're in the policy. Other 23 or are they given access to --
24 than the appropriate paperwork, does it give 24 A. There's an electronic system
Page 231 Page 233
l SJU the right to submit its appeal responses 1 that we use throughout our learning management
2 from other members of the SJU staff? 2 system, password protected, et cetera. We
3 A. I would again point to the 3 grant three individual members access and we
4 appropriate paperwork timeline 4 remove the access when the appeal period
5 Q. Why aren't -- what would be the 5 concludes
6 most -- strike that 6 Q. Does anyone ever check to see
7 So if a student doesn't happen 7 if they actually accessed the documents?
8 to review the file after the appeal is 8 A. We also give them access -- we
9 concluded, the Respondent wouldn't know if a 9 also bring hard copies to the actual Appeal
10 response is filed by other members of the 10 Panel meeting
ll Discipline Office; correct? 11 Q. The Appeal Panel meeting is
12 A. Correct. 12 typically when a decision is recommended or
13 Q. Do you believe that that's a 13 something like that?
14 fair and equitable way to handle the appeal 14 A. Typically, yes
15 process? 15 Q. ln this case we're looking
16 A. l do. There's no further 16 over, for example, 60 pages of documents?
17 documentation collected from the Respondent or 17 A. Correct.
18 the Complainant at the point in the process 18 Q. Back to my question; Does
19 that it describes that, 19 anyone check to see, is there an audit trail
20 Q. Nor are the -- strike that, 20 to see if the Appeal Board are actually
21 How much time is the Appeal 21 accessing the file?
22 Panel given to review a file? 22 A. Technologically, no. In the
23 A. Here, again, l can refer to the 23 beginning of every Appeal Panel meeting l
24 timeline here for this l'm on Page 24 assure that-- l ask them if they had reviewed

59 (Pages 230 - 233)

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Case 2:18-cV-O2O44-PD Document 57-5 Filed 09/24/18 Page 61 of 73

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Page 234
the documentation or not before we begin the
conversation

Q. Do you participate in teaching
the Appeal Board members that serve on the
Appeal Board?

A. The training, their training?
Some of the training, yes, l participate in,

Q. What part of the training?

A. Typically the appeal portion

Q. One of the options presented to
the panel is to review the case from the
investigator; correct? And I'm on Page 1212.

A. So l would refer you to the
paragraph just above that paragraph, Paragraph
4: They can affirm the outcome reached by the
investigator or they can, to the next
paragraph, remand the case to the investigator
or deemed to be appropriate to a new
investigator.

Q. Does that have to be done three
to zero or two to one?

A. lt can be two to one, but
there's conversation to assure there's comfort
with the decision

Page 235

Q. Both with respect to affirming
or remanding the case back to the
investigator? l
A. Any decision
Q. Can be two to one?
A. Yes.
Q. After the case is remanded, can

it be appealed again?

A. No.

Q. What's the purpose of having
the investigator respond to the appeal?

A. So if there's any information
that they may be able to share in response to
the appeal request, l try to put that in front '
of the Appeal Panel considering the timeline |
that's in place for the Appeal Panel to render
a decision within five business days of that
appeal documentation and collection period
expiring And so l don't direct any response,
l merely ask if there is a response and they
send it to me within the time frame

Q. Does the investigator normally
respond?
A. Norrnally, yes,

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Page 236

Q. So the investigator gets to
respond in writing to the appeal submitted by
a Respondent under the SMP appeal process
policy; correct?

A. l'm sorry?

Q. So the investigator gets an
opportunity to respond to the appeal of a
Respondent in writing; correct?

A. Yes.

Q. Okay. What's the purpose of
having a pre-investigation meeting for an
individual to provide a response to the
appeal?

A. lf there are any questions that
come up that are referred to during that
pre-investigation meeting it's a point in the
process that l then ask for that person to
provide any response if they would like to do
so.

Q. Are the -- when the appeal
responses are solicited, what guidelines or
parameters do you give to them as to what
should or should not be considered in the
response?

Page 237

A. l don't direct any specific l
requests to them.

Q. Do they get any training as to
what they may or may not say in the response?

A. No.

Q. So they can refer to outside
statements investigations literature,
anything they want in response?

A. They're --

MR. PICCERILLI: Objection to
form.

THE WITNESS: They are
responding to the request that is in front of
them at that time, yes
BY MR. MIRABELLA:

Q. But there's no limitations on
what they can say or consider or address?

A. There's -- l will say there's
professional judgment and training that is
done for every step of the process And so,
for lack of better, it's not a free-for-all.

Q. If they want to talk about
other individual's assessments or opinions
than themselves that can be included?

60 (Pages 234 - 237)

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Case 2:18-cV-O2O44-PD Document 57-5 Filed 09/24/18 Page 62 of 73
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Page 238
MR. PICCERILLI: Objection to
form.
THE WITNESS: Can you repeat

that question?
BY MR. MIRABELLA:

Q. Sure. If they want to include
what others have said to them outside, hearsay
statement, or the opinion of another faculty
member, they can include that in the response
to the appeal?

A. Again, there is -- okay, so
there is training in terms of professional
work responsibility training, and I'm thinking
again of the staff of Community Standards and
their professional judgment in knowing what
they should or should not include in those
responses

Q. So if Mr. Bordak wants to talk
about something that Dr. Perry told him or a
conclusion Dr. Perry reached, he can include
it in his response to the appeal?

A. Using his professional judgment
as appropriate based on the circumstances of
the appeal request

Page 239
Q. Have you ever rejected or asked
an appeal person to change it?
A. No.
Q. Not change it, but there was
something inappropriate or something that was
outside of the scope?

A. l don't believe so.

Q. Has Dr. Anderson ever replied?
A. l can't recall.

Q. So the Appeal Panel is

either -- back to this for a moment, part of
the procedure process They can either affirm
or remand, if they remand they can go back to
the same investigator or they can remand the
request to go for a new investigator; correct?

A. Correct.

Q. What's the thinking behind the
ability to seek out a new investigator, if
any?

A. Again, this is part of their

evaluation and what they're trained to do. So
l can't say explicitly what's prescribed An
example of that could be if they determined
that there was bias as an appeal ground

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Page 240

Q. After it's remanded to the
investigator, the investigator can conduct
additional investigation to affirm or modify
the initial outcome; correct?

A. Correct.

Q. However, if the investigator
affirms their initial outcome, he then shares
it with the Sanctioning Officer?

A. Yes.

Q. And then is the -- and the
Appeal Panel does not -- the matter is
just -- cannot be appealed again and the
appeal process is concluded; correct?

A. Correct.

Q. So the Appeal Panel cannot set
aside a finding of responsibility; correct?

A. Correct.

MR. PICCERILLI: You're talking
about remanded; correct?

MR. MIRABELLA: No, any time
BY MR. MIRABELLA:

Q. The Appeal Panel can either
affirm the original findings or remand either
to the same investigator or a new

Page 241
investigator. They cannot set aside the '
finding of responsibility, interim finding of
responsibility; correct?

A. Correct.

Q. There's no limitation on what
the Appeal Panel can consider as part of the
record report once reviewing the matter?

A. Correct. In fact, on top of
that page, SJU001212, they can determine '
whether any meeting or additional fact-finding
is necessary to resolve the appeal.

Q. lf new evidence comes to after
the appeal is concluded, what's the process
for it being considered?

A. lt's SJU001210: Should any
other relevant information come to the
attention of the University during the appeal
process this information may be included by
the University in the appeal documentation

Q. Can new information be
considered after the appeal process?

A. Could l have a moment to look
through the Sexual Misconduct Policy?

Q. Yes.

61 (Pages 238 - 241)

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Case 2:18-cV-O2O44-PD Document 57-5 Filed 09/24/18 Page 63 of 73

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Page 242 Page 244
A. So l would point to -- okay, l 1 the appeal has been deterrnined, you're
here it is, I'm sorry, On SJU001203, again, 2 referring to Paragraph 6, Time Frame for
this is the initial review, the last few 3 Reporting, 1197 and 1198 -- and the completion
sentences on the pager lf deemed appropriate 4 on the top of 1198?
the University process disciplinary process 5 A. Correct.
will then commence The disciplinary process 6 Q. You may read it all into the
ends when the outcome becomes final. ' 7 record, but is it fair that that's your
Q. So is there no mechanism for 8 response to my question?
bringing before the University in the 9 A. Yes, you asked where it says
disciplinary process new evidence that's 10 that in the Sexual Misconduct Policy that
discovered after the appeal outcome is final? 11 reports can be made at any time
MR. PICCERILLI: After the 12 Q. Correct. I'm asking you where
outcome or the appeal is final? 13 does it says in the Sexual Misconduct Policy
BY MR. MIRABELLA: 14 that new information can be brought to the
Q. Well, what does it mean by 15 attention of the University after an appeal
outcome becomes final? Does it mean the 16 has been concluded?
resolution of the appeal; correct? 17 A. Right, l shared with you that
A. Correct. 18 the outcome is final.
Q. After the appeal is decided 19 Q. And the answer is you cannot?
there is no mechanism for the Respondent to 20 A. Correct.
bring to the University's attention or have 21 Q. All right Who made the
considered new evidence? 22 decision or when was the decision made that
A. Yes. With that said, student 23 the parties would not be informed that
can make reports at any time So l just want 24 University personnel would provide a written
Page 243 Page 245
to give you an outside of the policy. l think 1 reply to the appeal?
it's important to share that 2 Q. Can you repeat the question?
Q. What's make a report mean? 3 Q. Sure. Why was the decision
A. lf the student wants to share 4 made by the University that the parties would
information with the University and make a 5 not be informed that personnel in the
report about something there's not a closed 6 Community Standards Office and the
timeline for that 7 investigator would be providing written
Q. Does it say that anywhere in 8 response to their appeal?
the Sexual Misconduct Policy? 9 A. We share in the policy that the
A. So at the bottom of SJU001197 10 students can inspect their record at any time,
and top of SJU001198 the time frame for ll and that is part of their record
reporting: lt's best to report the alleged 12 Q. That wasn't my question Why
act of sexual misconduct immediately, and if 13 was the decision made that they would not be
at all possible, prior to the last date of 14 expressly informed that written responses were
enrollment or employment of the Respondent 15 being provided in response to the appeal?
Proper reporting allows evidence to be 16 A. There's no further
preserved witnesses to be interviewed -- 17 documentation collected at that point from the
Q. Dr. White, may l interrupt 18 Respondent
you? 19 Q. That's not an answer.
A. Yes. 20 MR. PICCERILLI: No, it was an
Q. You may read all that into the 21 answer.
record, but so we have it clear that your 22 BY MR. MIRABELLA:
answer to my question about a mechanism for 23 Q. So how is it in any way
24 undermining the process to notify the student

the University considering new evidence after

62 (Pages 242 - 245)

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Case 2:18-cV-O2O44-PD Document 57-5 Filed 09/24/18 Page 64 of 73
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Page 246

after they filed an appeal that the University
solicits replies that are considered by the
Appeal Panel?

A. I, again, would point to --
there's a line that says the moderator can
facilitate appropriate paperwork

Q. I understand what it says in
the policy. l'm trying to understand why the
University has chosen to withhold from the
students that part of the process and not
inform them that responses are solicited by
other members of the staff after they file an
appeal?

MR. PICCERILLI: Objection to

form.
BY MR. MIRABELLA:

Q. Do you have an answer to that?

A. l don't have an answer for
that

Q. Do you know Jane Roe?

A. Can you be more specific?

Q. l'm sorry, do you know who Jane
Roe is?

A. Yes.

Page 247

Q All right Did you ever meet
her or speak with her before February 23rd of
20 1 8 ?

A. l'd have to -- I'm not sure
what February 23rd is. l‘m not familiar with
the dates

Q. Before this case?

A. Before this case, no, I don't
believe so.

Q. Did you meet or speak with her
after this case?

A. Yes.

Q. When?

A. During her opportunity to

inspect the appeal request
Q. And who was present with you
when you met her?

A. Her advisor.

Q. ls that another student?

A. Yes it is.

Q. And do you know the first name

of that student or initials?
A. l can't remember.
MR. CHESNEY: Objection.

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Page 248
THE WITNESS: I'm sorry?

BY MR. MIRABELLA:

Q. He just objected You can
still answer if you know who the advisor was?

A. l can't recall her name l
know it was a female student

Q. Do you know if the first name
is Jenny, Rowan or Nuria?

A. l believe it was Rowan

Q. Do you know if Rowan -- oh,
there was already a finding, an outcome;
correct?
Correct.
Did you speak with Rowan?
No. She was an advisor.
Did you speak with Jane Roe?
Yes.
And what did you say to her,
What did she say to you?

A. lt was her opportunity to
inspect the appeal request and so she did
that, And she asked a few questions about the
appeal process l don't recall specifically
what it was, but it was a brief meeting

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Page 249
Maybe about 20 to 30 minutes

Q. ls the policy of the school
that the Respondent or the Complainant is
advised that they have to do the appeal
themselves?

A. Like l mentioned before, We
named the parties in terms of the Complainant l
and the Respondent being the ones that must
appeal.

Q. ln addition to that, are they
told -- is your practice to have either the
Community Standards Office or someone there to
say you have to prepare the appeal yourself?

A. 1t's the student's right, yes
lt's the student's right to an appeal. lt's
the student process

Q. Right. Can the student have an
attorney prepare it?

A. No.

Q. Does it say that anywhere in
the policy?

A. l don't believe so, but we name

who has the right to appeal.
Q. Can the student consult with

63 (Pages 246 - 249)

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Case 2:18-cV-O2O44-PD Document 57-5 Filed 09/24/18 Page 65 of 73

CONFIDENTIAL
Page 250 Page 252 l
1 anyone in connection with preparing the 1 sexual misconduct process and advisor.
2 appeal? 2 Q. ls there any situations where a
3 A. We don't have any limitations 3 Complainant has appealed an outcome of not
4 on that, 4 responsibility?
5 Q. But the student can't have an 5 A. A Complainant, is that what you
6 attorney prepare the appeal? 6 said?
7 A. The student is the one who has 7 Q. Sure.
8 the right to appeal. 8 A. l can't recall offhand
9 Q. And is it the school's position 9 Q. lf that, in fact, occurred
10 that the student is not entitled to have an 10 would you follow the same process you do when
11 attorney prepare the appeal? 11 there's been a finding of responsibility l
12 A. The student must be the one 12 appealed by the Respondent? '
13 that submits the appear 13 A. Absolutely. '
14 Q. Did you have any other 14 Q. Did you consult with Bill
15 conversations with or interactions with Jane 15 Bordak in connection with the sanctions for
16 Roe? 16 Mr. Doe?
17 A. Not outside of the e-mail 17 A. l can't recall.
18 communications that l had with both parties 18 Q. What's your understanding of a l
19 about the appeal process 19 student's eligibility for international study
20 Q. Did Jane Roe disclose to you or 20 if there's a finding of responsibility?
21 discuss with you any details of the complaint 21 MR. PICCERILle Objection to i
22 she rued? ` 22 tom 1
23 A. No. 23 THE WITNESS: Could you
24 Q. Did Jane Roe disclose or 24 maybe -- l
Page 251 Page 253 :
1 discuss with you any of the events surrounding 1 BY MR. MIRABELLA: `
2 the actual complaint? 2 Q. Sure. lf a student is involved
3 A. NO. 3 in the discipline process and there's been a
4 MR. PICCERILLI: Can We take a 4 finding of responsibility against the student,
5 short break? 5 is that automatically ineligibility for
6 MR. MIRABELLA: Sure. 6 international study?
7 - - - 7 MR. PICCERILLI: Objection to
8 (Whereupon, a short break was taken at l 8 f`orm.
9 this time.) 9 THE WITNESS: No, not a finding
10 - - - 10 of responsibility.
11 BY MR. MIRABELLA: 11 BY MR. MIRABELLA:
12 Q. Other than soliciting the 12 Q. What, if anything, impacts the
13 individuals We covered, do you do any 13 student's eligibility for international
14 independent investigation to determine if 14 travel?
15 additional evidence or documents is Suitable 15 A. 1 can't speak specifically to
16 to be submitted to the panel? 16 this We were not involved in that l can't
17 A. NO. 17 speak specifically. I'm not involved in that
18 Q. ls the process -- l think you 18 communication between Community Standards and
19 Said this, but the process you described 19 the Center for lntemational Programs.
20 covering the appeal is pretty much identical 20 Q. Have you been involved in any
21 Whether it'S under the SMP or not? 21 disciplinary actions or complaints involving
22 A. There's a few Variations that l 22 Jane Roe as a Respondent?
23 discussed in terms of Respondents and 23 A. No, l don't believe so.
24 Complainants having equal rights under the 24 Q. Do you know if Jane Roe ever

64 (Pages 250 - 253)

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Case 2:18-cV-O2O44-PD Document 57-5 Filed 09/24/18 Page 66 of 73
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Page 254

had a Community Standards violation as a
Respondent?

A. l believe so, yes

Q. Do you know how many?

MR. PICCERILLI: Objection.
She has disclosed at her deposition, Jane Roe
that is, that she had an alcohol issue or a
drug issue and we view that as -- she gave
that testimony on the record under oath. We
view that as her prior consent to discuss that
issue

So with respect to those issues
you may ask questions but l don't know that
there are any other issues but if there are
other issues there's no prior consent to
disclose that inforrnation, and it is unrelated
to this particular incident

MR. MIRABELLA: l won't know
until l get the answers
BY MR. MIRABELLA:

Q. Were you involved -- you're
aware that those situations existed, but you
weren't directly involved?

A. Right, and l don't know if l

Page 255
recall offhand any or all of those situations
yes.

Q. Did you come to learn at any
point in time whether Jane Roe was on
probation for any Community Standards
violation?

A. l don't recall that,

Q. Do you know if she's on
probation now?

A. l do not know that,

Q. Do you believe it's the
responsibility of the investigator to do a
thorough investigation?

A. Yes.

Q. And in this case the
investigator spoke with the Complainant and
Respondent, but no other witnesses Under the
circumstances do you believe that was a
thorough investigation?

A. l don't know all the details of
the investigation, so l cannot weigh in on
that

Q. Do you know if the investigator
normally speaks to someone other than the

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Page 256
Complainant and Respondent?
MR. PICCERILLI: Objection.
BY MR. MIRABELLA:
Q. Of the cases you have been on
involved in on the appeal?
MR. PICCERILLI: Objection to
form. Can you answer the question?
THE WITNESS: I can't recall
offhand
BY MR. MIRABELLA:
Q. The allegations against Mr. Doe
was that he squeezed her neck while they were l
kissing. Do you believe that meets the
definition of sexual assault of the policy?
A. l was not the one who was in
the position of investigating and making a
decision on that

Q. So is the answer you don't
know?
A. l would not answer that

question l do not know,

Q. Was an appeal filed in the
complaint -- in the matter in which the
athletic team was investigated?

Page 257

A. I don't recall.

Q. Would you have been involved in
2015 as the moderator?

A. l may have been, but l also
have a period of time that l was on maternity
leave in 2015, so l don't recall.

Q. Since you've been the Assistant
Vice President, have you been the moderator
except for when you were out on maternity
leave?

A. Yes, or out of the office for

other reasons yes
Q. Who else served as moderator?
A. Dr. John Jeffrey.
Q. Do you have any other knowledge

about Roe prior to getting ready for this
deposition in terms of the background or
history or what we already talked about?

A. No.

Q. Did you know Doe before the
incident?

A No.

Q. When did you first learn about
the misconduct claim against Doe?

65 (Pages 254 - 257)

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Case 2:18-cV-O2O44-PD Document 57-5 Filed 09/24/18 Page 67 of 73

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CONFIDENTIAL
Page 258 Page 260
A. l can't recall specifically. l Malloy?
lt would have preceded the pre-investigation 2 A. Do l have responsibility to
meeting 3 oversee the initial investigation?
Q. lf the investigator needed 4 Q. Not the initial, the
additional information about the Complainant 5 investigation
or Respondent about anything having to do with 6 A. By way of it being part of the
this case, who does she interface with to get 7 Community Standards process and l work with
the information or request it? 8 the Community Standards process but it's part
A. I'm not sure specifically. l 9 of our Community Standards process l have
can't answer. l don't know who she would ca11 10 supervisory responsibility for that
for information ll department Otherwise no.
Q. Not you? 12 Q. Right. So in your
A. No. 13 responsibilities were you given reports from
Q. Not the appeal moderator? 14 Dr. Perry or anyone else about what was or
A. No. 15 wasn't done in the investigation by the
Q. Do you recall who you learned 16 investigator?
about the case from or the claim prior to the 17 A. No.
appeal? 18 Q. And did you review the
A. l cannot recall. 19 investigator's findings before there was a
Q. Do you recall any of the ' 20 final outcome?
appeals you handled in which there were 21 A. No.
similar allegations? 22 Q. Did you review the evidence in
MR. PICCERILle Similar 23 the investigator's findings after there was a
allegations regarding the grounds for appeal 24 final outcome? _
Page 259 Page 261
or -- 1 A. A final outcome?
MR. MIRABELLA: No, regarding 2 Q. So the --
the underlying incident 3 MR. PICCERILLI: You mean after
THE WITNESS: l think you have 4 appeal?
to be more specific. 5 BY MR. MIRABELLA:
BY MR. MIRABELLA: l 6 Q. Separate and apart from your
Q. Sure. Claims of sexual assault 7 work with the appeal process as a moderator,
where the Respondent and the Complainant both§ 8 did you make any independent review or

agree there was consent to kissing, but then
there was an issue of consent concerning

additional contact?

A. No, l can't recall offhand
No.

Q. Do you recall any other

situations involving sexual assault where the
Complainant and Respondent were both
clothed -- l'll withdraw that
Do you know anything about why

there was initially a no contact restriction
and that changed following the
pre-investigation meeting?

A. l do not know that.

Q. Do you have any responsibility
to oversee the initial investigation by

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assessment of the investigator's findings?
A. Assessment of that, no, l did
not.
Q. Did you review it as part -- in
any way in connection with your supervisory
responsibility after the fact?

A. After what fact?

Q. After the appeal was
concluded

A. After the appeal, l mean l

worked facilitating the appeal process and the
appropriate paperwork. So l have -- yes l
have the Appeal Packet. l have access to
that,

Q. l understand that, but are you
tasked with also verifying and ensuring that

66 (Pages 258 - 261)

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Case 2:18-cV-O2O44-PD Document 57-5 Filed 09/24/18 Page 68 of 73
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Page 262
the underlying investigation was done
thoroughly and adequately?

A. No.

Q. Are you aware of any situations
where a Complainant identified student
advisors who then were ineligible to serve as
witnesses?

l mean, it's an awkward
question l guess l'm trying to -- where a

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Complainant identifies advisors individuals 10
who normally would be witnesses to the 11
complaint? 12
A. Ever in my -- 13

Q. Anything that jumps to mind? 14

A. l can't recall a specific 15
incident 16
Q. lf a Complainant makes an 17
allegation of sexual misconduct and there's 18
evidence of drinking or drug use, is the 19
Complainant provided immunity from any 20
potential claims in connection with drinking 21
or drug use; correct? 22
A. l would refer to the amnesty 23

for students who report 24

Page 263

Q. l said immunity, amnesty? l

A. Correct. 2

Q. Does the amnesty pertain to the 3
Complainant in that situation? 4
A. Can l refer to -- 5

Q. Sure. 6

A. l'm looking at SJU001198. 7

Q. Would you read it into the 8
record Do you have it? 9
A. Would you like me to read the 10
entire paragraph? 11
Q. Where we at, 11 -- 12

A. 1198, Number 7. 13
MR. PICCERILLI: That's SJU. 14

BY MR. MIRABELLA: 15
Q. l'm not going to ask you to 16
read it into the record l do want to 17
understand what you're -- how this is used and 18
what it's meant to convey to the students 19
your understanding through your lens 20
A. Sure. So students who report, 21

and if they're -- if a student reports and 22
they've involved in some sort of drinking or 23
using drugs at the time of the incident, we 24

Page 264
don't want that to be a deterrent for a
student to report sexual misconduct So there
may be amnesty there

But we do go on to say that we
may still initiate some initial educational
sanctions and other things in terms of our
response to that, but it may not be through a
formal charge of the student code

Q. Did you learn anything else
about the investigation from other members of
the SJU staff, either Community Standards or
elsewhere, that we haven't specifically
discussed?

A. No.

Q. Emily Forte testified that she
informed the Respondent that he will get to
see the Incident Report at the time of the
meeting with the investigator. ls that
inconsistent with your understanding of the
practice of how cases are investigated?

MR. PICCERILLI: Can l have the
question back.

(Whereupon, the court reporter read

Page 265
back the pertinent information.)

MR. PICCERILle I'm going to
object to the form of the question to the
extent that it may be inconsistent with Emily
Forte's testimony. You can answer.

THE WITNESS: l'm not aware of
what the pre-investigation meetings entailed
in terms of conversations that take place
during those meetings to determine whether or
not it's inconsistent
BY MR. MIRABELLA:

Q. ls the practice and policy of
SJU that the Respondent gets to see the
Incident Report, if not before, at the time of
meeting with the investigator?

A. I'm not sure, again, what the
investigator does during the meeting, but we
do not share the investigative report prior to
that, There's not an investigative report at
that point We don't share the report prior
to that per my earlier comments about the
integrity of the investigation

Q. So is there is an Incident

67 (Pages 262 - 265)

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Case 2:18-cV-O2O44-PD Document 57-5 Filed 09/24/18 Page 69 of 73
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Page 266
Report or an initial complaint in writing,

that's not shared with the Respondent prior to
the meeting with the investigator; correct?

A. Correct.

Q. And what is shared by the
investigator at that meeting is not-- is
something determined only by the investigator?

A. Correct.

Q. Does the school ever use dual
investigators two investigators for a
reported incident?

MR. PICCERILLI: A Sexual
Misconduct Policy?

MR. MIRABELLA: Yes.

MS. SCHIMELFENIG: A team?

MR. MIRABELLA: A team.

THE WITNESS: Ever?

BY MR. MIRABELLA:
Q. Yes, ever.
A. A team of investigators l

don't believe so.

Q. ln terms of the investigation
into the complaint of sexual misconduct,
what's your understanding as to who -- does

Page 267
the burden fall on the school or the
Complainant or Respondent to conduct a
thorough and fair investigation?

A. Can you repeat that again?

Q. Sure. Once a complaint is made
of sexual misconduct against a student, whose
responsibility -- whose burden is it to do a
thorough and fair investigation?

A. Well, it's certainly the
institution's responsibility to ensure that
there's a thorough, impartial, fair and timely
process but it's also the students involved
to provide the information

Q. Does the Respondent have the
burden of proof to provide evidence in his
response?

A. Can you explain what you mean
by burden of proof?

MR. PICCERILLI: That's a legal
term. Objection.
BY MR. MIRABELLA:

Q. lf the Respondent chooses not
to participate does that in any way change
the University's responsibility in terms of

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Page 268

the investigation of the incident?

A. That would be part of the
initial review.

Q. So does the University still
have the same burden of investigating the case `
whether a Respondent participates or does not
participate?

A. Can l refer to the policy?

Q. Do you know the answer to that
without referring to the policy?

A. l believe there's something in
the policy and l don't want to misspeak.

Q. All right Refer to the
policy,
A. So on SJU001199, Sexual

Misconduct Policy, I'm on the second
paragraph: The fact that an individual
(complainant, reporter, respondent and/or
witnesses) refuses to participate in the
university process does not mean that the
disciplinary process will not take place if
the university deems it appropriate to move
forward with that process

Q. lt doesn't mean the University

Page 269
will move forward with the process it means
the University may exercise --

A. Correct.

Q. My question was: Who has the
burden of proof once a complaint has been t
filed in connection with the allegations of 1
sexual misconduct, regardless of whether the l
Complainant or the Respondent participates?

A. What do you mean by burden of
proof?

Q. Who does the responsibility
fall upon to make sure there's adequate
evidence to support the findings? Would that
burden be as between the student, the
Respondent or Complainant or all three?

MR. PICCERILLI: The student,
the Respondent or Complainant? l'm not
sure --

BY MR. MIRABELLA:

Q. l'm sorry, Respondent,
Complainant or University or all three or
none?

A. l think you're talking, again,
about initial review in terms of evaluating

68 (Pages 266 - 269)

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Case 2:18-cV-O2O44-PD Document 57-5 Filed 09/24/18 Page 70 of 73

 

 

CONFIDENTIAL
Page 270 l Page 272
l the initial information 1 MR. PICCERILLI: l think you
2 Q. I'm not. 2 misspoke there l think you said the student
3 A. So l need you to -- 3 decides not provide --
4 Q. Sure. Under Title lX there's a 4 MR. MIRABELLA: Not to
5 complaint of sexual misconduct filed by a 5 participate
6 Complainant student against a Respondent 6 MR. PICCERILLI: You said
7 student, who has the burden for establishing 7 responsibility. But in any event, what's the
8 that it happened or didn't happen or that 8 question?
9 there's finding of not responsibility? Where 9 BY MR. MIRABELLA:
10 does that burden rest? 10 Q. lf the Respondent or the
11 A. lt's the investigator. 11 Complainant chooses not to participate, does
12 Q. And the investigator is serving 12 that change the burden upon the University to
13 as the proxy to the school; correct? 13 conduct a thorough investigation?
14 MR. PICCERILLI: Objection to 14 A. l do think my reference to the
15 form. 15 initial review is relevant here lt evaluates
16 BY MR. MIRABELLA: 16 the nature of the complaint and the desire of
17 Q. Aml correct? 17 the Complainant So to your point about what
18 A. Can you explain what you mean 18 the Complainant would like to do or not, that
19 by proxy. 19 does weigh in to the initial review.
20 Q. Well, the investigator is 20 Q. Under Title lX, does the burden
21 retained by the school to conduct an 21 to complete an investigation fall on the '
22 investigation; correct? 22 University or not?
23 A. Correct. 23 A. l think I answered this The
24 Q. And if the school doesn't 24 University has the obligation to determine as
Page 271 Page 273
1 retain an investigator, where would that 1 well as the students to provide inforrnation,
2 burden fall? Would it fall on the school? 2 The decision is made based upon the
3 MR. PICCERILLI: Objection to 3 information made available
4 form. 4 Q. Do you believe that the burden
5 MR. MIRABELLA: l don't think 5 upon the University is any way dependent on
6 it's that complicated a question, 6 whether the students participate?
7 MR. PICCERILLI: Well -- 7 A. Can you repeat that?
8 BY MR. MIRABELLA: 8 Q. Once a complaint of sexual
9 Q. So who's the investigator 9 misconduct is filed, regardless if the student
10 acting on behalf of when the investigation is 10 chooses not to participate, does that in any l
11 perforrned? 11 way impact the University's obligation to a
12 A. The University. 12 thorough and fair investigation under Title
13 Q. And the burden to complete the 13 IX?
14 investigation, review the evidence falls on 14 A. Yes, I'm going to continue to
15 the investigator who is acting on behalf of 15 refer to the initial review and the factors
16 the University? 16 considered during the initial review for how
17 A. Correct. And as l mentioned 17 the University responds based on the
18 before, there's also responsibility of the 18 participation and information
19 students involved to provide the information 19 Q. Doctor, l just don't think
20 Q. l guess my question is: lf the 20 that's a responsive answer, but we've been
21 student chooses not to provide responsibility, 21 around this three or four times already.
22 does that change the burden that's upon the 22 A. Can l add?
23 University to conduct a fair and full 23 MR. PICCERILLI: There's no
24 investigation? 24 question lf you need to clarify something go

69 (Pages 270 - 273)

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Case 2:18-cV-O2O44-PD Document 57-5 Filed 09/24/18 Page 71 of 73

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Page 274 Page 276
ahead 1 responsibility only if the students cooperate
THE WITNESS: Well, it's part 2 and provide inforrnation?
of this So I'm on SJU0001196: There are 3 A. Only if they cooperate, but '
times when the university may not be able to 4 based on the information available is when the
honor a request for confidentiality or that no 5 investigation obviously -- that's what it's
investigation into a particular incident is 6 based on, the information available
conducted or disciplinary action taken in 7 Q. And that's your interpretation
order to provide a safe, nondiscriminatory 8 of what it means when it says the burden is on

environment for all members of the SJU
community. And then there are individuals
that have been designated to evaluate requests
for confidentiality.

Q. ls that your answer to my
question?

A. Yes.

Q. Now, may l refer you back to

the Question and Answer Exhibit, the guidance
issued in 2017, specifically Page 3 and 4, the
answer to Question 6.

Q. Okay. And we already discussed
you're familiar with that; contract?

A. Yes.

Q. And it's part of your job
responsibilities correct?

Page 275
A. Yes.
Q. And you're familiar with the

Q&A and the Dear Colleague Letters that have
been issued in 2017?

A. Yes.

Q. Okay. Would you read into the
record the first full sentence of the Answer
to Question 6, so the top of Page 4.

A. In every investigation
conducted under the school's grievance
procedures the burden is on the school and
not on the parties to gather sufficient
evidence to reach a fair, impartial
determination as to whether sexual misconduct
has occurred, and if so, whether a hostile
environment has been created that must be
redressed

Q. Do you agree with that
statement?
A. Again, l do think it's the

institution's responsibility, but l think that
there is responsibility for the students to
provide the information

Q. So you think it's the school's

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the school, not on the parties to gather
sufficient evidence?

A. I said l agree with what is
said here, as well as incorporating the
information collected

Q. Well, you're agreeing with it,
but you're adding to it; correct?

A. Correct.

Q. Because this doesn't say
anything about the responsibility of the
parties to cooperate or to participate;
correct?

MR. PICCERILLI: This is
getting argumentative
BY MR. MIRABELLA:
Q. Do you agree with me?

 

Page 277
A. Correct, and l also just added
about in the policy where we note that
students may not participate
Q. Let me check my notes Did you
speak with the investigator about the results
of her investigation prior to her completing
the investigation?
MR. PICCERILLI: You're talking
about in this case?
MR. MIRABELLA: Yes.
THE WITNESS: I'm not aware
BY MR. MIRABELLA:
Q. ls it common practice for
members of the Community Standards Office or
people in the Title lX Office to contact and '
discuss with the investigator the outcome of
an investigation before it's been concluded?

A. l don't know.

Q. Do you think that would be
appropriate?

A. To discuss the outcome before
there is an outcome?

Q. Correct.

A. No.

70 (Pages 274 - 277)

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Case 2:18-cV-O2O44-PD Document 57-5 Filed 09/24/18 Page 72 of 73

 

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Page 278 Page 280
l Q. You don't think that would be 1 lNSTRUCTlONS TO WITNESS
2 appropriate? 2
3 A. Right. 3 Please read your deposition over
4 Q. And why do you think that would 4 carefully and make any necessary corrections
5 not be appropriate? 5 You should state the reason in the appropriate
6 A. The investigator is the one 6 space on the Errata Sheet for any corrections
7 that has the inforrnation, all the information 7 that are made,
8 Q. And reaching out to them in 8 After doing so, please sign the Errata
9 advance of the conclusion in an effort to 9 Sheet and date it.
10 discuss possible outcome, gender bias or 10 You are signing same subject to the
ll gender or some other gender? ll changes you have noted on the Errata Sheet,
12 A. l don't know that l did not 12 which will be attached to your deposition
13 say that 13 lt is imperative that you return the
14 Q. You don't think it would be 14 original Errata Sheet to the deposing attorney
15 appropriate? 15 within thirty (30) days of receipt of the
16 A. Correct. 16 deposition transcript by you. lf you fail to
17 MR. MIRABELLA: l have no 17 do so, the deposition transcript may be deemed
18 further questions 18 to be accurate and may be used in court
19 - - - 19
20 (Whereupon, the deposition was 20
21 concluded at 1:54 p.m.) 21
22 - - - 22
23 23
24 24
Page 279 Page 281
1 CERTIFICATE 1 ERRATA
2 l, Debra J. Veneziale, a Court Reporter 2 _ _ _ _
3 and Notary Public, do hereby certify that the 3 PAGE LINE CHANGE
4 proceedlngs, evidence, and objectrons upon the
5 deposition er KrERsTEN wHITE, Ed.D., are 4 """""""""""""
6 contained fully and accurately in the 5 Reas°n for Change:
7 stenographic notes taken by me upon the 6 -------------------------
8 foregoing matter on July 19, 2018, and that 7 Reason for Change;
9 this is a true and correct transcript of the 8 ___ ___ ___________________
}(1) Same` 9 Reason for Change:
_ f -\\ 10 -------------------------
12 ?W`“"-¢?' M“L,’f"” ll Reason for Change:
12 _________________________
13 Debra J. Veneziale 13 Reason for Change;
Court Reporter 14 _________________________
14 Notary Pub.hc. . 15 Reason for Change:
My Comm1ssion Explres
15 July 16, 2019 16
16 17 Reason for Change:
l 7 l 8
18 19
19 (The foregoing certification of this 20 Job No_ PA2968430
20 transcript does not apply to any reproduction 21
21 of the same by any means unless under the
22 direct control and/or supervision of the 22
23 certifying shorthand reporter.) 23
24

24

71 (Pages 278 - 281)

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Case 2:18-cV-02044-PD Document 57-5 Filed 09/24/18 Page 73 of 73

19

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Page 282
ACKNOWLEDGMENT OF DEPONENT
I, _ do hereby certify that I
have read the foregoing Pages _ to _ and
that the same is a correct hanscript of the
answers given by me to the questions therein
propounded, except for the corrections or
changes in form or substance, if any, noted in
the attached Errata Sheet.

 

DATE SIGNATURE

Subscribed and sworn to before me this
day of 2018.

My commission expires:

Notary Public

JOB NUMBER _ Job No. PA2968430

 

72 (Page 282)
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